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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK
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SUSAN TROPEANO, JOSEPH TROPEANO, C VY - 0 6 ) 9 8
Plaintifis, DOCKET NO, 1
-against-
COMPLAINT
THE CITY OF NEW YORK; NEW YORK CITY JURY TRIAL DEMANDED JURY TRIAL DEMANDED
DEPARTMENT OF EDUCATION (d/b’a The New York
City Department of Education}; JOEL KLEIN,
individually and in his official capacity ag Chancellor of Ty C SA, INE si. S, i

LEINWAND, individually and in her official capacity as
Principal at P.S. 66; PATRICIA SHEEHAN, individually
and in her official capacity as Assistant Principal at ‘ : em:
P.S, 66: KATHLEEN LAVIN, individually and in her BLOOM, MU.
official capacity as Local instructional Superintendent
of District 27, Region 5; KATHLEEN CASHIN,
individually and in her official capacity as Regional
Superintendent of District 27, Region 6; MICHELLE
LLOYD-BEY, individually and in her official capacity as
Community Superintendent of District 27, Region 5,
AUBREY JACOBSON, individually and tn her official
capacity as Medical Director of the New York City
Department of Education; KAREN MARINO,
individually and in her official capacity as Personnel
Manager of the New York City Department of
Education; MARTIN F, SCHEINMAN, individually and
in his official capacity as Arbitrator/Hearing Officer in
accordance with the American Arbitration Asseciation;
UNITED FEDERATION OF TEACHERS, Queens
Borough Office: MARILYN COOPER, individually and
in her official capacity ag District Representative of the
Queens UFT; HAROLYN FRITZ, individually and in her
official capacily as Queens Borough Representative of
the Queens UFT: EVELYN SEROY, individuatly and in
her official capacity as Special Representative of the
Queens UFT: AL SAMUELS, individually and in his
official capacity as Special Representative of the
Queens UFT; PETER MAYGLOTHLING, individually
and in his official capacity as Special Representative of
the Queens UFT; ROGER ROTH, individually and in
his official capacity as Special Representative of the
Queens UFT; MARY GRACE O'GARA, individually

the New York City Department of Education; PHYLLIS (I
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and in her official capacity as UFT Chapter Leader at
P.S. 64; UNITED FEDERATION OF TEACHERS,
Manhattan Headquarters; HOWARD SOLOMON,
individually and in his official capacity as Director of the
UFT Grievance Department, Manhattan Headquarters;
ELLEN PROCIDA, individually and in her official
capacity as Special Representative, Manhattan
Headquarters; TY CHESS, individually and in his
official capacity as Assistant to the President of the
UFT, Manhattan Headquarters; RANDY
WEINGARTEN, individually and in her official capacity
as President of the UFT, Manhattan Headquarters;
KITTY WILLISTON, individually and in her official
capacity as UFT Program Director, Manhattan
Headquarters; NEW YORK STATE UNITED
TEACHERS; JAMES R. SANDNER, individually and in
his official capacity as General Counsel of New York

State United Teachers,
Defendants.

Plaintiffs, SUSAN TROPEANO and JOSEPH TROPEANO, proceeding pro se, allege as follows:

PARTIES
{. Atal times hereafter mentioned, Plaintiffs SUSAN TROPEANO AND JOSEPH TROPEANO were and still
are residents of the County of Nassau, State of New York. Plaintiff SUSAN TROPEANG, is, at all times
relevant , a licensed and appointed, tenure teacher within The New York City Department of Education (d/bia

The New York City Board of Education}. Her last teaching position was at P.5. 66, located at 65-11 102 Street,

Richmond Hill, New York 11418.

9 Atall times hereinafter mentioned, Defendant, New York City Department of Education ("DOE"), formerly

 
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known as The New York City Board of Education, was and still is a duly incorporated municipal entity of the
State of New York, with its principle place of business located at 65 Court Street, Brooklyn, New York
11201, THE COMPLAINT JS TO BE SERVED UPON The New YORK CITY DEPARTMENT OF EQUCATION

AT: 100 GHURCH STREET, 41H FLOOR, NEW YORK, NEW YORK 10007.

3. At all times hereinafter mentioned, Defendant, The City of New York, was and still is a municipal
corporation duly organized pursuant to the faws of the State af New York. Tha City of New York Office of
the Comptroller is located at 1 Gentre Street, New York, New York 10007-2341. THE COMPLAINT IS TO

BE SERVED UPON THE CITY OF NEW YORK AT: 100 CHURCH STREET, 47H FLOOR, NEW YORK, NEW

YORK 10007,

4. At all times hereinafter mentioned, Defendant, Phyllis Leinwand, since September 2001, was and still is
the Principal at P.5. 66, located at 85-11 102nd Street, Richmond Hili, New York 11418. Phyllis

{einwand’s former school was J.H.S. 210 where she became an Assistant Principal.

F_ At all times hereinafter mentioned, Defendant, Patricia Sheehan ("Sheehan"} since September 2001, was
and still is the Assistant Principal at P.S. 66, located at 85-11 102nd Street, Richmond Hill, New York

11418. Patricia Sheehan's former school was J.H.8. 210 where she was a dean.

6. At all times hereinafter mentioned, Oefendant, Kathleen Cashin ("Cashin"), was and still is the Regional
Superintendent of District 27, Region 5, located at 82-01 Rockaway Boulevard, Reem 460, Ozone Park, New

York 11416, Kathleen Cashin ("Cashin") became Regional Superintandent in September 2001,

7. At all times hereinafter mentioned, Defendant, Kathleen Lavin {"Lavin"} was and still is the Local

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Instructional Superintendent of District 27, Region 5, located at 82-01 Rockaway Boulevard, Room 460,

Ozone Park, New York 11416. Kathlaan Lavin became Local Instructional Superintendent in September

2001.

§. At all times hereinafter mentioned, Defendant, Chancellor Joel Klein ("Klein"} was and still is charged
with the responsibility of serving as the chief executive officer of The New York City Department of
Education, The Chancellor conducts his business from Central Office, located at 52 Chambers Street, New

York, New York 1000.

9. At all times hereinafter mentioned, Defendant, Karen Marino {"Marino"} was and still is the Personnel
Manager of District 27, Region 5, located at New York City Department of Edueation, 26-11 Queens Plaza

North, Leng Island Gity, New York 11701.

10. At all times hereinafter mentioned, Defendant, Michelle Llay¢ Bey ("Bey") was and still is the

Community School Superintendent of District 27, Region 5, located at 82-01 Rockaway Boulavard, Room

406, Ozone Park, New York 11416.

11. At all times hereinafter mentioned, Defendant, Audray Jacobson ("Jacobson"} was and stilli s the
Medical Direster of The New York City Department of Education, Medical Leaves & Benefits Office located

at 65 Court Street, Room 201, Brooklyn, New York 11201.

12, At all times hereinafter mentioned, Defendant, Martin F. Scheinman ("Scheinman") was and still is an
arbitrator/hearing officer, in accordance with the American Arbitration Association as agreed upon by the DOE

and WFT, located at 38 Arden Lane, Sands Point, New York 11050.

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13. At all times hereinafter mentioned, Defendant, Audrey Jacobson ("Jacobson") was and still is the

Medical Director af Tha Naw York City Department of Education, medical Leaves & Benefits Office, 65 Court

Street, Room 201, Brooklyn, New York 11201,

14, At all times harainafter mentioned, Defendant, United Federation of Teachers (UFT") Queens Borough
Office was and still is Plaintifé's Collectiva Bargaining unit. |1°s placa of business is 97-77 Queans

Boulevard, Sth Floor, Rego Park, New Yerk 11374-3327.

15. At all times hereinafter mentioned, Defendant, Marilyn Cooper |"Cooper"), was and still is the Queens

District Representative, at the Queens Borough Office located at 97-77 Queens Boulevard, Sth Floor, Rego

Park, New York 11974-3327.

16, At all times hereinafter mentioned, Defendant, Harolyn Fritz ("Fritz"), was and still is the Queens

Borough Representative at the Queens Borough Office, located at 97-77 Queens Boufevard, Sth Floor, Rego

Park, New York 11974-3927.

17. At all times hereinafter mentioned, Pefendant, Evelyn Seroy ("Seroy") was and still is a Special

Representative at the Queens Borough Office, located at 97-77 Queens Boulevard, 5th Floor, Rego Park, New

York 11374-3327.

18. At all times hereinafter mentioned, Defendant, Al Samuels ("Samuels") was and still ts a Special

Representative at the Queens Borough Office, located at 97-77 Queens Boulevard, 5th Floor, Rego Park, New

York 11374-3927,
19. At all times hereinafter mentioned, Defendant, Roger Roth ("Roth") was and still is ¢ Special

Representative at the Queens Borough Office, located at 97-77 Queans Boulevard, Sth Floor, Rego Park, New

York 11374-3327.

20. At all times hereinafter mentioned, Defendant, Peter Maygtathing ("Mayglothing") was @ Special
Representative at the Queens Borough Office, located at 97-7? Queans Boulevard, Sth Floor, Rego Park, New
York 11374-3327. Upon information and belief, Mayglothing retired in the year 2004 or 2005. This is his

last known address.

21. At all times hereinafter mentioned, Defendant, Mary Grace O'Gara ("O’Gara") was and is the UFT

Chapter Leader and teacher at P.S. 68, located at 85-11 {02nd Street, Richmond Hill, New York 11418.

22. At all times hereinafter mentioned, Defendant, United Federation of Teachers, Manhattan Headquarters,
was and still is Plaintiff’s Collective Bargaining Unit. [t's principla place of business is 52 Broadway, 14th

Floor, New York, New York 10004,

23, At all times hereinafter mentioned, Defendant, Mr. Howard Solomon ("Solomon") was and is the Director

of UFT Grievance Department located at 52 Broadway, 16th Floor, New York, New York 10004.

24, At all times hereinafter mentioned, Defendant, Mr. Ty Chess {"Chess") was and is the Assistant to the

President Randy Weingarten, at Manhattan Headquarters located at 52 Broadway, 14th Floor, New York,

New York 10004.

25. At all times hereinafter mantioned, Dafendant, Ellen Prosida ("Procida"} was and is a Special

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Representative at Manhattan Headquarters, located at 52 Broadway, 16th Floor, New York, New York

10004.

26. At all times hereinafter mentioned, Qefencant, Kitty Williston, was and still is Program Cirector, UFTWE

Health and Cancer Helpline, located at 52 Broadway, 7th Floor, New York, New York 10004.

27. &At all times hereinafter mentioned, Defendant, New York Stata United Teachers, an affitiate of The

United Federation of Teachers, is located at 5? Broadway, 9th Floor, New York, New York T0084.

28. At all times hereinafter mentioned, Defendant, James Sandner {"Sandner"} was and still is General
Counsel of New York State United Teachers, located at 52 Broadway, 9th Floor, New York, New York
F004.

JURISDICTION AND VENUE
28. This action is being brought to Title Vil of the Civil Rights Act of 1964, 42 U.S.C. §200-e to 2000e-17,
Age Discrimination tn Employment Act of 1967, as codified, 28 U.S.C. $621-634, Americans with Disabilities
Act of 1990, as codified 42 U.S.C. 412112-17117, Section 1983 based upon the First Amendment, ADEA
29 U.S.C. Sees. 216(b}, 626(b); attorney fees, 29 U.S.C. See 216(b), jury trial, 29 U.S.C. Sec. 626{ei(2),
ERISA, Section 570 of the Employee Aetirement Income Security Act, 29 U.S.C. Sec. 1140, 29 U.S.C.
$1001 et. saq., 29 U.S.C. $1161 et. seq, Statute of Frauds, law enacted in England in 1677, Workers’
Compensation Acts, 5 U.S.C. $8101 at. seq. (1916) and 42 U.S.0. Saction 1983, as against the Defendant

Department of Education, and individual Defendants of the Department of Education.

30. Additionally, this action also seeks redress as against the Department of Education, and the individual
Defendants of ihe DOE, Title iX, 20 U.S.C, 1681 et. seq. New York State Law Section 290, Section 296 of

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New York State Human Rights Law, and Tha Naw York City Human Rights Law, §.Y.C. Admin. Code Title §
at. seq., as well as violation and denial of civil and individual! rights under state and federal laws, vialation

and danial of dua process under state and federal law, and unfair labor practices. Plaintiffs are being

violated uncer the first amendment, fifth aniendment and fourteenth amendment.

31. The following laws involve Collective Bargaining Agreement Laws which seeks redress against the
Defendants, Department of Education and the individual Defendants of the DOE the Defendants of the UFT
and NYSUT, ane the individual Defendants of tha UFT and NYSUT. The laws are Labor Management
Reporting and Disclosure Act (LMRDA}, popularly Landrum-Griffin Act, 29 U.S.C. $407 et seg. (1959),
National Industrial Recovery Act (NIRA), 285 ULS.C. $495 (1935). DDE, NYSUT, UFT and alf individual

Refendants, viclated 5 US.C. $500 et seq. (1984), Administrative Rules and Professional Conduct (APPA).

32. By recklessly and intentionally refusing to represent Plaintiff, the UFT and the individual UFT
Defendants, as well as NYSUT and Defendant, Sandner, have failed in its duty of fair representation and
thus violated 29 U.S.C. Section 185, 29 US.C. Sac. 18Sta} and 28 U.S.C. $1331, Breach of Fair

Representation under Federal Common Law.

33, DOE, and the individual Defendants of the OOE, violated Article 14 of the Civil Service Law as amended
{Public Employees Fair Employment Act) as they engaged in improper employer practices, by victating

subsections 209-alfal, 209-a1{b), 209-alld} and 209-a1lfe}.

34. UFT, NYSUT and the individual Defendants of the UFT and NYSUT, violated Article 14 of the Civil
Service Law as amended {Public Employees Fair Employment Act) as they engaged in improper employee
organization practices; by violating subdivisions 209-a2{a), 209-a2(b) and 2092

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3. UFT, NYSUT and the individual Defendants of UFT and NYSUT, violated Plaintiff's rights pursuant to 42

U.S.C, $1983 as Plaintiff was violated pursuant ta the first, fifth and fourteenth amendments.

36. OOF, UFT and NYSUT and all the individual Defendants of the DOE, UFT and NYSUT ara responsible for
the violations pursuant to 18 ULS.C.A $1964, 18 USE. 8196113), WS.GA. $1961(5), US.C.A 41962{a),
18 U.S.C.A. $1962tb}, 18 U.S.C. 1961 at seg. 18 U.S.C. $1961, 18 US.C. $1341, 8 U.S.C. $1343, 18
U.S.C. §1962, 18 U.S.C. $1344, 18 USC, $1344{7), 18 S.C. $1957, §1962(c), §1962ia), 18 U.S.C.
§196114) 18 U.S.C, $1028, 18 U.S.C. $1503, 18 U.S.C. 8664, 78 U.S.C. $1962td), and any other Rico

violations which can be inferred fram the facts set forth herein.

37. All defendants violated Section 15 of The New York City Civil Rights Law or under the State Education
Law or under applicable civil service laws and regulations, and under the Collective Bargaining Agraement
dated november 16, 2000 - May 31, 2003, which was in full force until, on or about February 2006, when

a new contrast was enforced.

38. This action is brought pursuant to 42 U.S.C. Section 1983 to vindicate the civil rights of Plaintiffs.
Plaintiffs contend that al! Defendants severely alterad the terms, conditions, and privileges of their municipal
corporation in violation of their dee process, equal protection, and liberty interest rights, as well as freedom

of speech, and any other laws which can be inferred from the fasts set forth herein.

39, Plaintiffs live in Nassau County. Plaintiff, Susan Tropeano, is dectared tong-term disabled by the Federal
Government, as a result of the severe hostile wark environment she encountered compounded with the
abandanment of the UFT. She is strigped of all compensation, medical and welfara benefits, pension, and
TDA, atc., as the DOE and Leinwand claim she is on an ongoing unauthorized leave although all the proper

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medical documentation was submitted by Plaintiff's doctors and the Federal government. Plaintiffs spent

huge amounts of legal fees, but received. no legal telp as the attorneys aided and abetted the DOE, UFT and

NYSUT. Thesa high legal fees depleted Plaintiffs’ funds.

AQ. Que to Plaintiffs’ severe financial hardships, and Plaintiff, Susan Trepeano’s disability, venue is proper in
Central Islip as transportation to this court ig by car, the most comfortable means for Plaintiff, Susan
Trapeana, to travel. Additionally, travelling by car is the most economical, as the Long Island Railroad and

The New York City Transit Systam costs approximately $45.00 round trip.

41, Furthermore, venue at Central Islip is tha most accommodating venue for a disabled "poor" person(s}, as
there is free ample parking; ant the most conducive venue to carry three huge crates of documents which
support Plaintiffs’ lawsuit. [t's impossible for a non-disabled person te use public transportation and carry

these heavy crates of documents, let alone a disabled person.

A?. For all these reasons, Federal Court in Central Islip is proper vanue for Plaintiffs.

43. All conditions precedent to maintaining this action have been fulfilled. A charga of Discrimination was
duly filed with the EEOC and a Right to Sue Letter was issued on February 24, 2006 {see Exhibit A attached

hereto}, This action was properly instituted within 90 days of said issuance.

BACKGROUND FACTS
44. Plaintiff, Susan Tropeano, has been employed as a Teacher in the New York City School System for
approximately nineteen (19) years, She is fully certified, and has obtained tenure pursuant to the existing
Collactiva Bargaining Agreement ("CBA") between the DOE and the United Federation of Teachers ("LIFT").

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i EEOC Form 181 (8d) UA EMPLOYMENT OPPORTUNITY CoiSicn ——
DISMISSAL AND NOTICE OF RIGHTS
T* Susan Tropeans From: New York District Office - 520
30 Grace Avenue 33 Whitehall Street
Great Neck, N¥ 11021 5th Floor

New York, NY 10004

 

[ On behalf of person's) aggrieved whose identity is
CONFIDENTIAL (29 CFR $1601. 7a}
REO Charge No, EEO® Raprasantative Telephone No.
Vikki L. Barre,
520-2006-00773  Investigatar Coe (212) 336-3680

 

THE EEOC IS CLOSING ITS FILE.ON THIS CHARGE FOR THE FOLLOWING REASON:
Tha facts alleged in the charge fail to slate a dalm ynder any of the statutes enforced by the EEOC,

Your allegatlons did not Involve a disability as defined by tha Amerncans With Clsabliltlas Act
The Respondent employs tess than the required number of ernplayeas or le not otherwise covered by the statutes.

‘four charge was not dmaty fled wih BEOC In other words, you waltad too long after the date(s} of ihe alleged discrimination to fila your
charge

Having been given 30 dave in whieh to respond, you failed to provide information, failed to appear or be available for
inteniewsfconferences, ar athensise failed to cooperate to the extent that it was not possible to rasolve your charge,

White reasonable effois were made to locate you, we were not able ta de sq,
You were given 30 days to accept a reasonable settlement offer that affords full relief for the hann you alleged,

The EEOC issues the following determinalion; Based upon its investigation, the EEOC is unable te conclude thal the infomation obtained
establishes violations of the statulés. This does not certify that the respondent is in compliance with the statules, No finding is made as to
any othar Issues thal might Be constied as having bean ralsed by thls charge, ¢

The EEOC hag adopted the findings of the state ¢ or local fair empfoymentt practices agency that investigated this charge.

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- NOTICE OF SUIT RIGHTS - .
(See the addifional information atlachad fo this fern.)

Title Vil, the Amerteans with Disabllities Act, and/or the Age Discrimination in Employment Act: This will be the only
notice of dismissal and of your right ta sue that we will send you. You may file a lawsuit against the respondant(s} under
federal iaw based on this charge in federal or state court. Your lawsuit must be filed WITHIN 90 DAYS of your receipt
of this notice; or your right te sue based on this charge will be lost. (The time limit for filing suit based on a state clalm may
be different}

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations} of Ihe
alleged EPA underpayment This means that backpay due for any violations that occurred more than 2 years {3 years)
before you file suit may net be collectible.

mmilgslan
aa FEB 2-4 2006

Enclosurests} "“Shender tH, Lewis, Jr, Jr, (Dato Mailed]
Director

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NYC DEPARTMENT OF EDUCATION
¢cfo Rebin Greanfleld, Geputy Counsel
52 Chambers Street

Reom 308

New York, NY 10007

 
 

Plaintiff maintains an Undergraduate and Master's Degree in English Language Arts Education with thirty {30}

graduate credits in education courses above a Master's Degres.

45, Plaintiff's job performance has always been praised by past and present administrators, including
Principal Phytls Leinwand {"Leinwand"}. On October 2003, Plaintiff received her jast formal observation
report from Leinwand of a lesson she was teaching which was very complimentary in nature, like al! past
formal chservations, for the past nineteen (19) years. Plaintiff's school file was impeccable. She has never

heen disciplined for the past nineteen (19) years of teaching.

46, Soon after Leinwand commenced employment at P.S. 66, she implemented @ pattern of unjustified and

n
malicious harassment against Plaintiff whieh has continued ad escalated during the 2003-2004 school year.

47. Qn February 13, 2004, the hostile work environment became so unbearable, Plaintiff's psychologist, Dr.
Victor J. DeFazio ("DeFazio") forbid her to return back to school; as he informed Plaintiff that she will suffer

irreparable harm, physical, and psychological mental ailments, from the malevolent conduct of Leinwand and

Lavin,

48. Lavin and Leinwand created an intolerable environment and made the performance of Plaintiff's duties
difficult. Lavin’s and Leinwand’s behavior fas included unprofessional interactions, unprofessional comments,
false allegations af wrongdoing, excessive meetings, public humiliation, public announcements, public, loud
raprimands, excessive latter writing and unequal treatment. Their conduct has extended beyond all bounds of

decency and should net be tolerated in a school community.

49. Plaintiff has repetitively complained about the treatment. Plaintiff has the right to compiain without

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fear of retaliation. Lavin and Leinwand met her complaints with further harassment and retaliation. Plaintiff
called and wrote many letters to the UFT regarding these matters. UFT did not help except te fill out

approximately four (4) grievance forms, but grievances were never pursued 28 the UFT ultimately abandoned

Plaintiff shortly afterwards.

50. The environment that Plaintiff has encountered, dagan shortly after Leinwand became Principal at P.S.
&& At the time, Leinwand consistently and falsely arqued with Plaintiff that she was teaching out of
license, was not grandfathered in, and was in danger of being excessed. Prior to the false allegations,

Plaintiff was always grandfathered in, on all school excessing lists far the past seventeen {17} yaars,

51, Plaintiff was given her employee profile by the DOE which shows her excessing seniority. The profife

was dated June 30, 2002. The pretile was tampered with as it shows code numbers that don’t exist in the

contract and incomplete information.

h?. Plaintiff wrote many letters to the UFT about her exeessing seniority, including Weingarten, President of

the UFT. Most of the Queens UFT frustrated anc stressed her, offering no help, and Weingarten never

rasponded,

53. On or about January 2003, Plaintiff was stunned for the very first time, when she was listed
Probationary for excessing which meant plaintitf will be one of the first teachers to laave the school in case
of a budget cut, ete. Leinwand and O'Gara had this list kept in their desk drawers under lock and key,

Under no circumstances could Plaintiff make a copy ef this list in order te have it corrected,

54, According to the DOE Teachers’ Guide to Serving in Tae New York City Public School dated December

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2003, it states, "The excessing list should be made available in an accessible location in the school to allow

all staff members the opportunity to review the list."

6. It would be considered common practice, that if @ teacher has a problem with his/her excessing status,
that teacher makes @ copy of it and provides this information to the UFT. Leinwand and O’Gara argued with

Plaintiff that she cannot be given a copy of the excessing list.

6G, Plaintiff was reminded periodically by Leinwand about her problem with excessing seniority as Leinyand
arranged emergency morning excessing meetings with alf the teachers at P.S. 66. These meetings took place
as the children were watched by other schoo! personnel at the onset of the school day, before the children

had the opportunity to be escorted to their classrooms by their teachers.

o/, Leinwand stated to the staff, “Know your place on the excessing list. We expect teachers to be
excessed. Qon't come crying to me when you're excessed. If you believe you are not properly placed on the

list, take cara of these matters now."

58. These meetings were intended for Plaintiff as she was the only teacher in the school who had! a
problem with excessing. Plaintiff called the Queens UFT, and depending upon which representative she spoke
to, most UFT representatives said she did have excessing seniority; however, Mayglothing, Special
Representative and Harolyn Fritz, Queens Esrough Representative, arqued with Plaintiff it’s a qray area, and

Changed their story shortly, to inform Plaintiff that she absolutely does not have excessing seniority.

59. At one point, Leinwand approached Plaintiff and told her she would be happy to know thet a new list

of excessing seniority arrived at school, and that she now has excessing seniority, Plaintiff asked to see the

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list. Leinwand did not respond and walked away.

60. Mayglothing knew Leinwand well, as he constantly spent time at Leinwand’s former school, J.H.S. 270,
doing grievances. Leinwand informed Plaintiff of this, and upon information and belief, Leinwand fnformed
Mayglothing that she desired Plainotiff to be excessed. Mayglathing was very hostile towards Plaintiff, and
pretended he did not know who Leinwand was. He arrogantly stated to Plaintiff and her husband, "What
does ihe term grandfather mean? | never heard the term grandfathered in." These harassing comments

greatly stressed Plaintiff and her husband as ihe UFT was hostile, aad not acting on Piaintiff’s behalf.

61. Plaintiff and her husband also spoke to Evelyn Seray, a Special Representative of tha UFT, regarding her
excessing seniority. She informed Plaintiffs she would have Plaintiffs meet with an excessing specialist.

However ft never occurred. A month later Seroy informed Plaintiffs to “Bite the bullet!”

62. Plaintiff called the Brooklyn UFT where she was originally grandfathered in. Tha Brooklyn UFT
representatives reassured Piaintiff tha Queens UFT is incorrect and mailed to her all appropriate documents

io prove that Plaintiff does have excessing seniority.

63. On or about June 2003, Plaintiff filed a Stap | griavance regarding her exceassing status. However, that
was not an easy task. O'Gara argued with Plaintiff as Plaintiff wanted the carrect farts and rules listed on
her grievanee regarding her execessing seniority. O'Gara was very adversarial towards Plaintiff, and did not
want to state the true facts on Plaintiff's grievance. Finally, O'Gara somewhat relented and a Step |

giievancea was initiated. Plaintiff was very stressed from the hostile actions of O'Gara.

§4, The Queens District Representative, Cooper, was on Plaintiff's side and reassured Plaintiff by stating,

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“You do have excessing seniority. Qan’t listen to the Queens UFT. If we need to, we'll appeal it and you'll

finally win."

65. Plaintiff last Step | and Step ll of the excessing grievance, althaugh she showed all the documents given

to her from the Brookiyn UFT proving she had excessing sentority.

66. At the Step [i grievance, there was a hearing officer present, Mr, Edward Levitan {"Levitan"), There is
no mention of a hearing officer in the contract at Step Il. Before the grievance began, Leinwand and Levitan
ware conversing in front of Plaintiff about old scheal days and how Leinwand is still as pretty as ever. He
related many parsenal stories to Leinwand to prove they were friends. Levitan was not a neutral decision-

maker: and it was quite clear Plaintiff would lose the grievance.

67. In June 9, 2003, Fritz, wrote Plaintiff a letter stating, “In regard to your request to proceed to Stap Ill,

we regret to inform you that the Borough Grievance Department has concluded your casa cannot be

pursued."

68. This is a violation of the Collective Bargaining Agreement, at a teacher is entitled to grave her issues

at all steps of the grievance procedure.

69. In June 13, 2003, Plaintiff appealed the decision with Mr. Peter Lehrer ("Lehrer"), a representative at
the UFT Grievance Department. Lehrer was eoncerned and very puzzled why Leinwand and O'Gara did not
give Plaintiff a copy of the excessing list. Nonetheless, Lehrer granted Plaintiff back her excessing seniority,
He informed Plaintiff sha was not markad probationary on the computer as she had at that time

approximately eighteen (18) years of excessing senicrity. He also read all releyant documents from the

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Brooklyn UFT,

7G. A day later, Lehrer calls Plaintiff's home and informs Plaintiff's husband and her that he is sorry he
cannot grant Plaintiff her excessing seniority as the Queens UFT will not permit it. Plaintiff and her husband

were extremely frustrated and stressed as they thought this ordeal about excessing was solved.

77. Upon information and belief, Plaintiff never received an official letter fem Peter Lehrer that her appeal

was denied.

72, In January 20, 2004, Plaintiff receives a letter about initiating a "second" appeal regarding her

excessing seniority from Solomon, Director of UFY Grievance Department, Manhattan Headquarters.

#3. To date, this “second” appeal is now considered obsolete according to Selomon. On May 2005, he
Stated ta Plaintiffs that a grievance for excessing seniority is not pursued untess you were actually excessad.
Sofamon's comment was alisurd, as ¢ teacher js instructed to take care of these matters right away, as It

protects a teacher and provides job security.

#4, Throughout the 2001-2002 school year, Leinwand constantly reprimanded Plaintiff to arrive early each
day and to stay late after school te prepare the dibrary for automation. This was to be without pay.
Leiawand did so despite the fact that Plaintiff already had a full oad of classes during the day, as any
teacher. Leinwand refused ta provide Plaintiff with any assistance in the library. Plaintiff aven had to
utilize prep periods and lunch periods to prepare for the avtomation, without receiving any assistance for

most of the school year.

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75. in April 2002 Sheehan screamed at Plaintiff, in the presence of children and schoo! staff, regarding her

use of a schoa! ide, to momentarily watch her class. Plaintiff needed to telephone a parent on an urgent

matter regarding the safety of a child.

#6. Nearly all teachers utilize school aides in such a capacity and such practice is commonplace, However,
when Plaintiff used the aide to watch her class, Leinwand threatened to report this incident to the
Superintendent. Plaintiff was shocked, humiliated and hurt that Sheehan reprimanded her in front of
teachers, parents and children and that Leinwand was not providing the same courtesies to all teachers,

Leinwand gave @ disciplinary ietter to Plaintiff, but tater that day rescinded it.

77. Plaintiff asked for help from O'Gara. O’Gara was of no help and aggravated and frustrated Plaintiff
further as she nastily informed Plaintiff, “The onfis af proof is on you." It was as if O'Gara was taking

delight in the unfair situation Plaintiff was exposed to, as O'Gara refused ta acknowledge to Plaintiff that
the schoo! aide is used by ali teachers in the school on @ daily basis; when a teacher needs to use the

hathroom, or make an emergency phone call, etc.

78. After dismissal that day, Plaintiff was extremely upset, as she was relating her story ta @
paraprofessional in the school. Leinwand approached Plaintiff and stated, "Gon't worry, Susan, | tank care of
the situation. I'm not reporting it to the Superintendent.” Additionally, she informed Plaintiff to not worry

about the disciplinary letter as she is rescinding it. Plaintiff never signed tha latter.

79, ‘the next day, Leinwand writes a demeaning two page nen-file letter to Plaintiff, in which no signature
was required. Plaintiff called the UFT regarding this letter, and the disciplinary letter Leinwand rescinded,

UFT informed Plaintiff ta forget about it, Leinwand cannot do anything with those letter as ao latter was

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signed by Plaintiff. Plaintiff tock their advice.

80. Approximately two years later, Leinwand contradicts what she stated above, as she tries to incorporate
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ihis incident in an unlawful five page letter, titled, Medical Evaluation from Phyllis Leinwand. In this 5 page

unlawful document, Leinwand commits fraud as she distorts facts about Plaintiff's present and past history

at P.S. 66, and previous schools, Plaintiff's school file portrays an wablemished work history.

81. Lainwand is neither a doctor nor an investigator, nor a judge. However in this unlawful medical

evaluation, she believes sha holds the role of all three (3) professions.

82. Leinwand, once again reports the fneident that happened two (2) years ago, to the Medical Bureau in
her unlawful 5 page report, “Susan Tropeano, Medical Evafuation" from Phyllis Leinwand, she states, “!
reported this incident to the District Offtce and asked for her immediate removal based on this behavior and
the response | received was that the Assistant Principal should not have attempted ta speak to her whita she

was with the children.”

83. It is quite obvious, Plaintiff could not trust Leinwand and this proves Leinwand was trying every
conceivable way.to have Plaintiff removed from the school, either by having her unlawfully excessed or by
“immediate removal" as expressed by Leinwand. Leinwand, once again, approximately one year later, uses

this incident although it was rejected by the DOE, one year later, as she tries to subject Plaintiff ta an

vrlawfel 3620-4 proceeding.

84. Leinwand also refused to give Plaintiff storage space for her books and materials. Ag a result, Plaintiff

had to maintain these items on chairs in the teachers’ lunch room. The items included her file folders,

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which, Leinwand took one day. Finally, in or about April, 2003, after several complaints, Leinwand gave

Plaintiff a cart, with one small shelf. This cart was still inadequate. In May, 2003, Leinwand took the cart

away.

86. In September 2009, Leinwand gives Plaintiff a desk. On or about November 2003, Leinwaned informs
Plaintiff, as it was directed by Lavin, her desk has to be removed, as Lavin claims it’s a fire hazard,
Leinwand removes Plaintiff's desk from a huge empty area on the third floor claiming it’s 2 fire hazard.
However, in this huge empty room there are children's desks, rows of chairs, boxes, childran’s coats and
hookbags scattered on the floor. According to Lavin and Leinwand, these items are nat 2 fire hazard only

Piaintifi’s dask is hazardous,

86. In June, 2002, despite having been praised fer completing the automation of the library, Leinwand,
without cause, informed Plaintiff that she was ta be replaced as Librarian for the forthcoming year. Plaintiff
was removed, despite heing the most qualified teacher to be the schoal librarian as sha was certified by the
School Library Services Division and having a degree in English{Language Arts, Plaintiff was, instead, given

the pasition of Science Cluster Teacher, beginning in September, 2002.

47. In September 2002, Leinwand gave Plaintiff a less prestigious position as Plaintiff was assigned to be
the Science cluster teacher where she no longer had her own room. She had ta travel from class to class
teaching science and had to leave all her school materials and personal belonging which she used daily in the
small teachers" fuachroom. Items got fast and misplaced, as the teachers’ lunchroom is tha busiest room in
the school, and is definitely not an appropriate place for @ teacher to store ier personal and school

belonging.

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&8, During the 2001-2002 school year, Plaintiff was given all first period preps, which is unfavored prep

period. Plaintiff constantly complained ta Ms. Leinwand, but to no avail,

89. Leinwand, in ar about September, 2002, humiliated Plaintiff by broadcasting Plaintiff's feelings to
other staff members. Plaintiff was the only teacher who had all first period preps plus all early lunches, as
Leinwand tried every conceivable means to frustrate Plaintiff by not accommodating her like other teachers.
Leinwand's fntention was to make Plaintiff sa uncomfortable, frustrated, and stressed that plaintiff would be

ferced to seak a transfer.

90, On the third day of school, in September, 2002, Leinwand and Oenise Sontag ("Sentag"}, from the
District 27 fiffice, visited Plaintiff's classes. Leinwand permitted Sontag to humiliate Plaintiff in front of her
class, . Sontag criticized Plaintiff's lesson and took her fesson hook, although Plaintiff, who was new to

the Science Cluster, had merely followed the previous year’s curriculum.

91. Plaintiff's science lesson was a very appropriate lesson as Plaintiff was introducing the topic, "Science"
and the children were creating a science collage from magazine pictures they cut out the night bafore for
homework. After their collage was completed, children were assigned to write about their collages and haw

it relates to science,

92. It should be noted that when Sontag humiliated Plaintiff in front of her class, Leinwand was enjoying

avery moment as she had 4 smirk on her face sipping coffee remaining silent. Plaintiff informed Leinwand in
frant af Sontag, to tell Sontag that Plaintiff's classes wera not given science textbooks, However, Leinwand
ignored Plaintiff by turaing her back on her, and walked out with Sontag. Plaintiff was frustrated, stressed

and trembling from this situation which occurred in front of the children.

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93. At the end of the period, Plaintiff ran to Leinwand's office, where both Sontag and Leinwand were
present. Plaintiff again explained the situation to Sontag, and informed Sontag she did not appreciate being

humiliated in front of the children. Leinwand remained sifent. Plaintiff asked for her planbook back. Sontag

gave it to her and said, "| understand, I'm sorry."

94. As a result of not having science textbooks for the children, Plaintiff went to the school library to take
cut books for the children, The new school library teacher interfered with Plaintiff's efforts. Plaintiff
complained to Leinwand who refused to do anything as Leinwand told Plaintiff, "I can’t tell teachers what to

do." Leinwand suggested that Plaintiff go toe her own public library if she wanted bocks for her classes.

85. Plaintiff was in charge to teach science frem kindergarten to second grade. O'Gara was in charge to
teach science from third to fifth grade. O'Gara had science textbaoks for her classes, but Plaintiff did not.
O'Gara nad a desk, bookshelves, and office ta store all her personal and school belongings. Plaintiff did nat.
lt was very evident, Plaintiff was not treated fairly and equitably, like other teachers: as Leinwand was

creating a hostife work environment for Plaintiff, as she was trying her hest, to make Plaintiff leave the

school,

$6. Leinwand used O'Gara, the UFT Chapter Leader, to violate the Collective Bargaining Agreement in many

ways; with the goal that Plaintiff would be sa stressed and frustrated, she would finally seek a transfer,

97. Leinwand forced another female teacher to leave during the school year of 2003. This teacher was an
ESL ienured teacher, teaching ESL at P.S. 66 for twelve (12) years. Leinwand eliminated her ESL position
and thus forced this teacher out of the school, Upon information and belief, Leinwand eliminated this

teacher to save @ young male teacher‘s position who did not have tenure, and if excessing occurred, he

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would ba the first teacher to leave the school.

98. Upon information and belief, one of the reasons why Leinwand was targeting Plaintiff to leave the

school in the 2003-2004 school year, was to save this male teacher's position, once again.

98. It should be noted, that Plaintiff taught science to his class and he was always cooperative and cordial
to Plaintiff. However, when Leinwand's severe harassment escalated towards Plaintiff, as Plaintiff taught
his class on February 13, 2004, the iast day Plaintiff attended school, this male teacher was very
uncooperative and nasty with Plaintiff. He interfered in Plaintiff's science lesson by speaking to his class

while Plaintiff was teaching, disturbing the children’s concentration on the scienca work in progress.

100. It was a common tactic of Leinwand to “set-up” certain teachers against Plaintiff and in return those
teachers will receive favors from Leinwani, Leinwand tried to do this with Plaintiff as well, as she wanted
Plaintiff to tell her some personal information about another teacher. Plaintiff informed Leinwand she will

have no part in that.

107i. tn Octeber 2003, Cooper, before abandoning Plaintiff, informed Plaintiff, "Be careful of Leinwand. She
makes friction batween teachers. She’s sadistic. She makes teacher sick. She has a history with the

Union for ten (0) years.” Plaintiff is living proof of Cooper's comments.

102. In November, 2002, Leinwand, unjustiiably, took Plaintiff's time card because she was one minute
late. Plaintiff had to retrieve the time card from Leinwand approximately fen minutes. later, She then had to

neediessly punch in ten minutes later,

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103. ln December 2002, Plaintiff became yery ill while teaching. She buzzed for Leinwend. Leinwand

refused to have someone cover the class and refused to permit Plaintiff to ga home, although in such

situations there is always sameone to cover the class. Another similar incident occurred in February, 2003.

104. {n December, 2002, Plaintiff hurt her back as the result of carrying toa many books for her students
at P.S. 66. She filed an accident report, which Leinwand, at first, unjustifiably, refused to sign until twa

weeks tater whan Plaintiff threatened her with Union intervention.

105. During the 2002-2003 school year, Leinwand repeatedly asked Plaintiff her age and if she had

reached age 50. This was not justified.

106. During the 2003 school year, Plaintiff's ring got caught in the copying machine and a diamond was
missing. Plaintiff became frantic and was in na mindset to teach her naxt class, The repairman was
summoned. Plaintiff did not wish to leave the machine unatteaded in the interim. Leinwand, although there

were peaple always available to cover Plaintiff's class, compelled Plaintiff to teach her class,

107. Between March, 2003 and June, 2003 Leinwand paged Plaintiff an incessant number of times to

report to her office for trivial reasons. This often occurred while Plaintiff was teaching. It caused Plaintiff

much distress.

108. Sometime during the 2002-2003 school year, Ms. Leinwand inappropriately reprimanded Plaintiff and
accused her of not being able to deal with young children. This occurred after ¢ Kindergarten student fell

asleep in the class, @ perfectly routine occurrence.

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169. Beginning in September, 2003, Leinwand, without reason, inappropriately humittated Plaintiff in front
of other teachers. For example, on one occasion,in or about September, 2003, Leinwand yelled at Plaintiff
because she could not attend a volunteer meeting. Another teacher who could not attend was not yelled at

by Letnwand.

110. In ar about Becember 2003, Plaintiff applied to switch her tier from tier IV to the better tier, tier 1,
as tha Teacher's Retirement System ("TRS"} offered teachers to switch their tiers if they warked within a

certain period which Plaintiff did work, Plaintiff was speaking to another teacher who had just had her tier
changed as well. This particular teacher is very clase with Leinwand. Plaintiff was stunned, when TRS

stated she did net work within that timeframe.

111. Plaintiff immeriately appealed tha decision as she luckiiy saved her past work history. TRS wrote a
letter back, “The QOE has reviewed your appeal and has advised TRS that you are eligible for a change. As

a result your tier will be changed to tier If."

112, It is quite bizarre to say the least, since Leinwand arrived at Plaintiff’s sehaol, all her records in the
DOE are in disarray. Seniority records that were in effect for nineteen (19) years were called into question
and kept secret, under fock and key by O'Gara and Leinwand. Work history which was clearly on the
computer could not be located, needed to go through an appeal process to be rectified. Finally, by Leinwand
placing Plaintiff on an unlawful unauthorized ieave avery single record Plaintiff had with the DOE including

pension, TOA salary, medical benefits, welfare benefits were unjustifiahiy, abruptly terminated,

113. As mentioned previously, during the 2003-2004 school year, Plaintiff was the only teacher in the
schoo! given all fist periad preps and all early lunches. Plaintiff asked Leinwand for late preps, like the other

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teachers had in school, as Plaintiff began to experience over tiedness and voice problems, However,
Leinwand yas unyielding, and hostifely remarked to Plaintiff, “I don't care if you get sick fram your schedule.

Don't blame it of me.”

114, Other teachers observed Leinwand’s harassment of Plaintiff. Mrs, DaVino, a fellow Teacher, offered
the eppertuntty to Plaintiff to exchange one of her later preps with one of Plaintiff's first period preps. Mrs.
Da¥ino, is one ef the teachers on the Consultation Committee, The Consultation Committee was created to

address issues andlor problems in the school.

116. Plaintiff informed Leinwand of the prep swap with Mrs. DaVino. Leinwand denied the change in
schedule. Leinwand berated Plaintiff regarding her request for an accommodation in the presence of a class,
white Plaintiff was conducting a lesson. Later, Mrs. Da¥ino sympathetically informed Plaintiff that there was

nothing she could do to relieve Plaintiff's difficult schedule, as Leinwand was obstinate about Plaintiff having

first period praps.

116. Leinwand firmly stated to Plaintiff, "No one wants your first period preps. I'm the Prineipal in the

school. No ane tells me what to do in my school.”

117. In October 2003, Plaintiff notified Cooper regarding the probiems with her schedule. Cooper informed

Plaintiff that her schedule was not fair and equitable, Cooper further explained, that she would speak to

Leinwand regarding same.

118. This was the time Cooper informed Plaintiff to ba careful of Mrs. Leinwand as previously reported.

Cooper advised Plaintiff to maintain 2 log of issues that arose with Leinwand. Cooper further told Plaintiff

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that she would present tha log to the Superintendent, but she never did, as she abandoned her shortly.

118. In Oeteber 2093, Plaintiff sought the care of a psychologist, Dr. Victor DeFazio, due te the hostile

treatment to which she was subjected by Leinwand.

120, On Election Day, November 4, 2003, Plaintiff was called to a meeting in Leinwend’s office, by

Shaehaa.

121. Upon entering the office, Plaintiff observed Leinwand, Sheehan and her District Representative,

Gooper. Plaintiff was shocked to see Cooper in Leinwand’s office.

122, Cooper reprimanded Plaintiff, stating her schedule was fair and equitable, despite her earlier comments
to the contrary. Plaintiff realized that her District Representative had completely shifted her thinking since

speaking privately with Leinwand. Shortly afterwards, the UFT completely abandoned Plaintiff.

123. Cooper informed Plaintiff at the meeting, that Leinwand wanted Plaintiff to have all first period preps
and all early lunches. Leinwand added, ") know the higher-ups in tha system" and stated, that "Mrs.
Tropeano was harassing her.” It was obvious, Cooper was allegedly present to stop Plaintiff from harassing

Leinwand, acting as Leinwand’s union representative instead of Plaintiff’s.

1274. At the meeting of November 4, 2003, it is of utmost importance, and should be noted, that when
Leinwand informed Cooper and Plaintiff that she knows tha highar-ups in the system, and that Plaintiff is
harassing Leinwand, Cooper abruptly turned her back on Plaintiff and abandoned her. Before Leinwand

expressed her threatening statement to Plaintiff and Gooper, that she knows the higher-ups in the system,

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she asked Gooper, “You don't know who | am, Ms. Cooper, de you?” Cooper stated, "No, f don’t.” It was
quite evident that before Plaintiff was summoned to this meeting, Leinwand demanded Cooper privately to

abandon Plaintiff's plight for justice, as Leimwand warned Cooper nat to help plaintiff with her schedule.

125. In October 2003, approximately one week before the disturbing meeting arranged by Leinwand, Cooper
and Plaintiff were arranging a dinner date; as they became friendly with one another approximately twa (2)

years prior to this November 4, 7003 meeting.

t26. Cooper and Plaintiff were school librarians anc they met at a school Hhrary meeting, Downtown
Brookiyn. They shared personal conversations, went to a future library meeting together at Queens College,
and were about ta go hava dinner together, in October 2003. However, Lainwand changed all of that, as
she deliberately and recklessly destroyed Plaintiff's friendly relationship with Cooper; as Cooper did warn

Plaintiff she makes friction between teachers; as Leinwand was: . putting a wedge between Plaintiff and

Cooper.

127. Qn or about the end of October 2003, Leinwand arrogantly stated to Plaintiff “Your good friend

Cooper wants fo discuss your schedute with me.” Plaintiff never informed Lainwand ahout her relationship

with Cooper,

128. Upon information and belie’, O'Gara informed Leinwand that Cooper and Plaintiff were friendly, as
O'Gara speaks regularly to Cooper. Leinwand orders O'Gara to discriminate against Plaintiff and to find out

information about her; and in return O'Gara receives fayors from Leinwand for net acting on Plaintiff's behalf,

4 commen routine tactic of Letnwand.

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129. Not only was Plaintiff being discriminated hy O'Gara, hut now Plaintiff's "good friend" Cooper was
discriminating against her, as well, as a result of Leinwand's command; as Cooper reprimanded Plaintiff an
November 4, 2009, in frant of Leinwand and Sheehan arrogantly stating, "Don't ever speak about your
schedule again. Your schedule is fair and naxt year you will have all early lunches and first period preps

again.” Plaintiff was shocked and trembling from Caoper's sudden, tyrannical behavior.

130. At the meeting of November 4, 2003, Leinwand commented ta Cooper, “You don't know me very
well, Ms. Cooper, da you?” Cooper said, "No." Please note, Cesper was not stating the truth ta Leinwand,
as she informed Plaintiff approximately one week earlier, in October 2003, "Be careful of Mrs. Leinwand.

She is sadistic. She makes teachers sick. Sha makes friction between teachers. She has a history with

ihe Union for ten {10} years."

137. Thus, it was quite evident that Leinwand spoke to Cooper privately and warned her not to represent

Plaintiff’ as Cooper previcusty informed Plaintiff the alarming history of Leinwand‘s malicious conduct and

hersonality.

132. Ht is important to be aware that Leinwand's connection with the higher-ups is the key element as to
wiy Cooper pretended not ta know Leinwend in her presence at the November 4, 2003 meeting and the key

element as to why Cooper deserted Plaintiff.

133. Cooper was threatened by Leinwand that if she helps Plaintiff, she will jose her position as District
Representative, as Leinwand does have influential, corrupt power to make it happen. Leinwand thrives on
her power as she is closely connected with the source of the DOE, the powerful Chancellor, As 2 result,

Leinwand is able to usurp her authority by empewering OOE employees and UFT employees suceumb to her

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wishes.

194. The DOE indirectly controls the UFT and their representatives, as they are paid by the DOE, UFT
representatives love thetr pasitions as they get release time and many perks. As @ result, the Chancellor
indirectly controls the UFT as he has the power to demote a UFT representative if they don’t cooperate with

the Chancellor. Thus, the UFT raprasentatives will abide by the wishes of the Chancellor so that their jot

will he secure.

136, After this corrupted meeting of November 4, 2003, consisting of Plaintiff, Cooper, Sheehan and
Leinwand,’ Leinwaad arrogantly annquneed and made it known at a faculty conference, that if any teacher
does not like it here (meaning P.S. 66); she pointed, "There's the door, leave! I’m not a happy camper when

someeng insults me."

136. Please note changing Plaintiff's schedule to make it fair and equitabla was insulting to Leinwand.

This massage was definitely intended for Plaintiff, and to another teacher, who complained to a PTA parent
about Leinwand. This particular PTA parent, és Leinwand reported to the faculty, cermplained to Leinwand
that the school is not the same as it was with their former principal, Jay Aosler, He informed Leinwand
that teachers appear to be upset and unhappy as they no longer smile and seem happy as they did with their
former principal. These comments were insulting to Leinwand as she was greatly infuriated by these

comments and teok it out on the staff.

137, It is of utmost importance to know that Leinwand has very close connections with Chancellor Klein
which Leinwand does not keep secret. Lelawand developed her powerful connections with the Chancellor, as

she is very friendly with the Chancellor's right hand man, Mr. Matthew Bromme {"Bromme”}. Bromma was

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formerly the Superintendent of District 27; where Leinwand's former school, J.H.8. 210 is incated. Bromme
was originally a teacher at J.H.8. 210, as Lainwand was originally a teachar at J.H.S. 210 as well.
Sheehan was also a teacher at J.H.8. 270, Leinwand developed a very close, personal relationship with

Bromme, a8 they attend each others’ family functions, such as weddings, ete. Leinwand's ante work

history is at J.H.S. 210, where she eventually became assistant principal and Sheehan became a dean.

138. Upon information and belief, Leinwand and Sheehan recaived promotions for protecting the wrongs of
the administration at J.H.S. 210; as Leinwand became principal, and Sheehan became assistant principal, at

Plaintiff's school, P.S. 66.

139. Leinwand flaunts the Chancellor's connection, and as a result, Leinwand believes she could target any

teacher she desires, as she is confident she can get away with it. This is how Plaintiff get caught in this

web of corruption.

140. Leinwand used her cohort in crime, Lavin, to fulfil! her mission in targeting Plaintiff. The first goat of
their deliberate and reckless mission, is te rid Plaintiff of her union. It was successfully completed as

Plaintiff's UFT abandoned her.

141. The second goal of Leinwand's and Lavin's deliberate and reckless mission, is to violate Federal, State,
State Education Laws and the Collective Bargaining Agreement, and heap upon Plaintiff the overwhelming

violations; as this was their deliberate and reckless scheme to destroy Plaintiff's career, health and finances.
Lavin and Leinwand knew vary well this will cause Plaintiff irreparable harm. It was successfully completed

as well, as the UFT abandoned Plaintiff and therefore Plaintiff could not seek relief from their wanton acts.

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142. The third goal is to expose and inflict upon Plaintiff chilling, unlawful orecedures, as if Ptaintiff was
living in barbaric times, when it was allowed to mutilate someone for absolutely no reason. This was
successfully completed as well as the UFT abandoned Plaintiff, and therefore Plaintiff could not receive relief

from their wanton acts.

143. The main chief executive officer, who sits on the “throne” of the DOE, is Chancellor Klein. He is the
almighty king of the DOE who is in charge to make sure ail DOE employees are fulfilling their duties properly
and effectively. He certainly is not going to cease Leinwand's and Lavin’s barbaric tactics, as he is promoting
them to prey upon Plaintiff incessantly to date; for two {2} years, three (3} months. Plaintiffs and their
Families suffer irreparable harm from the uncivilized pranks of Letnwand and Lavin who sehemed and
destroyed an entira families’ health and finances, as theyare a close knit family and what happens ta one

family member happens to all.

144, On February 17, 2006, Plaintiffs wrote a serious, recent letter to Klein holding him responsible for
allowing DOE employees to behave in such a destrustive manner. Klein never responded to Plaintiff‘s letter,
As a result, Plaintiffs hold the City of New York responstbie for all the barbaric acts of the DOE employees,

including the Chancellor, who promoted these acts,

145. In February 16, 2006, Plaintiffs wrote a serious, recent letter to Weingartan, President of the UFT,
halding her zesponstile for all UFT employees; the LUFT Hepresentatives, who recklessly and deliberately

abandoned Plaintiff. Weingarten did not respond to Plaintiffs’ fatter.

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146, In March 2006, Plaintiff spoke via telephone to Chess, Assistant to Weingarten. Chess was

extremely hostile to Plaintiff, pretending he does not understand what's taking place; as Chass always refers

to Plaintiff's case as, “your little case,"

147. in March 4, 2006, Plaintiffs wrote a letter to Regional Superintendent Cashin holding her
responsible for allowing OOE employees; Lavin and Leinwand, in her Region, ta abuse their powers concerning
Plaintiff. Cashin called Plaintiff and informed Plaintiff she wants ta help her. An appointment was made,

but than cancelled. Plaintiff never heard from Cashin again.

148, Numbers 116-134 stated previously, constitutes the heginnings sf conspiracy leading into Rico
Violations, which wilt be explained later in deatii in this Complaint, as the Chansellor is the “Godfather.”
Leinwand and Lavin aré considered his "Mafia fantly,” as they are connected and protected by the
"Godfather." As a result, Leinwand and Lavin are able to ahuse thelr authority and attack any individual

they desire; with no tear of repercussions for their unlawful, wanton canduct.

148, Lavin and Leinwand report to the Chancellor, the "Godfather," that they dasire Plaintiff to be
targeted. As a result of thair wishes, the UFT has to abaadon Plaintiff. The Chancellor, who is the
"Godfather" informs all UFT Representatives not to protect Plaintiff and not to initiate grievances as Lavin's

and Leinwand’s unlawfulness cannot ba exposed as the Mafia family must be protected.

50, Please note, the one and only grievance initiated incorporated unlimited, unlawful grievance
procedures, as rules, protocols, and laws; pursuant to the Collective Bargaining Agreament were severely

violated; as the Matia family must be protected.

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¥61. lf a NYSUT or UFT Representative strays from tha "Godfather’s" order, their role as
Representative will be destroyed; as the Chancellor, the “Godfather,” is tha Chief Executive of the BOE. The
UFT and NYSUT Representatives are paid by the DOE, UFT and NYSUT Representatives have informed
Plaintiff and her husband numerous times, "The DOE holds alt the power. The UFT is weak, They follow
the orders of the DOE." These statements were made by a NYSUT Representative, Antonic M. Cavallaro,
and a WET Representative, Roger Roth. Additionally, Mr. Cavallaro stated to Plaintiff and her husband that

Plaintiff “has less rights than a criminal."

ib2, As 2 result, it is very obvious from the conversations and facts reported, the UFT and NYSUT
ale threatened not to help Plaintiff. Rather, they are instructed by the Chancellor, the "Godfather," with the

help of his "Mafia family," to unfawfully destroy Plaintiff's career, health and finances, in essence her life.
153, As a result of Plaintiff's destroyed life, Plaintiff's husband's life is destroyed as well,

164. A husband and wife are a unit; a bond, and when one spouse is suffering, the other spouse {s

suffering as well.

+55, Plaintiff's hushand’s good name and reputation were destroyed by the “Mafia family” when

Leinwvand falsely arrested him, as he wanted to speak to Leinwand about abusing Plaintiff.

156. The goal of the Mafia is to destroy any enterprise which interferas with their untawfulness, as

no one may protect the person who is heing victimized.

157. Additionally, any sources protecting the Plaintiffs, they mock and brazenly ignore as they

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disregard Plaintiff's doctors and the Federal government's long term Social Security disability granted to

Plaintiff.

158. This Mafia scenario is actually what took place in Plaintiff's case. Without help from the UFT
and NYSUT, the Plaintiffs are destroyed ... SMASHED! This overwhelming "Mafia" control is destroying

Plaintiffs’ families as well.

169. The “Mafia Family" has expanded to include not only the DOE, and all the individual Defendants
of the DOE, but also includes UFT, NYSUT, and all the individual Defendants of NYSUT and UFT. These
powerful, corrupted entities and individuals conspire to destroy Plaintiffs’ lives and their families’, severely
violate Plaintiffs’ constitutional and civil rights; including but not limited to procedure, due process, liberty

and property rights.

160. UFT, NYSUT and the individual Defendants of tha UFT and NYSUT, conspire with tha DOE and
the individual Defendants of the DOE, as they were very wel! aware that Plaintiffs would suffer irreparable
harm as all NYSUT and UFT Defendants chose to aid and abet the DOE and the “Godfather,” Chancellor
Kiein. All individual Defendants of the DOE commitied a pattern of racketeering activity, which fs ongoing to
date, against the Plaintiffs. The pattern of racketeering includes Rico violations consisting of extortion,
bank fraud, embezzlement from pension and welfare funds, obstruction of justice, fraud in connection

with identification documents, and mail and wire fraud which will a6 explained in detail, later in this

complaint.

161, In January 2004, Plaintiff wrote and filed a harassment log consisting of approximately fifty (50)

pages, regarding Leinwand. Within five {5} days, the Queens UFT danied Plaintiff's harassment log. Upon

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denial of Plaintiff's harassment log, Plaintiffs’ requested a dafinition of the term harassment fram her UFT.

However, Plaintiffs’ request was not addressed by the UFT.

182, In retaliation to Plaintiff's harassment log which the UFT did not keep confidential, Leinwand
recklessly and intentionally went on a rampage to ruin Platntiff’s career; as shortly afterwards, she inflicted

upon Plaintiff every conceivable negative measure she could use te make it seem that Plaintiff was a misfit

ta soctety.

Th, Leinwand usurged her powers, as she recklessly and intentionally disobeyed Federal laws, State
laws, the Collective Bargaining Agreement, and State Education faws. As a result, Leinyand succeeded in

destroying Plaintiff's career, health and finances, as well as the health of Plaintiffs’ families; as the stress

permeates to all family members.

164. Plaintiff wrote numerous letters to the UFF regarding the above, however, the UFT and individual

Defendants did not resgond. The UFT abandoned her.

165, In January 2004, Plaintiff immediately appealed the harassment !og to the Headquarters of the
UFT.
166. On January 42, 2004, Plaintiff arrived at work in a timely manner, but could not locate her time

card. Leinwand had purposaly pulled Plaintiff's time card, although sha was aot fate. When Fiaintiff
questioned Leinwand about why she pulled her time card, Leinwand made a derogatory announcement to
those present in the main office. Pulling a time card is normally reserved for teachers who are late. As

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Plaintiff was not late, she was very upset by Leinwand’s comments, and her attempt to fabricate, falsehood

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about Plaintiff being late. it should be noted Platntiff does not have a history of lateness.

167. On or about January 13, 2004, Plaintiff was served with a letter, which was disciplinary in
nature. The letter was handed to Plaintiff by the Payroll Secretary, in the presence of ona af Plaintiff's
classes, This letter pertained to an upeoming meeting that Plaintiff was to have with the Local Instruetional
Superintendent, Lavin, on January 16, 2004. It stated, "You are entitled to bring UFT representation.”
Plaintiff requested an adjournment of the meeting until she was able to obtain representation. Prior to this
latter, Plaintiff never receved any disciplinary letters curing ber nineteen (19) years with the DOE as she had

alt satisfactory observations filled with praise and all satisfactory end of year reports.

168. Additionally, her school file is abundant with numerous praise letters from past administrators and

from other District personnel.

169. On or about January 16, 2004, Leinwand approached Plaintiff and requested her presence at the
meeting with Lavin, Plaintiff informed Leinwand that her actions were causing Plaintiff great stress, and

that she could not physically withstand any more incidents or occurrences.

170. In an effort to allay her concerns, Leinwand assured Plaintiff that the meeting was solely in
order to change her schedule as per her above-mentioned requests. Plaintiff reluctantly consented to attend
without representation. During the meeting, Lavin proceeded to question Plaintiff's health, repeatedly asking,
"Are you sick? Are you well? Are you sure you're not sick? Are you sure you're well?” These belittling
remarks were mind boggling to Plaintiff as she was eyed hy Lavin from head to toe. Lavin demanded full
attention and eye contact from Plaintiff, as Plaintiff was reaching for 2 paper te shaw Lavin. Plaintiff was
forced ta leave fhe meeting as she could not withstand Lavin's belittling, alarming remarks. Leinwand

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remained silent throughout the meeting with a smitk on her face, sipping her coffee, enjoying Plaintiff being

reprimanded and belittled by Lavin.

TFL. Despite Leinwand's assurances to the contrary, Plaintiffs change in schadule was not discussed
at this meeting. In reality, this meeting was a set-up for the 2588 exam schemed by Lavin and Leinwand

which followed shortly. & 2568 exam js conducted te determing if a teacher is safe to teach children.

i7?. Piaintiff expressed her concerns to the UFT by leaving messages on their voice mails and writing
numerous latiers regarding Lavin's repeated, derogatory and incessant questioning regarding her health status.

Plaintiff was visibly upset and traumatized by this meeting. Plaintiff's UFT and individual Defendants of the

LtT, did net respond, as they abandoned her.

173, On January 16, 2004, due to UFT abandoning Plaintiff, Plaintiff's hushand requested te speak
with Leinwand due to the extreme stress and anxiety caused by the meeting that Leinwand assured Plaintiff
would be favorable fer har with no representation needed, Leinwand called the police to remove Plaintiff and
her bushand from the schoo! graunds ,as she refused to speak with Plaintiff's husband. The police wera
very sympathetic regarding Plaintiff and her husband's situation and her husband's reasons for wanting to

sneak with Leinwand,

17, Due to escalating hostile situations at work, by Lavin and Leinwand, Plaintiff felt vislated, fearful
and unsate at work. Her husband, when possible, made himself available ta drive Plaintiff back and forth

from the workplace.

175. On or about February 2, 2004, Plaintiff gave Leinwand a letter documenting the dates of all the

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ill treatment she suffared. After her letter, Leinwand escalated her campaign of harassment and retaliation

against Plaintiff because of, in part, Plaintiff complained about, and documented the il! treatment she

suffered due to Leinwand's misconduct.

176. On February 3, 2004, Leinwand and Gait Cener, a Teaching Coach, entered Plaintiff's classroom
during approximately tha last four (4) minutes of the teaching periad. Leinwand and Cenar interrupted
Plaintiff's lesson; began moving furniture, changing seat assignments, in an attempt to denigrate Plaintiff's
lesson. Gail Gener never entered Plaintiff's room before; as Plaintiff was always praised for her creativeness

and excellent teaching skills, by past and present administrators; including Leinwand.

177. As a result of Leinwand and Cener disrupting the class, Plaintiff wrote a jefter to Leinwand
complaining about the interruption of the class, This letter further escalated Leinwand’s campaign and

harassment against Plaintiff.
178, On February 4, 2004, Plaintiff stiaped on ice en school property.

17S, Plaintiff injured her hack and felt pain in her extremities. Plaintiff filed a Line-of-Duty Injury

accident report. The report was given to Leinwand with a note from Plaintiff's physician.

180. Leinwand denied approval of Plaintiff's accident report. Other teachers who have slipped on fee,
@ normal occurrence when it snows, had their reparts approved by Leinwand. Plaintiff had to unjustly forfeit
two (2) days from her sick day hank, while other teachers are routinely approved when they have an

accident and do not forfeit their days from their sick bank. Plaintiff filled aut grievance forms, however the

UFT and all the individual Defendants of the UFT, abandoned Plaintiff by never initiating the gievance.

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Plaintiff wrote numeraus fatters to the UFT regarding the line of duty injury; however, they never responded

to any of Plaintiff's letters.

181. Immediately after Plaintiff filed above accident report, Leinwand unlawtully barred Plaintiff's Line
of Duty injury. This was in blatant violation of the contract. Only the Superiatendent, who is
Superintendent Cashin, may bar @ Line of Duty Injury. Once again Leinwand usurps her power reeklessly and

intentionally ta harem Plaintiff.

18?. Plaintiff did not find out about the unlawful bar placed by Leinwand until on or about February
2005,
183, Additionally, the Comprehensive Accident Report dated by Leinwand was not adhering to the time

limits required and is grievable if tha time frames are not followed. This information is cited in a 5 page
letter addressing all UFT members regarding Line of Duty Injuries, written by Fritz. Plaintiff wrote numerous
letters to the UFT as Plaintiff wanted to grieve this. UFT did not respond. The UFT and the individual UFT

Defendants abandoned her.

184, Furthermore, Rite Guarimita, signed her signature on the Comprehensive Accident Report claiming
to be the Community School Superintendent on February 2004. Upon information and belief, Rita Buarmita
Guarmitad was not the Community Superintendent in 2004, as the New York City Board of Education was
changed to New York City Department af Education, in the school year 2003-2004; and as a result it was

averhauled as administrators and personnel were reassigned to different positions. As a result, Guaramite is

no longer Community Superintendent of Region 5.

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185, Additionally, on some documents, Plaintiff has in her possession, Aita Guarimita is listed as

Community Superintendent as well as, and on other documents she is listed as Superintendent.

186, On February 6, 2004, Sheehan served Plaintiff a threatening letter. Sheehan gave this letter to
Plaintiff, dramatically announcing service of said letter in front of her peers, office personnel, students,
parents and Leinwand. Leinwand smirked and stared at Plaintiff, in an effort to humiliate and frustrate
Plaintiff, as Sheehan and Leinwand reclessly and intentionally schemed to saverely humiliate Plaintiff in
public. This latter was fram Lavin to continue the meeting, "Are you sick? Ara you well?" The alarming

latter stated, "This may lead to further disciplinary action.”

187. Plaintiff was never given any disciplinary action by Lavin and now she is informed by Lavin she
may receive further disciplinary action. It was very evident from this letter that Leinywand and Lavin were
racklessly and intentionally destroying Plaintiff's career, out of nowhere; as Leinwand tried in the past two

{2} and a half years to unlawfully force Plaintiff out of the school, due to her incessant harassment inflicted

upon Plaintiff.

188, Plaintiff was visibly upset, traumatized, and trembling upon receiving this letter. Plaintiff was
expected to teach her fast period class after being publicly humiliated as Leinwand stood outside Plaintiff's
room with a smirk on her face observing Plaintiff with her class. To avaid Leinwand's intimidating presence,

she teak the class to the bathroom.

189, To avoid hurt, and public humiliation, and to better serye the children, this letter should have
been presented privately at the end of the school day which was approximately forty (40) minutas later,

Plaintiff reported this letter to the UFT and Cooper who were hostile to Plaintiff and refused to help

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Plaintiff.

790. On February 6, 2004, Plaintiff's husband attempted ta speak with Leinwand, once again,
regarding the ill treatment of Plaintiff; however, Plaintiff's hushand never entered the school nor did he speak
with Leinwand. Leinwand weat to the Police Precinet three (3) days later, and pressed charges against

Plaintiff’s hushand for trespassing.

181. However, Plaintiff was not informed of her husband’s arrest until February 16, 2005, by a

detective who called fer home.

192. in retaliation to Plaintiff's harassment iog, and her nine (9) page log letter, on February 12,
2004, the Assistant Principal, Sheehan, stormed into a Staff Development Workshoo where the sntire staff
was present. She approached and recklessly served Plaintiff with four (4) horrific nea-file letters; threatening
Plaintiff's career. None of the letters were dated February 12, 2004. This act was intended to intentionally

causa Plaintiff further public humiliation.

183. The incidents were baseless and harmless; however it was evident Leinwand and Lavin wera
twisting and distorting the facts as they recklessly and intentionally schemed te destrey Plaintiff's career.
Their unlawful mission was successful, as they not only destroyed Plaintiff's career but her health and

finances as well ... in assence her [ifa,

194, Additionally, since the UFT, NYSUT and DOE conspiracy continued incessantly for such a long
period of time, Plaintiffs” families suffered irreparable harm,as well,as Plaintiffs and their families are closely
knit, and therefore what happens to one family méamber happens to all,

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195, One letter was from Lavin rescheduling the February 10, 2004 meeting to February 25, 2004,

whereby Lavin cites Plaintiff for insubordination for not showing up at that meeting, meanwhile Plaintiff was

absent that dey because sha was suffering fram the malevolent actions of Lavin and Leinwand.

196. There were threa (3) letters to Plaintiff fram Leinweand, All of these letters were unjustifiably
critical of Plaintiff. They discussed the issue of Plaintiff's time card in January 2004, whereby Leinwand hid
Plaintiff's time card in order to falsely mark Plaintiff late; the request of change in schedule and Leinwand's
visit to Plaintiff's classraam an February 3, 2004, whereby Leinwand intentionally and recklassly disturbed
Plaintiff's iesson in retaliation for Plaintiff's nine (9) page ing letter written to Leinwand on February 1,

2004, documenting all the il] traatmeant she encountered from Lavin and Leinwand.

197, All these letters constitute a severe hostile work environment as Leimwand created disturbing,
upsetting situations for Plaintiff, as she twists and distorts tha facts, and then serves Plaintiff these letters,

as if Leinwand bad nothing to do with these situations.

i198. In reality, Leinwand and Lavin schemed these situations as they recklessly and intentionally

wanted ta harm Ptaintiff’s health and career.

i198. As a result, Plaintiff suffered public humiliation and felt extrame stress, anxiety and ganic
ragarding these letters; as it was quite evident Plaintiff knew her career was being unjustifiably destroyed;
and without the help of the UFT, she knew she could not seek relief from Lavin’s and Leinwand's malevolent

actions.

200. On February 13, 2004, Plaintiff wrate a latter to Leinwand stating that sha neaded ta go home

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immediately, due to job related stress, resulting. from stressful incidents and letters issued te Plaintiff by

Leinwand, on February 12, 2004,

201. immediately after Leinwand received Plaintiff's letter, Leinwand served Plaintiff, in the main
office, with an additional four (4) disciplinary letters, threatening Plaintiff's employment with false allegations.
Again these letters were served in public as Leinwand appointed a teacher, as a witness, and the school
secretary, to sit by Plaintiff's side, while she received these letters. Leinwand ordered Plaintiff, in a loud

and condescending manner, to “Sign the letters now!"

202. Two (2) of these letters falsely accused Plaintiff of misconduct and threatened her with future

disciplinary action.

203. In another letter, Leinwand summoned Plaintiff to a meeting an February 24, 2004 to discuss
allegations of Plaintiff's cell phone use as Plaintiff was forced to use her cell phone dua to emergency set up
situations recklessly schemed by Leinwand and O'Gara. Leinwand advised Plaintiff te bring UFT
representation; although she very well knew she orchestrated her UFT ta abandon her. The fourth ietter,
signed by Lavin stated, "| hereby direct a medical examination for the above employee whose immediate
supervisor (meaning Leinwand) has requested this examination to determine (Plaintiff’s} mental and physical
capacity." This was the prelude to the meeting where Lavin and Leinwand maliciously conducted the

unlawful meeting, “Ara you sick? Are you well?”

204. Additinaly, the letter farther directed Plaintiff to attend a 2568 exam to determine if Plaintiff

was safe te teach children.

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205. Plaintiff was shocked by this letter as the 2568 exam is administered to those accused of
serious offenses, such as hitting children and{or sexual misconduct. This letter was intended to further

harass and torture Plaintiff, as Leinwand was very well aware that students and parents were extremely

fond of Plaintiff and that her fetlaw colleagues praised Plaintiff in the presence of Leinwand.

206. As a result, this caused Plaintiff further mental strass, trauma and oublic humiliation; and

physical disabilities, such as feelings of faintness, shakiness, tremors, physical exhaustion, blurry vision, and

hot and cold sweats,

207. The 2568 exam was deliberately and recklessly intanded to further psychologically harm Plaintiff,
as Leinwand and Lavin were aware of the numerous and negativa physical and mental effects their actions

were having on Plaintiff.

208, Moreover, Lavin did not have the authority to order a 2568 exam, as this was in violation of
Section 2568 State Education Law. Only the Superintendent of Schools has the authority to order a 2568

exam. The Superintendent is Cashin. Lavin is Local Instructional Superintendent,

208. Plaintiff immediately responded to all eight 8 latters received on February 12, and February 13,
2004. In her response, she listed the true facts that occurred. Lavin and Leinwand have a malicious pattern
to twist the facts, ar to distort the facts, ta make it seem as if Plaintiff did something wrong, as it was
their scheme to recklassly and maliciously destroy Plaintiff's career, health and finances. As a result, their
mission was accamplished as Plaintiff and her husband suffered frreparable harm due to the abandonment by

the UFT, and the individual Defendants of the UFT.

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210, After receiving these Jetters, Plaintiff sought the care of her psychologist, internist and on the

advice of her physician, a psychiatrist. Plaintiff's psychiatrist documented that Plaintiff was suffering from

post-traumatic stress.

211. Leinwand wrote a mere five (5) sentence baseless report regarding her reasons for requesting -
Plaintiff's 2568 exam. Wo dates, times, circumstances were resorted which was in contravention of

fumereus rules and procedures af Section 2568 Education Law.

212, Additionally, the unlawful report of reasons was never sent 1 to Superintendent Cashin as

required by Section 2569 Education Law. The above raasons reported shows Leinwand grasping for straws

as sha was trying to unlawfully destroy the Plaintiff's career.

713. Additionally, a teacher “must be provided with the letter sent by tha Superintendent to the
medical director outlining the reasons for the examination.” This statement was provided to Plaintiff by
Solomon, Director of Grievance Department. Superintendent Cashin never was invalvad regarding the 2568

exam or any part of Plaintiff's case.

214. Plaintiff wrote numerous letters to her WFT regarding the violation of the rules and procedures of
Section 2568 laws; however, she did not receiva a response, as the FT and the individual GFT Defendants

abandoned Plaintiff.

215, Additionally, the mere five {5) sentence report of reasons stated that Plaintiff "expresses extreme
fatigua due to job responsibilities and complains of har inability to work a full afternoon schedule.” This is

true ag Leinwand targeted Plaintiff ta have all first period preps and all early lunches: the most undesirable

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schedule which na other teacher had in school, as it would maka any teacher “fatigued” in the latter part of

the day, which was Leinwand's reckless mission ta fulfill.

216. She sueceadad in her goal with the aid of the UFT abandoning Plaintiff's justifiable plight to have

ker schedule fait and equiakle and shared equally amongst all teachers.

217. Furthermore, a Report of Reasons must show the act was willful and deliberate. (It was clearly

avident it was Leinwand’s act, preying upan Plaintiff, that was willfull and deliberate, not Plaintiff's.

218, The other two vague, false facts in Leinwand’s Report of Reasons, was that Plaintiff had
“unprovoked anger towards staff members; becomes easily agitated at times. Threatening behavior reflerts

emotional instability and volitality, poor interaction with colleagues {e.9. speaks menacingly},"

219. These are extreme and outrageous statements as Plaintiff had for approximately ten {10} years
cut af the classroom jobs; including her present one at P.S. 66. One of the essential requirements being an
out of the classroom teacher is the ability to accomodate and get along with her calleagues which Plaintiff
was always praised by her colleagues as they expressed, in Leinwand’s presence, how helpful she was with

them and their students.

220. The last false statement in her erroneous Report of Reasons stated, “Demonstrates inability to

consistently follow school policies {e.g. constant use of cell phone in school building).

Z21, This statement, as well, was outragecus and extrame, as Plaintiff has a perfect school file for
nineteen: (19) years which pertrays a hard working teacher, always following school policies. Tha use of a

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cell phone by Plaintiff was due to emergency alarming set up situations caused by Leinwand.

222. ft was quite clear, Leinwand was grasping for straws as she recklassly and intentionally sehemed
to destroy Plaintiff's career; which severely destroyed her health and finances as it continues incessantly for

two {2} years threa months (3} as the UFT abandoned Plaintiff,

223. Additionally, Leinwand has also improperly circutated Plaintiff's social security number where a
file number suffices; thereby violating Plaintiff's privacy and subjecting her to be a victim of identity theft.

This added to Plaintiff's suffering creating further stress and anxiety.

224, Plaintiff was shocked and traumatized by these letters. These letters were solely intended to
publicly humiliate and farass Plaintiff in front of other teachers, schac! personnel, narents and children
causing Plaintiff further mental stress and public humiliation; and physical disabilities, such as, feelings of
faintness, rapid heart beat, shakiness, tremors, physicat exhaustion, blurry vision, and het and cold sweats.
Plaintiff asked the UFT to grieve all of her disciplinary letters. some grievance forms were filled out, but the
grievances were never gursued by the UFT and the individual Defendants of the UFT, as they abandoned

Plaintiff, Plaintiff wrote numerous letters ta the UFT to grieve these letters, but they never responded.

275, Leinwand wrote letters to the staff and to the P.S. 66 Community regarding the issues Leinyand

was falsely accusing Piaintiff of. These letters written ta the staff and to the P.S. Community were really

intended for Plaintiff ta further stress Plaintiff.

226. There were approximately sever {7} witnesses who observed Plaintiff being harassed by
Leinwand. Many of the witnesses expressed their concern, and offered their sympathy, as Plaintiff looked

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extremely ill. Plaintiff was forced to leave schaol that day due to overwhelming stress and documented

Same.

227. From February 13, 2004 to present, Leinwand, Lavin and DOE personnel incessantly exploit

Plaintiff's social security number on all documents circulated throughout the DOE. Plaintiff wrote numerous
latters to Leinwand, Lavin and DOE personnel ta cease exploiting her social security number. file number
suffices. However it fell upon deaf ears. Plaintiff wrote numerous letters to the UFT. Plaintiff wanted ta

file a grievance. The UFT and the individual Defendants of the UFT abandoned her.

228. On February 13, 2004, Plaintiff ran to the medical clinic to seek relief form the severe anxiety

and stress she received that day at school.

229, Additionally, she saw her psychologist, Or. Victor J. Defazio {"Defazio") who forbid Plaintiff te

ratura back to schocl as she was suffering debilitating stress as a result of Lavin and Leinvand’s malevolent

actions.

230. On February 16, 2004, Plaintiff was informed that Leinwand placed eriminal charges against
Plaintiff's husband for criminal trespassing. The incident happened when Plaintiff's husband attempted to
speak with Leinwand regarding the ill treatment of Plaintiff. Plaintiff's husband never spoke to Leinwand nor
entered the school. Leinwand used this charge to harass Plaintiff's husband and cause further psychological
harm to Plaintiff. Upon information and belief, Leimwand also filed a false report against Plaintiff with the

Schoo} Safety Police although DOE and UFT refuse to show report to Plaintiff,

fal. Plaintiff wrote numerous letters to the UFT requesting assistance, however, the WFT did not

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raspond as the UFT abandoned Plaintiff.

232. On February 21, 2004, DeFazio, Plaintiff's psychologist, stated that Plaintiff would he tempararily

unable to attend school, due to psychological injurias resulting from employment induced stress,

233. On February 23, 2004, Plaintiff wrote a letter to Leinwand informing her that she will ba absent

Until the horrific situation and discrimination is under control.

234. Because Defendants hava failed to remedy the discriminatory and hostile werk environment
fostered by Leinwand and Lavin, Plaintiff has not returned to work; dua to severe psychological and physical
injuries suffered as a resuft of Leinwand and Lavin's intentional misconduct. Plaintiff wrote many letters to
her UFT and visited the UFT on February 23, 2004, for desperately needed assistance. In response to the
foregoing, Samuels, Special Representative, intentionally mislead Plaintiff with inaccurate advice which
resulted in aa increase in Plaintiff's stress level, as it was clearly evident that UFT was unlawfully protecting

Lavin and Leinwand.

245, Additionally, Samuels promised Plaintiff he will try his hardest to clean aut the false, malicious
letters from Plaintiff's impeccable scheol file, help her ebtain a medical sabbatical while her Line of duty
injury is being approved; aad in September 2004 transfer her to another school, clase to Flaintiff’s home,
having a good position at that school. However, it was just words as the UFT and all UFT Defendants
abandened Plaintiff. Plaintiff wrote many letters to the UFT individual Defendants including Samuels

regarding the above; however, the UFT Defandants never responded.

236. As a result of the inaecurate advice provided to Plaintiff by her UFT, she was unabla to file a

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request for a Line of Duty Injury application in a timely manner, In or about Mareh 2004, when Plaintiff did

file a Line of Duty application, said application was denied by Lavin and Leinwand in @ further effort to

harass her.

237. Additionally, Lavin and Leinwand do not have the authority te apprave er disapprove Plaintiff's
Line of Outy Injury which exceeded more than ten (10) days. Only the Superintendent can approve or

disapprove the Line of Duty tnijury,

238. As a result, Lavin and Leinwand committed fraud as they were not supposed to approve or deny
Plaintiff's Line of Duty Injury as well as they were the two (2) alleged, accusad parties; the two (2} cehorts,
who maliciously schemed te destroy Plaintiff's health, career and finances. It is outrageous that the

Superintendent and the entire DOE allowed Lavin and Leinwand to unlawfully control Plaintiff's entire case.

239, The UFT contributed to the fraud as they allowed the DCE, Lavin and Leinwand to continue the
fraud. As a result, tha UFT is acting as an accemplice, aiding and abetting the DOE and its employees,
denying Plaintiff's rights under many laws, rules and procedures: as the UFT and the BOE conspire te cause
itreparabie harm to Plaintiff. UFT and the individual Defendants of the UFT rafused to file grievances to

protect Plaintiff although she wrote numerous letters to the LUFT.

240. Superintendent of Schools, Cashin, should have assigned objective, neutral decision-makers to
approve or deny Plaintiff's Line of Buty application. In fact, Superintendent of Schools Cashin, is supposed

to be directly invelved in Plaintiff's Line of Duty lojury, not Lavin and Leinwand who were incapable of

making an unbiased decision.

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241, If Plaintiff would hava returned to school on February 23, 2004, as school was closed from
February 13, 2004 to February 23, 2004, due to Midwinter Recess, sha would have te contend with her
husband being arrested by Leinwand, appear at @ summoned meeting ordered by Leinwand on Tuesday,
February 25, 2004; followed by another summened meeting on Wednesday, February 26, 2004 ordered by
Lavin. [It was crystal clear that Lavin and Leinwand wanted to cause irreparable harm to Plaintiff as no
humar being living in the United States of America should he exposed to such mental and psychological

torture.

24?, Additionally, these summened meetings by Lavin and Leinwand were to be maliciously conducted
without Plaintiff being protected by the UFT as Leinwand and Lavin were awara and made sure that

Plaintitf’s UFT abandoned her.

243. Additionally, Lavin's letters did not adhere to the Chancellor's Regulations 4-420 and A-421, as a

Local instructional Superintendent "must giva 48 hours notice in all cases where she summons an

employee.”

244, For over two (2) years,the severe hostite work environment permeated into Plaintiff's residence
and incessantly continues ta date. As a resuft Plaintiff's home is not @ place of solitude as tha DOE, Lavin,

Leinwand, and UFT setiously violated her continuously, to date.

245, Further, on March 2, 2004, Plaintiff was unlawfully placed, via unsigned, stamped letter sent to
her home, from Lawrence Becker, Chief Administrator, Division of Human Resources, informing her of
disciplinary charges by DGE. Plaintiff was never informed of the disciplinary charges, as Lavin unlawtutly

Suspended Plaintiff, which resulted in Plaintiff being unlawfully charged with disciplinary charges,

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246. Additionally, Plaintiff was unlawfully placed on an Ineligible/Iuquity List, stigmatizing Plaintiff,

after being a dedicated, hard-working, successful teacher for nineteen {19} years,

247. Lavin committed fraud as she did not have the power to initiate the abeve. Her deliherate and

reckless abuse of power was intended to cause Plaintiff irreparable harm which she succeeded in dioing 30,

248. Plaintiff called nurercus times Lawrence Becker to try to rectify this unbearable mess, Becker
never returned Plaintiff's phone calls. Plaintiff wrote numerous letters ta the LUFT regarding this horiffic
mess and Fritz wrote Plaintiff a response back ignoring that Lavin did not have the authority to suspend

Ptaintiff.

249, Seroy, a Special Representative, on or about March 2004, sent Plaintiff an appeal form and upon
her advice appeated her placement on the Ineligible/Inquiry List even though no appeal ever took place.
Plaintiff wrote numerous letters to the UFT about the appeal, however they never responded. The UFT

abandoned Plaintiff.

250, On March 21, 2004, Lavin suspended Plaintiff, despite the fact that she did not possess the
autharity to do so. This was in violation of Sectian 3020-a Education Law. No written charges were
provided, at the time, regarding Plaintiff's suspension. Plaintiff wrote numerous letters to the UFT and the
individual Defendants of the UFT regarding the unlawful suspension. UFT and the individual Defendants of
the UFT did not respond as they abandoned Plaintiff. UFT is aiding and abetting the PGE, Lavin and
Leinwand to commit fraud, As a result, the UFT and individual Defendants of the FT are accomplices with
the DOE, Lavin and Leinwand; as they maliciously and recklessly intended to cause Plaintiff irreparable harm,

past and present, as this exacerbated Plaintiff’s alraady serious condition,

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25t, In March 2004, while Plaintiff is trying to recuperate from Lavin and Leinwand's malicious acts,

they send new disciplinary letters to Plaintiff's home, as the severe hostile work environment continues at

her home incessantly to date.

252. In February 2004, Leinwand falsely accuses Plaintiff of abandoning her class wher Plaintiff took
the children to the bathroom to escapa Leinwand’s intimidating presence by her classroom, This incident
happened, as previously mentioned, wher Sheehan publicly announced in the office while serving Plaintiff a
threatening letter, publicly humiliating her. Plaintiff never abandoned her class, and answered her alarming,
fabricated letter with all the true facts that occurred. As mentionad previously, Leinwand’s tactic is to omit

facts or to distort the facts to make it seem Plaintiff did something wrong.

243. As a result of above disciplinary latter, Leinwand states, "This misconduct may lead to additional

disciplinary action, including a Y-Rating and your terminatian."

254. Plaintiff wrote many letters to the UFT, and all individual Defendants of the UFT, regarding the

above matter. Plaintiff wanted to fite a grievance, UFT and individual Gefendants of the UFT did not

respond, as thay abandoned her.

255. Simultaneously, March 2004, Plaintiff receives at home another disciplinary letter from Lavin,
Lavin states in this discipiinary letter that Plaintiff was insubordinate when she left the January 18, 2004
meeting, “Are you sick? Are you well?" with no UFT representative present. Lavin states in her letter, "On
February 23, 2004, | received a letter from you stating you were under a deeter’s orders not ta return te
school, but you did not provide me with a statement regarding your insubordinate behavior.” This comment

by Lavin is extreme end sutrageous as if Plaintiff is disciplining herself and admitting she is insubordinate.

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256, Lavin further states, "I find that you were insubordinate in teaving in the middle of the meeting
on January 16, 2004, and in failing to attend the meating on February 25, 2004. Please be advised that his
may lead to further disciplinary charges including an unsatisfactory rating and charges which could lead ta

your termination. You are hereby reassigned to the Regional Operation Center pending review of the Medical

Bureau and Office of Legal Services,”

257. As stated previously, Lavin does not have the authority to suspend a teacher. Plaintiff reported
this letter ta tha UFT and all Defendants of the UFT. Plaintiff wanted to file a grievance. UFT and the

individual Defendants of tha UFT did not respond, as they abandoned her.

2508, On March 2, 2004, after Plaintiff being absant for one week, Leinwand placed Plaintiff on an
Unlawful unauthorized leave, An unauthorized leave means that a teacher is AWOL, showed no medical
documentation. This was not true, as Plaintiff and her psychologist submitted a letter -.

dated February 21, 2004, ta Leinwand, as well as a letter from Plaintiff explaining why she is absent.

However, Leinwand ignored Plaintiff's psychologist and Plaintiff's letter,

259, To date, for two {2} years and three {3} months, DOE and UFT keep Plaintiff on the unlawful
uiauthorized Jeave although Plaintiff and her psychologist submit all the appropriate medical documentation

required by the DOE te Leinwand and the medical bureau.

260. As a result, Leinwand usurped her powers by capriciously and arbitrarily informing the DOE that
Plarntiff was on an unauthorized jeave. Leinwand committed fraud as she intentionally deceived the true
facts regarding Plaintiff's absence. This unlawful unauthorized ieave which exists to date was never

eradicated. Plaintiff wrote numerous letters ta the UFT and the individual Defendants of the UFT as Plaintiff

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wanted to file a grievance. They did not respond, as they abandoned Plaintiff.

461, Although Plaintiff was forced on a Leave Without Pay, at the same time Leinwand’s unlawful
unauthorized leave was enforced and remained, Plaintiff could aot make use of her medical benefits when
she was faced with a huge medical debt which resulted in ruining Plafatiff’s impeccable credit rating. She
was constantly threatened to be taken to Collections, and one of her medical dekts was taken to Collections.
As a result, this caused further frustration and further exacerbated Plaintiff's already serious medical

condition caused by the reckless and delikerate malicious actions of Leinwand.

262. Additionally, the unlawful unauthorized leave caused Plaintiff's pension to he frozen. Plaintiff
cannot touch her pension money and possibly her TOA money, until the unlawful unauthorized leave fs
eradicated. However, to date the DOE and UFT wilfully and recklessly inflict this torturous, iegal,
unauthorized leave upon Plaintiff, causing Plaintiff much grief and irreparable harm as Plaintiff is constantly

suffering daily agony as she has been sobbed of her monies that rightfully belong to her.

263. This fs modern America, and it is completely inhumane as to the injustices as all Defandants ate
denying Plaintiff's praperty rights she fs rightfully and lawfully entitled to, as well, as eradicating ier unlawful,

unauthorized leave.

264, On March (2, 2004, Leinwand unlawfully suspended Plaintiff's Direct Deposit, as she wrote
Plaintiff a letter stating this fact. Pursuant to tha Direct Qeposit Agreement, the account holder, in this
case, the Plaintiff, is the only person whe has the right to suspend their Direct Deposit. Plaintiff wrote
letters to the UFT regarding the situation; however, she did not receive a response as tha UFT and the

individual UFT Defendants abandoned Ptaintiff. This furthar increased the level of Plaintiff's stress and

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anxiety which caused her irreparable harm, past and present, which is ongoing to this date.

265. Leinwand and the DOE committed hank fraud by suspending Plaintiff's Direet Deposit Agreement.
Plaintiff had an agreement with the DOE that she was the only person to suspend Plaintiff's Direct Deposit.
Additionally, Leiawand and the QOE suspended Plaintiff's Direct Deposit as they schemed not to allaw
Plaintiff to receive any more funds due her. Lefnwand knew Plaintiff had remaining sick days which are

worth money that are paid by the OOE through Plafntiff’s Direct Deposit.

266. Furthermore, Leinwand and the DOE schemed te defraud Plaintiff by net allowing any of her
funds te be olitained “under the custady or control of" a bank. Plaintiff was and is an employee of the DDE
and is rightfully entitled to compensation from the DOE which was always deposited in her Direct Beposit;
however Leinwand is trying her best for Plaintiff to receiva no compensation and that’s why she maliciously,

uolawtully suspended Plaintiff's Direct Dapasit.

257. Tha UFT and all individual Defendants aided and abetted Leiawand’s and DOE's hank fraud: as

they allowed it to happen; as they refused tofile grievances for Plaintiff,

268. On March 16, 2004, Leinwand unlawfully tampered with Plaintiff's salary by authorizing the New
York City Payroll Department to withdraw from Plaintiff‘s Direct Deposit account, her salary form March 1,
2004 to March 15, 2005. Plaintiff wrote letters to the UFT regarding the situation; however, she did not

receive a response a8 the WFT and the individual UFT Defendants abandoned Plaintiff,

269. Leinwand and the DOE NYE Payrell committed bank fraud pursuant to the Rico violation 18

U.S.C. §1944 as she and the DOE obtained unlawful custody and contra! over Plaintiff's salary by

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withdrawing Plaintiff's salary originally deposited hy the OOE in Plaintiff's personal checking accaunt. the
DOE took the directives of Lainwand, as Leinwand falsely claimed Piaintifé exhausted her sick days and was
not entitled to her salary. Plaintiff had approximately 22 sick days left, and as a result, the money was
unfawtully withdrawn from Plaintiff's account as directed by Leinwand which was rightfully and lawfully

Plaintiff's money, as that unlawful salary withdrawal covered for 10 days of her sick days, with a remaining

12 more days of sick ieave.

270). This is a serious eriminal offense as a guilty party can be fined up to $1,000,000.00 or

imprisoned for not mere than 30 years, or Hoth,

271. Additionally, Leinwand committed extortion and embezziement by removing Plaintiff's satary, as

she usurped her powers by misinfarming payroll that Plaintiff was not entitled to her salary.

272, Plaintiff reported this serious incident ta her UFT, however she received no response as the UFT
and the individual UFT Defendants abandoned Plaintiff. As a result, the UFT aided and abetted the bank

fraud committed by Leinwand and the DOE,

273. Leinwand committed fraud as she concealed from tha New York City Payroll Department that
Plaintiff had sick days ta cover for the salary put into her account. She also misinformed the New York
City Payroll that Plaintiff was on unauthorized leave when sha was not. Additionally, by Leinwand
misinforming the New York City Payroll that Plaintiff was net entitled ta her salary, when she was rightfully

entitled ta it, constitutes extortion and embezzlement.

274. Plaintiff wrote numerous latters to the UFT regarding the above. She informed the LUFT to file a

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grievance. UFT did not respond as the UFT and the individual UFT Defendants abandoned Plaintiff eausing

har irreparable harm.

275, In or about the end of March 2004, Leinwand and Lavin send an additional two (2) more
disciplinary letters to Plaintiff's home. Thesa two (2} letters are almost identical and complain about Plaintiff
talking to parents. This is modern America, Plaintiff has a right ta speak to parents. Lavin and Leinwand

sent these letters as wall to the Medical Bureau.

276. Piaintiff wrate numerous tetters to the UFT regarding the two {2} letters above, She informed

UFT to file a grievance. UFT did not respond as the UFT and the individual UFT Defendants abandoned her.

277. Thus, from February to March 2004, Lavin and Leinwand, the two cohnrts in crime, sent
additisnal, absurd, false disciplinary letters ta Plaintiff's residence and to the Metlical Bureau complaining

about Plaintiff speaking ta parents which is 2 commonplace practice.

278, They refused to acknowledge and mocked Plaintiff's doctors’ warnings about Plaintiff's mental
condition, which was due fo their malowlent actions as Levin and Leinwand intentionally and recklessly

further aggravated Plaintiff's severe madical condition.

279. It was quite evident that once Leinwand and Lavin made sure Plaintiff's UFT abandoned her, their
mission wasin full force as they malicisusly schemed to prey upon Plaintiff hy attacking her in every unlawful
conceivable manner they wished: without any repercussions, as they were confident that their connection

with the Chancellor would protect them {rem their wanton acts.

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280. By March 2004, Plaintiff had been served with approximately nine (9) letters at school and five
{5) letters at home, from either Leinwand er Lavin, threatening her employment. [n addition, from March
2004 to the present, because of Defendant's discriminatory action, Plaintiff has received numereus letters
and notifications fram the DOE, the Teacher's Retirement System, GHI, UFT Welfare Fund, hospital billing,

and @ collection agency; creating further problems and exacerbating Plaintiff's disability.

268i. In or about March 2004, Plaintiff submitted a medical sabbatfeal application to Leinwand for her
signature. Leinwand never signed the application, nar was it forwarded te the Medical Bureau, A Medica’
Sabbatical entitles a tenured teacher, such as Plaintiff who has been working for approximately nineteen
(18) years, to take a year off due to illness. Whila on a Medical Sabbatical, a Teacher is entitled to receive
Sixty percent (60%) of her salary plus @ differential and medical benefits. A teacher is on active status,
keeping her pension and benefits intact. Ta date, Plaintiff has never received a Medical Sabbatical. Plaintiff

for the mest part, has been without salary, or medical benefits, causing mental anguish and severe financial

hardship.

282. It was solely Leinwand's responsibility to sign all Medical Sabbatical applicatians and forward
same to the Medical Bureau. Plaintiff was forcad to submit her Medical Sabbatical application directly to

tha matical Bureau.

283. On May 11, 2004, Plaintiff went to the Medical Bureau, Plaintiff was reprimanded, hurniliated
and mocked by the attending Doctors who informed ier that she did not qualify for a Medical sabbatical

without providing an explanation as to why. Plaintiff's psychologist, DeFazio, whe accompanied Plaintiff at
the Medical Bureau was ignored by the Doctors. The Medica! Bureau refused to look at Plaintiff's medical

file, which was in DeFazio’s possession. The Medical Bureau, through Doctor Meyers, forced Plaintiff,

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without her consent, to be laced on a Leave Without Pay for two (2) years. Immediately following
Plaintiff's visit ta the Medical Bureau, DeFazio commented, "This is a charade, a scam, a set-up. | would

not believe what happened if | had not seen it with my own eyes,”

284, Despite Dr. Meyers’ camments, approximately one {1) month later, Plaintiff's forced Medical
Leave without Pay was reduced to four (4) manths, which was reduced again, to approximately one month.
Plaintiff’s status was constantly rearranged, fike musical chairs, as the DOE, UFT, Lavin and Lainwand

consistently conspired to make sure Plaintiff suffers from all their reckless and deliberate maneuvers.

285, In addition, on May 11, 2004, Leinwand faxed a fabricated medical evaluation of Plaintiff to the
Medical Bureau. Leinwand unlawfully investigated Plaintiff. Leinwand manufactured, twisted and distorted

allegations about Plaintiff's past and present employment at P.S. G6, and prior schools.

286. Plaintiff is required te see all reports concerning fer, prior to her appointment to the Medical
Bureau. However Leinwand fraudulently concealed this report from Plaintiff, as well as the Medical Bureau.

The Medical Bureau used Leinwand’s unlawful report and lied about tha date they received this report.
287. This unlawful repert was a direct vielation of Section 2568 Education Law.

288. lt should be noted, that at the time Plaintiff attended this unlawful 2568 exam, she did not
know it was unlawful. Once Plaintiff found out all the serious violatisns inflicted upon her by the 2568
exam, she would net participate in any more fraudulent 2568 medical exams. Plaintiff found out about

Leinwand’s unlawful report ag; it was an exhibit in the Article 78 proceeding in July 2004.

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289, Lemwand is not a dactor, a judge, nor an investigator, as she claims to be all three (3) roles in
her unlawful report, titled, "Medical Evaluation, Susan Fropeana” from Phyllis Leinwand, If Leinwand wants
to know about Plaintiff's past and present service history at school, Plaintiff's school fifa suffices which is

impeccable. Instead, Leinwand unlawfully usurped her authority by omitting facts and distorting facts, to

serve her self-serving needs.

290. Leinwand should be admonished and sanctioned for these illegal atts as she committed fraud and

invaded Plaintiff's privacy.

291. Tha DOE and the UFT should be admonished and sanctianed, as well, for allowing this to take
place as they allowed Leinwand ta defame Plaintiff. Plaintiff wrote numerous letters te the UFT regarding

this serious matter. She wanted to file a grievance. UFF and all the individual Defendants of the UFT, did

not respead as UFT abandoned Plaintiff.

292. In or about June 2004, Plaintiff was sent another alarming letter ordered unlawfully by Lavin, as

a result of Leinwand’s atrocious unlawful medical evaluation of Plaintiff, to report to an exam that may take

up to FIVE {5} HOURS.

293. At this point, Plaintiff was well aware of all the serious violations of the unlawful 2568 exam
and did not attend. This chilling, FIVE (5) HOUR exam was ordered unlawfully by Lavin, violating numerous

rules and procedures of Section 2568 Education Law and was repeated two more times, in September 2005

and January 2008.

284. The DOE and the UFT ave incessantly subjecting Pleintiff to such chilling, untawful, cutrageous

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FIVE (5) HOUR exam; as they are trying to make Plaintiff quit her teaching profassion, or be unlawfully

terminated based on fraud.

295. All individual Defendants and entities stripped and robbed Plaintiff of all compensation, health anc
walfare benefits, her pansion and TDA, while further torturing her with a chilling FIVE (5) HOUR exam.
Plaintiff wrote numerous letters to the UFT. She wanted to file a grievance. The UFT and all individual

Defendants of the UFT, did net respond as UFT abandoned her,

298. From February 2004 to on or about Juna 2005, OP 198 documents were tampered with. OP
1988's are medical documents required by the BOE to be submitted every three {3) months ta ba completed

oy Plaintiff and her psychologist. Plaintiff files these forms religiously with her psychologist.

207. From February to June 2005 these documents were returmed to Plaintiff, once Leinwand and
Madical Bureau put in their information as wall. When returned to Plaintiff from tha Medical Bureau,
significant information was whited out on the identicat documents, and significant information was written on

the identical documents and further changed on other identical documents, which constitutes fraud as well.

298. Plaintiff wrote numerous letters to the JFT, and the individual Defendants of the UFT, regarding
the seriousness of medical documents being tampered with. Plaintiff wanted ta tile a grievance. UFT and

ali the individual Defendants of tha UFT, did not respond as UFT abandoned Plaintiff.

299, On or about June 2004, Plaintiff initiated an Article 78 proceeding at Queens Supreme Court ta

seek emergency reliaf as she was stripped of salary sinca March 2004; and shortly thereafter, all benefits

including medical and welfare benefits, pension and TDA.

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300. Plaintiff used Thomas Liotti’s Law Firm for the Article 78 proceeding. At the law firm, Plaintiff
was assigned a povica young attorney who destroyed Plaintiff's petition and exhibits by submitting a disarray
of exhibits in an unclear, disorganized petition. Plaintiffs were furious at Thomas Liotti. Shortly after, the

novice young attorney was firad.

301. Thomas Lictti than assigned Plaintiff te correct the novice young attorney's overwhelming mess
of petition and exhibits and to write the reply affidavit to the City's verified answer, Plaintiff was

overwhelmed becoming an attorney overnight.

302. Finally, Thomas Liotti assigned Alan Ansall ta continue the Article 78 decumenis. Alan Ansell did
not write the reply affidavit correctly, never served Plaintiff's sur reply, and fraudulantly concealed from

Plaintiff Articla #8 documents submitted by the City, which was so easy io discredit,

303. After Plaintiff relassad Thomas Liotti’s Law Firm, Plaintiff was informed that Alan Ansell was
and still is, a disbarred attorney. Ptaintiff verified the fact by obtaining the order from Supreme Court State

af New York, Appellate Division, Second Judicial Department.

304. In July 2004, the City attornay whe wrote the verified answer to the Articla 78, cleared Plaintiff
of disciplinary charges as she “affirmatively” sates, "That petitioner has not been a subject of "discipline" or
had a penalty “imposed.” Additionally, Patria Frias Coton, another City attornay swears, "That she has read

the forgoing verified answer and that she believes it to be true...”

305. Additionally, on May 6, 2004, Plaintiff was faxed, to her home, a preference sheet from her

school, P.S. 86, as to what she would like to teach for the coming school year of September 2004 to dune

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306. Plaintiff wrete numerous tatters to the UFT and the individual Defendants of the UFT, regarding
the abave. The statements made above should have eradicated all the false, disciplinary letters whieh
unjustifiably tainted Plamntiff’s impeecabte school file, However, tha UFT and all the individual Defendants of

the UFT, did not respond as UFT abandoned Plaintiff.

307. Additionally, the Gity tampered with the title of the Section 2568 Education Law in order to

fraudulently mislead and defraud the court in the Article 78 proceeding.

308. Furthermore ,the Article #8 documents submitted by the City, some of which were never

disclosed to Plaintiff by her unethical attorneys, consisted of blatant untruths.

309. If Plaintiff had an ethical attorney, it would have been easily discredited, as Plaintifi had
humerous documents to suppart the City's falsehoods. The City unlawfully won the Article 78 based on

blatant lies, violations of State Education faws and the Collective Bargaining Agreement.

310. In October 7004, Plaintiff desperately pleaded by letters to the UFT and all individual Defendants
of the UFT, and messages teft on their voicemails, that she was desparately in need of compensation and
benefits as she is rightfully and lawfully entitled to. The UFT and all UFT Defendants, never responded as

the UFF abandoned Plaintiff,

311, in or about October 2004, Plaintiff spoke to Mrs, Ferguson ("Ferguson"}, a DOE employee at the

DOE Grievance Department. She explained to Ferguson that she needed her medical sabbatical followed by

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her Line of Duty Injury. Ferguson informed Plaintiff to call her UFT and have them file a grievance. Plaintiff

informed Ferguson the UFT abandoned Plaintiff. She found that ard to believe.

312. In essence, all that Ferguson could offer Plaintiff,” _ without the assistance of the UFT, was
to give Plaintiff compensation for her sick days (which Leinwand previously committed extortion and bank

fraud regarding Plaintiff's sick days) berraw 20 days and a grace period.

313. Plaintiff did not want to borrow 20 days from the DOE as that’s a debt, and must be paid back
to the DOE. However, Plaintiff was, and is, in a desperate situation; as she is stripped of all medical

benetits and compensation. Thus, she was forced to take an unlawful debt with the DOE,

314, Additionally, ta add insult to injury, when a teacher uses her sick days, borrows 20 days and a
grace period, she fs on active status and receives welfare and medical benefits, However, Plaintiff could not
make use of her welfare and medica! benefits because Leinwand’s unauthorized leave was simultaneously
enforced. Plaintiff wrote numerous letters to the UFT and the individual Defencants of tha UFT regarding

this surreal situation. UFT did not respond as thay abandoned Plaintiff,

315, Furthermore, as it stands now, Plaintiff is stripped of all compensation and all benefits for two

{2} years, three (3) months.

316. Plaintiff is definitely entitled to a medical sabbatical followed by @ line of duty injury taave. A
medical sabbatical and a lina of duty injury ave leaves that give teachers compensation and benefits.

Plaintiff is rightfully and lawfully entitled to these leaves.

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317, Instead she was forced ta take an unlawful debt from the DOE, as Plaintiffs, are suffering from

qreat financial hardship.

318. It is the deliberate and reckless goal of tha DCE, UFT, NYSUT and all tha individual Defendants
of the DOE, UFT and NYSUT to heap upon Plaintiff huge and unlawful debts, and if Plaintiff participated in
the unlawful, chilling 3020-a procedure; it was quite evident, if Plaintiff was not unlayfully terminated, the

BOE would heap upon her unlawful high fines creating unlawfut debts.

319. As @ result, the OOE commitiad extortion, a Rico violation, with tha conspiracy of the UFT and
NYSUT and all individual Defendants of the UFT and NYSUT, who abandoned Plaintiff; as they unlawfully
chose to aid and abet tha DOE, and all the individual Defendants of the DOE with the common geal to make

Plaintiffs suffer unlayful severe financial hardship.

320. Thus, all the Defendants committed extortion as they are robbing Plaintiff of compensation and all

henefits that are rightfully and lawfully hers.

a21. To add insult to injury, al] Defendants schemed to place Plaintiff on unlawful dehts which are

owed to the DOE as they want Plaintiff ta pay heavy unlawful fines.

322, The Defendants should be admonished and sanctioned for performing their wanton acts, as this is
the United States of America. The Defendants act like scavengers and prey upon Plaintiff denying her all

her constitutional and civil rights.

323. Additionally, Defendants’ wanton acts constitute Rice violations as they conspire to extert monies

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and benefits from Plaintiff that are rightfully and lawtufly hers, but instead "held captive" as it is unlawfully

possessed hy the DOE.

324. it essence, all the unlawful acts schemed by the Defendants by placing Plaintiff in heavy and
unlawful debt, in an unlawful 3020-a proceeding, it was quite obvious Plaintiff would receive additiona! and

unlawiul debts or unlawful termination losing all her property rights if she attended tha unlawful 3020-4.

325. It is very clear Plaintiff is being severely victimized fer all the unlawful acts placed upon her by

all the Defendants.

326, Additionally, all Defendants conspired in reckless and deliberate disregard for Plaintiff preventing
her te receive a medical sabbatical followed by a line of duty injury leave, which include health and welfare

henafits, pension and TOA,

327, The only improper benefit the DOE and UFT and the individual Defendants of the UFT, offer
Platatiff is a leave without pay which would dastroy Plaintiff as explained in detail in this Complaint,
followed by Disability Retirement which pays @ trickla amount of money; approximately $15,000.00 yearly

whereby Plaintiff was making over $70,000 yaariy,

328, Disabitty Retirement is not the proper benefit for Plaintiff as she is not disabled due to a

“natural” cecurrence, as Leinwand and Lavin schemed to make her disabled as a result of their wanton acts.

324, It should be noted if Plaintiff consented to Disability Retirement, all Defendants would never be

discovered for their unlawful acts heaped upon Plaintiff.

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330, Additionally, Plaintiff could naver take this benefit, as the DDE has full control over this benefit,
and can take it away from her at any time; and they certainly would, as evidenced by their numerous

wanton acts performed upon Plaintiff.

331. Additionally, Plaintiff could be cited for fraud as she would have to sign a damaging waiver that

she agrees ta raturn to work.

332. According to the GOE, the FT infermed Plaintiff that the DOE Medical Bureau does not have to
agree with the Federal government's determination regarding Social Security disability, The UFT is trying to

defraud Piaintiff; as they would take delight having Plaintiff cited for fraud: as the DOE and ET recklessly

and deliberately scheme for Plaintiff's consent to taka a leave without pay by “enticing” Plaintiff with

reinstatement of her medical benefits.

393. This tao is a falsehood, as @ leave without pay can be extended for only two {2} years, It's
over twa (2) years, that Plaintiff is left without benefits or compensation. Therefore, Plaintiff would net
aven have her benefits as it is a common procedure of the DOE and the UFT to provide Piaintiff with

benefits after the fact.

394. Furthermore, as explained throughout this Complaint, the proper lawful benefits for Plaintiff is a

medical sabbatical followed by a line of duty injury whereby Plaintiff would rightfully and lawfully have relief.

335. Furthermore, if Plaintiff consented to a leave without pay, Plaintiff could be cited for fraud, as
1S not rhe proper ieane Pa Praint ile

the DIE and UFT are very well awara a leave without pay for Plaintiff, as sha would have to sign a

damaging waiver to a leave without pay that would destroy Plaintiff's ptight for justica. There are many

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damaging facts to this waiver which would destroy Plaintiff. They are as follows:
a. A teacher cannot make a lawsuit against the OOE or the City af New York.

b. A teacher cannot collact compensation for that pariod of time she agrees te be on a leave

without pay.

c. 4 teacher must return back to work at the termination of the ieavas or otherwise a teacher

could be terminated.

336. Additionally, Solomon informed Plaintiff an April 2005 and alsa Procida informed Plaintiff in May
2006, that the QOE doesn't not necessarily hava ta agrae with the Federal government's determination
regarding Plaintiff's Social Security disability; as the DOE Medical Bureau may disagree with the Federal

government's decision and inform Plaintiff she must go back to work.

337, Their statements made to Plaintiff are extrema and outrageous as the DOE and UFT desperately
try, incessantly, to date, for Plaintiff ta take a leave without pay by “enticing” her with rainstatament of

medical benefits.

338. Furthermore, DOE and UFT may not care about the Federal geverament's social security disability;
however, Plaintiff does, as the DOE and UFT are trying to defraud Plaintiff to take a leave without pay as
she would commit fraud with the Federal government and that's exactly what these two corrupted entities
schemed for her. Recently, on May 3, 2006, Procida informed Plaintiff that the resolution to the special
complaint is ance again a leave without pay.

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339. It’s been two years three manths that Plaintiff is without compensation er benefits. [t is obvious
that the Special Complaint was a hoax as well; as Solomon finally admitted last May 2005 that Plaintiff has
been harassed; however, the UFT and BOE still punish Plaintiff and brazenly refuse to relinquish any proper,
legitimate relief which she is rightfully and lavfully entitled to according to the Collective Bargaining
Agreement. The proper leaves are a medical sabbatical followed by a line of duty injury: as both leaves

offer a teacher compensation and benefits.

340. Furthermore, a leave without pay can only ba extended for two years. Plaintiff was farced out
of her job by Leinwand and Lavin aver two years ago. Therefore, Plaintiff wauld not even have her benefits,

as it is a common procedure of the OOE and the UFT to provide Plaintiff with benefits after the fact.

341. According to the UFT, Rath threatened Plaintiff that if she does not accept Disability Retirement,
the DOE may refuse te give Plaintiff anything eise. Thus, it is very avident, all Defendants scheme to

threaten and torture Plaintiff of all her property rights she is rightfully and lawfully entitled to.

447. As a resutt, all Defendants committed extortion and Roth's threat; as stated above, was intendad

to result in the Plaintiff's consent to depart with her valuadle property rights.

343. Additionally, GOE and all individual Defendants of DDE, committed embazzlament as they
fraudulently misappropriated Plaintiff's compensation, all health benefits, pension, TDA that is rightfully and

lawtully hers, as the UFT and the GOE has Plaintiff's property rights in their possession.

344. To date, Plaintiff's pension account is in total disarray as contributions ware taken out of
Plaintiff's accauat as tha DOE is playing musical chairs with her status by placing Plaintiff's pension account

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into a dummy account; as a result of the unlawful, unauthorized leave.

346. In February 2006, DOE did not reimburse Plaintiff the correct amount of retroactive income

received as a result of the new contract.

S46. WFT and all individual Defendants of the UFT, aided and ahetted the DOE and all individual
Oefendants as the UFT as they refused to do any grievances for Plaintiff to rectify the horrific, wanton acts
of denying Plaintiff fer property rights, as they abandoned Plaintifi for two (2) years, three {d) monihs,

which is angaing ta date.

347. According to the DOE, Plaintiff has simultanaousty been and/or is on five (5) different types of
leaves and the duration of the time periods, of some of these leaves, are changed as well. Three (3} ara

approved by tha DOE, one (1) is approved by Leinwand, and a fifth leave is uncategorized jeave.

348. Presently, to date, everyone at the ODE is confused as to Plaintiff's status, as Leinwand
mishandled Plaintiff's files. Plaintiff's pension is grossly affected as pension money is placed in Plaintiff's
pension account, and then taken out; as TRS does not have the correct status of Plaintiff; due to the DDE

and Leinwand changing her status and the duration of time more than once.

349. As a result, Plaintiff's pension account, and her other financial investments in the DOE are in

constant turmoil.

350. Plaintiff wrote numerous letters ta the UFT and the individual Defendants regarding her status
and pension aceount. In October 2004, Roth wrote hack to Plaintiff she is on an unauthorized leave and a

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leave without pay. Needless to say, Plaintiff was exasperated by his remark and further wrote numerous
letters to the FT to eradicate the unauthorized leave by filing a grievance. UFT, and tha individual

Defendants of the UFT, did not respond as the UFT abandoned Plaintiff,

357. In addition, due to Leinwand’s actions, and the DOE’s attempt to protect Leinwand from her
unlawful wrongdoings, Plaintiff's medical coverage has been canceled and briefly reinstated approximately

thrae (3) times sinca March of 2004, without notifying Plaintiff.

352. As a result, Plaintiff could not make use of the medical benefits as they wera only briefly
reinstated retroactively. Thus, Plaintiff could not see her doctors to tend to her health, and to her new
serious health ailments, as a result of the debititating stress she was encountering from all defendants,

aspecially Lavin, Leinwand and the UFT. Plaintiff's husband, who was also covered under her plan, could not

see doctors a3 well.

353. The intentional and reckless conduct by Lavin and Leinwand and the entities, wha willfully

dasired to cause Plaintiff and her husband irreparable harm, succeeded in daing so,

36d. Plaintiff wrote letters ta Leinwand, Lavin, Donna Reynolds; School Secretary, Ferguson at DOE
Grievance Department, UFT and many individual Defendants of the UFT, and Jacobson, DOE Medical Director,
to eradicate Letnwand’s unauthorized leave, as the DOE Medical Bureau simultaneously forced Plaintiff,

without her consant, on a medical leave without pay.

355. A medical leave without pay entitles a teacher ta medical benefits. However, the DOE and the
Medical Bureau, unlawfully refused to lawfully reinstate her medical banefits jeaving Plaintiff with a huge

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medical debt amounting ta approximately $15,000.

356. Medical Director, of the DOE, Jacobson, recklessly and intentionally ignored Ptaintitf’s lawful
rights te use her medical benefits as she ignored Plaintiff's latters and faxes sent to her regarding this
serigus matter. Jacobson and all the Defendants schemed, in unison, te severely violate Plaintiff in every

conceivabla way they could,

35, As a result, this caused Plaintiff an her husband irreparable harm. Additionally, Plaintiff was

sent to a collection agency destroying her impescable credit of 10+.

353. As a rasult, of the abovementioned incidents, Plaintiff was awarded Long-Term Social Security
Disability, commencing as of February 13, 2004, the data of the incident when Plaintiff's Line of Duty Injury
eccurred, Plaintiff was placed on Lang-Term Social Security Disability, ihe most serious classification, as a

result of the severity of the hostile work environment and the abandonment of the UFT.

359. This is a prima facie case as the Federal Government awards Plaintiff Long Term Social Security
Disability, however the NOE dogs not grant compensation and benefits to the Plaintiff.

299, Furthermere, Selamon on or about April 2005, intormed Plaintiff, via telephone; as well as
Procida; as just recently on May 3, 2006, alsa informed Plaintiff, via telephone, that although Plaintiff is on
Long Term Social Security Disability granted by the Federal Government, the DOE Medical Bureau does not

necessarily have to chey the Federal Government; as tha Medical Bureau may disagree with their decision.

360, It is important to note the DOE Medieal Bureau is responsible for tampering with Plaintiff’s
official medical documents: as well as adding different information on identical medical decuments and

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contradictory information on identical medical documents,

361. From February 2005 ta March 2605, Plaintiff was informed by Geoper stating, “Susan, | haven't

forgotten about you, the grievance department is diligentiy working on all your grievances putting all the
numbers on it, (‘Hl call you as soon as they are done." fifteen {15} months later, Plaiatiff naver received all

her grievances from the Grievance Department, as Cooper claimed would be done. Thus Cooper defrauded

Plaintiff.

382. In February 2005, Plaintiff finds out from the unlawful UFT who had communication with her
new law firm, Leeds, Morelli and Brown that Leinwand on or about February-March 2004 placed two (2)
unlawful bars not only on Plaintiff's two (2) day line of duty in inury when she slipped cn the snow in |,
tout ee fee Ving. of dary Inger hak reengte a a Fel, einouy | 4 ould .

February 2004, A bar placed on Plaintiff‘s tine of duty injuries means that she cannat pursue her line of

duty injuries as they were unlawfully blacked by Leinwand.

JG. Furthermore, Solomon, on or about April 2005, informed Plaintiff, via telephone; as well as
Procida as just recently on May 3, 2006, informed Plaintiff via telephone that although Plaintiff is on long
farm social security disability granted by the Federal government; the DOE Medica! Bureau does not
necessarily have to obey the Federal government's determination, as the DOE Medical Bureau ean disagree .

with their decision.

364, It is important to note, the DOE Madical Bureau is responsible for tampering with Plaintiff's
afficial medical documents ag well as adding differant information on identical medical documents and

contradictory information on identical medical documents.

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364, This was in blatant violation of the contract, as only the Superintendent, who is Cashin, can bar

a teacher's line of duty injury.

366. A grievance was finally initiated by the UFT after twelve {12} months of abandonment. However,
the grievance procedure was a hoax; in blatant violation of the contract as well. Almost avery rule, protocol,
and jaw of the grievance procedure was seriously violated, and the subject matter of barring the Line of
Duty Injury was never discussed. The DOE and UFT were mocking the contract, and as a result, the

Plaintiff, as they unlawfully protect the wrongdoings of Lavin and Leinwaad.

a6, As a consequence of all this unlawfulness, it was the willful and reckless intention of the DOE
and UFT and all individual Defendants of the DOE and UFT, to inflict irreparable harm upon the Plaintiff,

Thay succeeded.

358. Additionally, tha UFT and DOE committed fraud and defrauded Plaintiff by not abiding by the

rules, protocols and laws of tha contract.

369. On February 2005, Plaintiff was offered by the DOE and UFT 2 leave without pay. In reckless
disregard of the truth, Plaintiff's law firm, Leeds, Morefli and Brown were unlawfully protecting the DOE,
UFT, Lavin and Leinwand by pressuring Plaintiff to take a retroactive igave without pay, with approximately
four {4) months remaining? whereby Plaintiff coufd make use of her long-awaited medical banefits.

Retroactive leaves are a common tactic employed by the OOE throughout Piaintiff’s case as Plaintiff receives

medical benefits after tha fact.

370. Kore importantly, in order to apply far a leave without pay, a teacher is required to sign a

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waiver. This waiver is very damaging for Platntiff to sign as her law firm, DOE and UFT wanted to harm

Piaintiff, as the waiver violated Plaintiff's procedural cue process rights; as it prevented Plaintiff from

initiating a lawsuit against the Board of Education and the City of New York.

ofl. Acditionally, it prevented Plaintiff from collecting any compensation from said period of time, and

Plaintiff will be terminated if she does not ratura te schoo! after the leave is over,

372. Furthermore, if Plaintiff was io take a leave without pay it would protect the wanten acts of
Lavin and Lefnwand, as if Plaintiff became disabled as a result of "natural" causes: not as a result of Lavin's

and Leinwand’s wanton acts.

373. The DOE, UFT and the Law Firm Leads, Morelli and Brown were blatantly not acting on
Plaintiff's behalf; as they knew Plaintiff filed @ lawsuit and was granted Long Term Sacial Security Gisability,

and as a result she cannot ratumn to work.

374, lt was the goal of the DOE, UFT and the Law Firm Leeds, Marelli and Srown ta mislead and
defraud Plaintiff as they intentionally and recklessly conspired for Plaintiff to be cited for fraud. Plaintiff
and her doctors informed Social Security that she cannot work due to the overwhelming severe hostila work

environment, inflicted upon her by Leinwand and Lavin, compounded with the abandoament of the UFT.

375. Additionally, it would give the DOE the legal oppertunity ta terminate Plaintiff. Plaintiff could not

claim any compensation from the DOE by taking 2 leave without pay.

376. The UFT and the DOE have a contractual obligation to protect Plaintiff. Their wanton

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misrepresentation with the aid of Leeds, Morelli and Brown was quite evident.

off, Thus, retaining the Lav Firm Leeds, Morelli and Brown was a nightmare experience for Plaintiffs

as they were aiding the City and DOE in avery aspect of Plaintiff's case.

378. After releasing Leeds, Morelli and Brown, Plaintitf and her husband learned there are countless
RicofMalpractice lawsuits filed against the firm as they conspired with their client's defendants by making
iltegal, frightening manetary deals; and as a result their clients were grossly damaged. Their cases are

almost identical to Plaintiff's case.

379. Plaintiff spent approximately $60,000.00 in legal fees, and unfortunataly received no help from
her unethical attorneys as she is involved in a corrupted chain of attorneys who never allow her lawsuit te

go forward. As a result, Plaintiffs are forced te take this multi-facet. lawsuit to Federal Court and proceed

on their own, pro se.

380. lt should be noted Plaintiff was promised by her previous attorneys that an order to show cause
for relief and an appeal to the Article 78 must be initiated immediately. However, those were empty

promises, as they never acted on Plaintiff's behalf.

381. Plaintiffs tried te seek help from politicians, Perh Court, Attorney General and sa forth.

However, none of these avenues helped Plaintiff.

og2, Perb Court judge informed Plaintiff and her husband "Why do grievances? Grievances take years.
Buy yeursalf sama medical insurance, There's no weed to take a medical sabbatical, There are no violations.

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Pursue the tine of duty injury,” atc., etc.

383. lt should be noted that a Line of Duty Injury cannot be pursued before disciplinary letters are
grieved from Plaintiff's fite as well as grieving the unauthorized leave. To date, UFT and individual
Defendants of UFT, refused to grieve Plaintiff's disciplinary letters as well as the unauthorized leave. Thesa

disciplinary letters were asked to be grieved by the Plaintiff over two (2) years ago, when these letters were

raceived by Plaintiff, in February - March 2004.

384. Additionally, the City Atterney parjured himself at Perb Court. Plaintiff and her husband reported

this ta tha judge at Perb. The judge responded, “Don't worry about it."

385. On or about November 2004, the Medical Bureau wrote Plaintiff a letter to be re-evaluated for a
medical sabbatical. At the time, they wanted additional medical documentation which Plaintiff was reluctant

to give, because it was very confidential.

386. Furthermore, Plaintiff's psychologist never received Plaintiff's medical file from the medical

bureau, although it was requested two times, a violation of Section 2568 Education Law.

387. Most importantly, there was an Article 78 proceeding which Plaintiff was sura would be won, as

plaintiff was waiting to get relief from the judge.

388. Plaintiff finally was informed in January 2005, that the Article 78 relief was denied due te her

unethical attorneys as explained praviously.

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389. Plaintiff's psychologist finally received the Medical Bureau's file in January 2005. After
Plaintiff's psychologist reviewed the medical file, Plaintiff notified the Medical Bureau she will submit the

additional medical evidence required as she was in dire need for compensation and benefits, as a medical

sabbatical provided this.

3480. On March 21, 2005, Marino, Personnel Liaison Region 4/5, writes Plaintiff a latter stating, "As
you are ayware, your raquest for a medical leave was denied. | hereby inform you that you continue to be on

an unauthorized leave of absence."

391. Plaintiff was unjustifiably punished because she re-scheduled her appointment for the medical
sabbatical for good cause when she learned her Article 78 was denied and the Medical Bureau did not
adhere to Section 2568 Education Law as they gave DeFazio Plaintiff's medical records approximately eight
(8) months later. However, Marino capriciously and arbitrarily responded to ler, "... you continue to be on

an unauthorized leave.”

392. Additionally, Marino placed Plaintiff on a continued unauthorized leave in retaliation for not

accepting the leave without pay offered to Plaintiff in February 2005.

393. Plaintiff wrote numerous letters to the UFT. She wanted to file a grievance. UFT, and all
individual Defendants of the UFT, did not respond as they abandoned Plaintiff. The reckless and intentional

conduct of the UFT and all individual Defendants of the UFT, caused Plaintiff irreparable harm.

394, On March 23, 2005, in further retaliation of Plaintiff net accepting the leave without pay, DOE is
seeking to terminate Plaintif? under Section 3020-a Education Lew. Numerous laws, rules and procedures

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were severely violated under Section 3020-a Education Law.
395. As a result, Plaintiff did not attend.

396. Furthermore, there were mada-up charges with facts left out or facts distorted: initiated by
Leinwand which Leinwand never documented. Additionally, some of the talse charges were capriciously and

arbitrarily threwn in, out of nowhere, as they were never documented by Leinwand.

397. Plaintiff documented all the serious, chilling violations to the UFT, New York State United
Teachers, hearing officer, Scheinman, and the DOE, and all the individual Defendants of the DOE, UFT and
NYSUT. Nona of these parties responded, except Cooper, who informed Plaintiff, via teleshone, "Relax
Susan, | know there are many violations regarding the 3020-a procedure. Don't worry, everything will work
out, Go out and enjoy the beautiful day." That was the last time Plaintiff heard from Coeper involving the

unlawtul 3020-a proceeding.

398. Additionally, the UFT and all individual Defendants of the UFT refused to initiate grievances to

remove the false disciplinary letters from Plaintiff's files.

399. Tie UFT also refused to grieve Plaintiff’s false, unauthorized fpave.

400, Grievances must be initiated before a 3020-a proceeding is initiated.

401. UFT, NYSUT, DOE and all the individual Defendants of the UFT, DOE and NYSUT conspired not

io represent Plaintiff according to the Collective Bargaining Agreement and State Education Laws, state laws

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and federal laws as they were protecting the fraudulent, unlawful actions of Leinwand and Lavin.

402, Thus, the UFT, NYSUT, DOE and all individual Defendants, unlawfully want Plaintiff terminated,
0 they are not exposed for their fraudulent, unlawful acts, as they reeklessly and intentionally

misrepresented Plaintiff.
403. As a result, UFT and ODE committed traud and detrauded Plaintiff.

40a. Additionally, all the charges in the 3020-a were false and trivial. One charga was repeated by
Leinwand two times before. It was first rescinded oy her, then used again at the Medical Bureau, although
District informed Leinwand it’s not a charge; and used again for the 3020-a, Another charge was that
Plaintiff has excessive absences, although the DOE, Bey and Leinwand very welf knew that all the proper

medical documentation was submitted by Plaintiff and her psychologist raligiously.

406, Furthermore, Dos, Leinwand and Bay were very well aware that Fiaintiff was awarded Long-Term

Social Security Disability by the Federal Gaverament on February 13, 2004; the day Plaintiff suffered her

Line of Duty Injury.

406. lt should he noted it was of utmost importance for Plaintiff to be unlawfully terminated as DOE,

NYSUT and UFT sertausly wronged her and they did net want ta be exposed for all the serious violations

they heaped upon Plaintiff.

A}. Additionally, Plaintiff was unlawfully placed on the Ineligible/Inquiry List, with dissiptinary charges,

when Lavin unlawfully suspended Plaintiff in March 2004.

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408. In July 2005, Plaintiff was cleared of all disciplinary charges when the City attorney

“affirmatively” stated, "The petitioner has not been a subject of "discipline" or had a penalty “impased."

409. In May 2004, Plaintiff was given a preference sheet to select what she wishes to teach for the

upcoming school year 2004-2005, as she has not heen the subject of “disciptine’ or had a penalty “imposed,”

410, In March 31, 2005, Judy Nathan, a DOE attorney sent Plaintiff a threatening, humiliating letter
stating, "l have determined that tha nature of your charges against you require yeur immediate removal.”
She further informed Ptaintiff that when she returns from her unauthorized teave she would be assigned
administrative duties. The intent of this letter was to alarm Plaintitt as it insinuates that she allegedly
committed an immoral act. This exacerbated Plaintiff's already serious long term disability as she was

traumatized by the offensive language of Judy Nathan.

411, On the kottom of Judy Nathan's letter, she exploits Plaintiff's Social Security number; although
Plaintiff has informed the DOE countless times not to exploit her Social Security nurnber. ft fell upon deat

ears. The Plaintiff wrote letters to the UFT. The UFT cid not respond as they abandoned Plaintiff.

412. Additionally, this was Plaintiff's second untawful suspension.
413. Her first unlawful suspension was on March 2, 2004 unlawfully ordered by Lavin.
A1A. Neither a Local instructional Superintendent, nor a OOE lawyer, have the authority to suspend a

teacher. According to Section 3020-a Education Law, only the Superintendent has the authority to suspend

a teacher, who is Superintendent Cashin.

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475, Moreover, since Plaintiff's last day of schoal was february 13, 2004, it is unlawful to subject

her to a second suspension, as she never returned to school after February 13, 2004,

416. Ht is clearly evident, that when Plaintiff denied a leave without pay, in March 2005, which would
terminate her employment in June 2005, the GOE immediately retaliated on March 26, 2004, by subjecting

her to an unlawful 3020-a proceeding as thay desperately wanted Piaintiff to be untawfully terminated.

417. in April 2005, Cooper informed Ptaintiff ta make an appointment with Seray, as Plaintiff had te

fill out numerous papers regarding the 3020-a proceeding. Plaintiff did make the appointment with Seroy.

418. Seroy informed Plaintiff and her husband to arrive early it will take a couple of hours to
complete these papers. However, when Plaintiff and her husband met with Seroy, she did sot have any
papers available. Plaintiffs asked Seray what happened to the papers Plaintiff was to fill out. Seroy ignored

their question.

419. The meeting with Seray took approximately ten (10) minutes. Seroy was very hostile towards

Plaintiffs. There was absolutely na reason for this meeting. It was a waste of time,

490. in May 2005, Seroy sends information regarding Plaintitf to the Chancellor, State Education

Department and Bey, via certified mail. Seroy claims it was a requast for a 3020-a hearing.

421. However, she wes not telling the truth, as a hearing must be requested within ten {10} days
which had to be initiated in March 2006. Plaintiff with her law firm sent the request for the hearing within

the time limits in March 2005.

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422, To this date, Plaintiff does not know what Seroy sent regarding her.

423. Plaintiff reported all the chilling, unlawful tactics to the UFT and NYSUT, and all individual
Defendants of UFT and NYSUT. NY¥SUT General Counsel, Sandner, responded to Plaintiff by further violating

Section 3020-a Education Law in @ letter written to Plaintiff.

424, NYSUT Legal Department "chose" for Plaintiff an outside attemey ance Plaintiff cited the
unlawfulness perfermed by NYSUT. It was quite clear this chilling referral “selected” from NYSUT would not

be aeting on her behalf as they severely vialated Plaintiff.

475. As a result, Plaintiff never attended. The goal of all the Defendants was to make Plaintiff

seriqusly ill from all their corrupted tactics; and thus they succeeded.

496. It should be noted, NYSUT is an affiliate of the UFT, and therefore N¥SUT had no intention of

helping plaintiff,
427. This unlawful 3020-a proceeding should have heen eradicated as soon as it was initiated.

428. The UFT allowed approximately 40+ grievances to go unattended for two (2} years, and three (3)
months. UFT had a contractual obligation to pursue these grievances for Plaintiff, They failed to do so as

they deliberately and recklessly chose not to.

429. DeFazio wrote letters to the DOE, UFT and Leinwand warning them that Plaintiff's condition is

“serious and lite threatening" due to the hostile work environment she encountered at school and continues

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incessantly, to date, as they violate every conceivable law, rule and procedure, for over two (2) years.

430. However, DOE, UFT and Leinwand recklessly and intentignally ignore Flaintiff’s doctors and
psychologist as well as the Federal government's determination granting Plaintiff lang term social security

disability.

431. They continue to violate Plaintiff in every conceivable way they can as if they will never suffer
the consequences for their wanton acts, Plaintifts hold them liable for their wanton conduet, as thay

severely destroyed Plaintiff's career, health and finances.

432. Additionally, since the corruption has been taking place for such a long period of time, it

destroyed Plaintiffs’ families, heatth and finances as well.

493. The DOE tries to initiate the unlawful 3020-a proceeding two more times in August 2005 and
then September 2005; causing further suffering to Plaintiff, as the overwhelming unlawfulness never ceases.
BOE and UFT ate incessantly subjecting Plaintiff ta these unlawful 3020-a procedures as they are
desperately trying to make Plaintiff quit her teaching profession ar be unlawfully terminated based on fraud.
Plaintiff wrete numerous letters to the UFT regarding the above. UFT never responded as the UFT

ahandoned her,

434, In May 2005 Plaintiff sent a so-called “neutral” Hearing Officer, Scheinman, to lengthy tetters
consisting of 36 pages, with 36 exhibits, te support the sverwhelming violations heaped uper Plaintiff. These
violations consist of State Education laws, State laws, Federal laws, and tha Collective Bargaining
Agreement. However, Sheinman ignored Plaintiffs’ letters as it fell upon deaf ears: as tha usual pattern of

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all Defendants is to recklessly and intentionally viclate Plaintiff, as they desired to inflict upon Plaintiff

chilling, unlayyful procedures with reckless disregard to the consequences that may follow; as all Defendants

believe they are above the law,

435, Additionally, in May 2005, Sheinman, the so-called “neutral” Hearing Officer, wha was
unlawfully, automatically assigned ta Plaintiff’s unlawful 3020-a as Plaintiff never had the awful opportunity
to select a Hearing Officer and was naver lawfully given biographical information about any hearing officers;

which are blatant violations of Section 3020-a State Education laws.

AaB. Instead, it was the delherate and reckless intantion of alf Defendants to select Sheinman, for
their own self-serving needs, as Scheinman; like all other Defendants, saverely harassed and ignored

Plaintiff's pieadings for justice.

437. To add further overwheling stress upon Plaintiff, Scheinman incessantly sent Plaintiff unlawful,
alarming, afficial mail unlawfully rescheduling the unlawful 3020-a; then cancelling it, until Plaintiff attends
the unlawful, chilling 2568 exam consisting of an unlawful, alarming FIVE HOUR exam by a panelfneuro
rehabilitative psychologist unlawfully ordered by Lavin as if Plaintiff was a criminal, a dangerous misfit to

society.

438. Thus, Plaintiff's home was not a place of solitude or peace: or a place to recuperate from the

severe hostile work environment, as the Defendants, for two (2) years and three (3} months, and ongoing ta
bo Lonhnet.

date, recklessly and deliberately allawed the severe hostile work environment. The Defendants, for two {2}

years and three (3} months which is ongoing to data, recklessly and deliberately allowed the severe, hostile

work envirenment to permeate into her house, as alarming mail and phone catls continued incessantly, In May

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as
2005; Scheinmen’s office. demanding her to participate in the unlawful pre-hearing telephone 3020-a

conference. This is another violatien of 3020-a State Education Law; among many others, as a "pre-hearing
conference ... shall be held in the school district ar county seat of the county, or any county, wherein the

employing schaol board is iacated," aot via telephone.

439, In July 2005, Plaintiff's psychologist, DeFazio, wrote @ very serious letter to Schetnman
explaining how the unlawful 3020-4 proceeding is seriously deteriorating Plaintiff's health; as DeFazio
informed Scheinman, if Plaintiff attends the unlawful 3020-2 proceeding, DeFazio stated, " ... it can result in
severe mental and/or physical injury from which she might literally die; because of the overwhelming stress.

| have absolutely forbidden her to attend. This fetter is to inform you of my total and unqualified opposition

to her attencance at this event."

440, Additionally, he informed Scheinman that Plaintiff was adjudged permanently disabled by the

Social Security Administration due to the stress and depression initiated by the events and actions of the

DOE,

44}, However, the reckless disregard of Plaintiff’s psychologist’s and the Federal government's
determination was brazenly ignored and mocked by Scheinman, as it is a pattern of all Defendants to
recklessly and deliberately disregard Ptaintiff’s psychologist, doctors, as well as the Federal government's
determination. The Defendants recklessly and intentionally desire Plaintiff to suffer serious health
consequences; even death, as they are expioiting Plaintiff and using her as @ smokescreen; to cover up for

the overwhelming unlawfulness.

442. Additionally, Scheinman is listed as having two addresses, one of which is a fake address as it is

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an empty plot of land with no residenge axisting.

445. Furthermore, Scheinman uses @ Pitney Bowes meter which is not used properly according to

United States Post Office regulations.

44a. It should be noted in the contract, Article Twenty-Six titled, Conformity ta Law-Saving Clause,
states, "If any provision of this Agreement is o7 shall at any time be contrary to law, then such provision

shall not be applicable or performed or enforced.”

445. UFT, NYSUT, Leinwand and Lavin and all individual Defencants, made every provision of the

Agreement "contrary to Jaw."

* 447. However, any benefit connected with TRS, Plaintiff cannot make use of, as the City of Naw York
et

and DOE control TRS; as the DOE is unlawfully not allowing Plaintiff to touch her pension which is in TRS.

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| The same unlawful tactics can occur again for Plaintiff if she elects ¢ benefit fram TRS.

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# 446, Accident Disability retirement is @ retirement benefit connested with TRS which is the proper

benefit far Plaintiff, as a teacher fs entitled to 75% of har salary plus all health and welfare benefits due to

a line of duty injury suffered at school.

44g, In May 2005, after fifteen (15) months of abandonment by the UFT, and no response to
Plaintiff's appeal to her harassment (og, Solomon finally admitted to Plaintiffs that Plaintiff has keen

harassed by Lavin and Leinwand. He informed Plaintiff a Special complaint will be initiated in September.

2005.

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449, Article Twenty-51x > of the Collective Bargaining Agreement defines a Special Complaint as
follows: "A special complaint is ¢ complaint by an employee in the bargaining unit that persons or groups
are engaging in a course of harassing conduct, or in acts of intimidation, which are being directed against

himfher in the course of his/her amplayment and that the schoal principal or assistant superintendent has not

afforded the employee adequate relief against such course of canduct or acts of intimidation."

450. This Special Complaint should have been initiated when Plaintiff was forced te ieave schoal as

the result of tha savere hostile work environment of Lavin and Leinwand.

461. Furthermore, although Soloman admits to Plaintiff that she was harassed, he incessantly informed

Plaintiffs, "I don’t know if | can help you."

452, Additinally he states, "We don’t care if you have Social Security disability. |t has nothing to do
with the DOE."
453, in June 2005, Plaintiff asked Solomon if sha could get her medical sabbatical white her line of

duty injury is being approved. Please note, a ling of duty injury pays full salary and all benefits, A medical
sabbatical pays 60% of a teacher's salary, plus a differentiat and all benefits. Solamon nastily informs her
ta call the Welfare Fund. Welfare Funds informs Plaintiff to tell her UFT to make a grievance for a medical

sabbatical.

454. In August 2005, Sclamon writes Plaintiff a nasty letter after he returns from his two (2) month
vacation after not offering any help to Plaintiff. He reprimands Plaintiff by stating, "Failure to fally

cooperate with Ms. Procida (Ms. Procida is the representative handling the Special Complaint) will result in

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my withdrawing the grievance from consideration this term."

455. Among other nasty, frustrating comments Sofamon states, "If they (meaning Welfare Fund) have

advised you to file a grievance, you must call the Queens UFT Office and have them advise you as to the

appropriate steps you need to take.”

456. solomon offers no soluttons for Plaintiff to seek relief, as he very well knows the Gueens UFT
abandoned Plaintiff. He also knows that Plaintiff must monitor her thyroid with her docter, take tests and
medication for her thyroid. For two (2) years, and three (3) months, Plaintiff was forced to neglect her

thyroid condition for lack of compensation and benefits from the DOE. However, Solomon, like the rest of

the UFT, arrogantly speaks to Plaintiff in a merry-go-round of words which leads nowhere.

467. in late October ~ November 2005 Plaintiff and her husband met with Procida for the Special
Complaint. Procida was very cordial and understanding at the time. Plaintiff and her husband also met with
Mr. Cuffen representing the OOE. He, as well, was very cardial and understanding. They thought this time

the UFT and DOE were finally helping.

458, Hewever, after the initial meeting, Procida made it known she was hot oi Plaintiff's side as

Plaintiff and her husband called Procida to inquire about her Spacial Complaint.

46S, In or about January~ February 2006, Procida referenced io facts stated in the new upcoming
contract which takes effect in February 2006, such as, "A teacher can griave her letters at a 3020-a
proceeding, sometimes we do a Special Complaint after a teacher goes to a 3020-a proceeding, | don't

know if | can do anything about your unauthorized leave," etc., atc,

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460. It should be noted the UFT had two (2) antire years te grieve Plaintiff's letters. Other teachers'
latters were being grieved, however not Plaintiff's, If UFT would have grieved Plaintiff's false letters in
Fabruary 2004, as they were contractually obligated to do, her fife would not have accumulated with an

abundance of letters, as she received two {2} false disciplinary letters in February 2004.

461. However, since they chose to abandon Plaintiff, she has an approximately nine (9) false letters to
be grieved.
AB2. Further frustrating, chilling conversations continued with Roth, at the Queens UFT who tried

every canceivabla way ta mock Plaintiff and the Collectiva Bargaining Agremeent as he desperately tries te

protect the unlawful acts of Lavin and Leinwand.

463. in September 6, 2005 via telephone and by letter, Roth prohibited Plaintiff te come ta the

Queens UFT office.

464, Qn or about February 2006, Roth informed Plaintiff via telephone, "We can't grieve your letters.
The DOE wan't allow it, DOE holds the power, if you don’t accent Disability Retirement you may be left with

nothing.” He too was referencing the new contract taking effect in February 2006.

465, In March 2096, Roth contradicted himself, via telephone, to Plaintiffs, to what he previously

stated in a letter to Plaintiff; as he was desperately trying to unlawiully protect Leinwand.

AGG. Many other unlawful statements were expressed te Plaintiffs by Roth via telephone, as he

intentionally and recklessly tries to severely infuriate Plaintiff as he is well aware he is aggravating Plaintiff's

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stresstul medical condition.

467. In February 2006, Plaintiff receives incorrect pay from to DOE regarding retroactive salary due to

the new contract as the DOE did net pay her the full antount which she was entitled to,

ABB. On February 10, 2008, Plaintiff receives a letter from Proeida regarding the Special Complaint.
Sha states, “Mr, Cullen and ( have completed our investigation regarding your Special Complaint. We are in
the process of discussing possible resolutions. As scon as we hava a proposed resolution for you to review
or consider, we will natify you. It is my hope that a resolution can soon ba reached in your Special

Complaint. Thank you for your continued patience in this matter,”

469. In March 2005, as a result of all the unlawfulness performed fy the DOE, NYSUT and UFT, and
all the individual Defendants, and the UFT refusing to grieve Plaintiff's lettars, Roth informed Plaintiff and her

husband he will research what can be dona.

470. Plaintiff's husband works part-time as a tile setter. As a result of Plaintiff‘s “serious and life
threatening" condition as expressed in many tatters ta the DOE and UFT, and some of the individual
Defendants in the BOE and UFT, written by DeFazio; Plaintiff's husband has to forfeit some of his part-time
work, as ha needs to stay hame to take care of Plaintiff. Plaintiff is suffering fram chronic stress and major

depression fram tha savere hostile conversations and the illegal acts of the DOE, UFT and N¥SUT,

477i. As a result, Plaintiff and her husband are diving day by day very precariously, as they have

depleted their savings by paying lawyers who conspired with the DOE, UFT and NYSUT. Plaintiffs ean lose

their home and car for lack of funds ta keep them.

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472, It is now the begining of May 2006. Plaintiffs do not see any relief in sight. A special
Complaint, according to the contract is supposed to be handled gromptiy. lt has been seven (7} months since

the Special Complaint was initfated, and from recent conversations with Procida regarding the Special

Complaint, it’s established that ne relief wil be given to Plaintiff.

473, la May 3, 2006, Procida defrauds Plaintiff, via telephone, informing her that although Plaintiff
has been granted jong term Social Security disability; the DOE does not have to agree with the Federal
government's determination that Plaintiff is toc ill to work. The GOE Medical Bureau can disagree with the

Federal government’s decision and make their own determination; as if the DDE is above the law.

474, It is important to note the Medial Bureau is responsible for tampering with Plaintiff's official

medical documents as well as adding additional information and contradictory information on the same

identical medical documents.

475. Furthermore, Procida informed Plaintiff, "We are not planning to give you leaves with pay. My
hope is te give you a leave without pay." Her response was outrageous and extreme as this was the
offering by the DOE and UFT, a year ago, which Plaintiff denied, as this leave would destroy her; which was

previously explained in this complaini.

476. Thus, a special complaint was a hoax, as well, as the UFT admitted that Plaintiff was harassed
by initiating a special complaint. However, as usual, in order to protect the unlawfullness of alt the
Defendants, aspacially Lavin and Leinwand, Plaintiff suffers for their wanton acts oy not receiving legitimate

relief she is lawfully and rightfully entitled to which is a medical sabbatical followed by a line of duty injury.

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47}, Cashin, the Superintendent, remained silent throughout Plaintiff's suffering, She relinquished her
authority by permitting Lavin and Leinwand to supersede her role, the twa (2) alleged cohorts in crime, wha
destreyed Plaintiff's health, career and finances. Upen information and belief, Leinwand and Sheeban were
promated to Plaintiff's school in 2001, as they protected the wrongs of the administration at their former
school, H.S. 210. Sheghan was a dean at J.H.S, 210 and Leinwand was one of the Assistant Principals,
Sheehan became Assistant Principal at Plaintiff's school, P.§. 66, in September 2001; and Leinwand became

Principal at Plaintiff's school, P.S. 66, in September 2001.

4/8. As soon as they ventured into Plaintiff's school, they wiltully and recklassly targeted Plaintiff.
They succeeded in their malicious mission as they destroyed Plaintiff's career, health and finances and as a

result, destroyed Plaintiff's family heatth and finances as weil.

4/9. Plaintiff has done nothing to deserve this outragecus, inhumane and malicious treatment. There
can be no deubt that the Cefandants, the Plaintiff brings this lawsuit against are conspiring and intentionally
and recklessly destroyed her career, finances and health in order to unlawfully protect the malicious,

reckless, illegal actians of all the Defendants, and especially Lavin and Lainwand.

480. All Defendants are intent on severely abusing and harassing Plaintiff. Their reckless disregard for
Plaintiff is inhumane and wanton as they blatantly disrespect DeFazio’s repeated warnings as he has stated

in many letters written to Defendants, that Plaintiff's condition is, "serious and life threatening.”

FIRST CAUSE OF ACTION
BREACH OF EGLLECTIVE BARGAINING

481. UFT, OOF, NYSUT and all the individual Defendants af the DOE, UFT and NYSUT failed ta

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represent Plaintiff in goed faith when it concerns Plaintiff as ne grievancas were pursued except one

unlawful grievance. The rules, procedures and protocol for this grievance were grossly violated. As @ result,

the UFT breached its duty of fair representation to Plaintiff.

492. Additionally, for twa (2) years, three (3} months, Plaintiff wrote to UFT approximately 500 letters
to all UFT Defendants, pleading to initiate outstanding grievances, approximately 40+ in all, UFT blatantly
turned their backs on Plaintiff, as they recklessly,nagligently, deliberately disregarded Plaintiff's plight for

justice. As a result, of their wanton misrepresentation, Plaintiff's career, health and finances have been

destroyed; and Plaintiff's’family health and finances, es well.

483. Additionally, FT, OOF, NYSUT and all individual defendants of the UFT, DOE and NYSUT,
breached their contract and agreement when it concerned Plaintiff by failing to assist, represent and support
her plight with the New York City Department of Education and the City of New york concerning, inter alia,

benefits and entitlements lawfully dua to Plaintiff.

ABA, Plaintiff suffered harm and damages as a result of the breach of contract and the participation in
the canspiracy to breach the contract. The conduct of the UFT, NYSUT, DOE and all the individual
Defendants of tha UFT, DOE, and NYSUT are malicious and/or in wanton and willful disregard of Plaintiff's
rights. DOE, UFT, NY¥SUT and the individual Defendants of NYSUT and UFT, should have known that their
actions would harm Plaintiff and are recklessly indifferent to the consaquenceas af their actions to Plaintiff,

causing Plaintiffs {treparable harm, past and present, which is ongoing, to date.

SECOND CASE OF ACTION
BREACH OF FIDUCIARY DUTY

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485. UFT, DOE, N¥SUT and all individual Cetendants of the DOE, UFT and NYSUT breached their
professional and fiduciary dutias to Plaintiff, which was done for the benefit of unlawfully protecting the
rackless, deliberate, nagtigent acts of Leinwand and Lavin and other OOF employeas, for which they are

jointly and saverally liahle.

486. Plaintiffs suttered irreparable harm, past and present, which is ongoing to date, and damages as
@ result of defendants’ breaches of fiduciary duties and participation in the conspiracy to defraud Ptaintiff.
The cenduct of NYSUT and UFT with the individual Defendants, are malicious and/or in wanton and willfal
disregard of Plaintiff's rights. Defendants knew or should have known that their actions would harm Platntiff

andior were recklessly indifferent ta the consequences of their actions to Plaintiff.

THIRD CAUSE OF ACTION
FRAUD

487. DOE, UFT, NYSUT and the individual Defendants of the DOE, UFT and NYSUT, conspired to

commit fraud as ihey falsely misrepresented Piaintiff and concealed from Plaintiff information.

48. Plaintiff was forced to became well-versed in Education Law, State Law, Federal Law and the

Collective Bargaining Agreament to protect herself from being falsely misrepresented.

ABS. False statements, false documents and false procedures were made for the purpose of deceiving
Plaintiff as they were unlawfully protecting tha wanton acts of Lavin and Leinwand and other OOE
employees, They triad to mislead Plaintiff to sign documents that would greatly damage her.

490). Dafendants deprived Plaintiff her life, liberty and property rights by denying Plaintiff procedural

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due process.

491, DOE also tempered with evidence to deceive and defraud Plaintiff and the court. UFT was an

accomplice ta this fraud.

492. Platatiff suffered harm and damages as a result of defendant's fratid and participation in the

conspiracy to defraud Plaintiff.

493. The conduet of Defendants was malicious and/or wanton and willful disregard of Piaintiff's rights.
Defendants knew or should hava known that their actions would harm Plaintiff, and were recklessly

indifferent to the eansequences of their action ta Plaintiffs.

494, Lavin and Leinwand conspired as they usurped their powers by teking the role of the
Superintendent.
495. They grossly vislated Plaintiff's procedural due process depriving Plaintiff of life, liberty and

property rights.

A965. Leinwand also took the rele of an investigator as she fraudulently investigates Plaintiff's past and

present wark history, and fraudutantly conceals it from Plaintiff, and thus defrauds Plaintiff.

4g7. Lainwand also takes the rele of a doctor where she states "Lina of Duty Injury unsubstantiated"

although all the proper medical dacumentatian required by the DOE and the DDE’s medical bureau was

submitted raligiausly to date.

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4a8. Additionally, Leinwand, with her cohort, Lavin, should not be the decision makers for Plaintiff's
line of duty tnjury as they aré not neutral decision makers. They are the twe accused parties thai

committed Plaintiff's line of duty injury.

499, It is outragecus and axtreme that the DOE and the UFY permitted their misuse of power to

continue incessantly as it is engoing, to date,

500. Leinwand fraudulently concealed and defrauded New York City DOE Payrcll that Plaintiff did not

have sick days, as she falgely authorized the New York City Payrell to withdraw Plaintiff's salary from her

personal account.

501. Leinwand frauculentiy placed Plaintiff on an unlawiul, unauthorized leave, after one week of
aysence, ignoring that sha and Lavin were responsible for the severe hostila work environment which caused

Plaintiff's line of duty injury. All medica? documentation was shown to Leinwand.

602. Leinwand fraudulentiy suspended Plaintitf’s direct deposit, as Plaintiff is the only person whe can

suspend her direct deposit.

603. Lainwand frauduientiy informed Plaintiff the meeting with Lavin to discuss Plaintiff's concerns
avout her schedule was all to benefit Plaintiff. leinwand grossty misfead Plaintiff by bribing her to meet
Lavin. At this meating, without UFT representation, as UFT abandoned Plaintiff, Lavin in reckless disregard
to Platntiff's plight; incessantly asked Plaintiff, "Are you sick? Are you well? Are you sure you're pot sick?

Are you sure you're wall?” This fraudulent meeting was intended to ruin Plaintiff's career.

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04. Leinwand fraudulently arrests Plaintiff's husband by maliciously and recklessly creating a false

police rapart.

505. Upon information and belief, Leinwand filed a talse police report against Plaintiff with tha School

Safety Pelicg which Leinwand, DOE and UFT refuse ta conceal to Plaintiff.

ADG. Leinwand concealed other dacuments from Plaintiff as veil.

07. Additionally, as a resutt of Leinwand’s unlawful, unauthorized leave, all Plaintiff's benefits,
pension, TOA and salary came to an abrupt halt. Plaintiff is not able to touch her pension monies as her
pension is placed in a dummy aecount, and upon information and belief, her TOA as well; due to Leinwand’s

unlawiul, unauthorized leave,

508. Superintendent Cashin and Ghancelloy Klein are accomplices to all this fraud, as they remained

sitant and refuse to help, They allowed Lavin, Leinwand and Sheehan, Assistant Principal, to grossly violate

Plaintiff.

609, Sheefian committed fraud, as well, as she reprimanded and humiliated Plaintiff for a commen

practice used daily by ali teachers.

510. Bey committed fraud as she grossly victated Plaintiff to unlawful procedures violating Edueatian
Laws, Collective Bargaining Agreement, State Laws, Federal Laws, with reckless and intentional disregard to

harm Plaintiff.

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511, All Defendants committed fraud as they brazenly ignore end mock Plaintiff's doctors and the

Federal government's Social Security disability granted te Plaintitt.

512. Plaintiff and husband suffered harm and damages as a result of Defendants’ fraud and
participation in the conspiracy to defraud Plaintiff. The conduct of Defendants are malicious andfor wanton
and willful disregard of the Plaintiff's rights. Dafendants knew or should have known that their aetions

would harm Plaintiffs, and ara recklessly indifferent to the consequences of their action to Plaintiffs, which

is ongoing.

513. Marino, DOE Personnel Liaison, committed fraud as she conspired with Leinwand to put Plaintitf
on a continued unauthorized leave which is ongoing te date. Thus Plaintiffs suffered irreparable harm, past

and present, which is engoing to date.

614, All Defendants are negligent as they failed to protect and act on behalf of Plaintiffs against

unreasonable harm or risk, as they all participate in a conspiracy to dastroy Plaintiffs.

515. The conduct of Defendants are malicious and/or in wanton and willful disregard to Plaintiffs’
rights. Defendants knew or should have known that their actions would harm Plaintiff and were recklessly
indifferent to the consequences of their actions to Plaintiff, which is ongoing to date. Thus Piaintiffs

suffered irreparable harm, past and present, which is ongoing to date.

FIFTH CAUSE OF ACTION
TORTUROUS INTERFERENCE WITH THE CONTRACT

515. UFT, DOE, N¥SUT and all the individual defendants of the UFT, DOE and NYSUT have a fiduciary

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duty with Plaintiff. Lavin, Leiawand, Sheehan, Marine, Cashin, Klein, Jacobson and Bey maliciousty, fllegally

and intentionally interfered with Plaintiff's relationship with the UFT and NYSUT, wrongfully and without

justification or axcuse,

517, The UFT and NYSUT deliberately and recklessly chose to unlawfully represent the above

Defendants instead ef Plaintift.

518. UFT and NYSUT promoted the Defendants wanton actions by not protecting Plaintiff and denying

her fair reprasentation, as provided by the Collective Bargaining Agreement.

519. As a result, UFT and NYSUT reversed their roles and protected DOE Defendants instead of the

union member, who is Plaintiff.

520. DOE is a responsible party ,as well, as they have an agreement with tha UFT to bargain in good

faith, which they grossly failed to do for Plaintiff.
ivan Plaintiff suffered harm and damages as a result of the torturous interference,

622, The conduct of the UFT, NYSUT, DOE and individual Defendants of the DOE malicious and/or in
wanton and willful disregard of the Plaintiff's tights. Such Defendants knew or should have known that
their actions would harm Plaintitt and are recklessly indifferent to the censequances of their action to
Plaintiff, which is ongoing to present. Thus Plaintiffs suffered irreparable harm, past and present, which is

angoing to date.

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SIXTH CAUSE OF ACTION
NEGLIGENT, INTENTIONAL AND RECKLESS INFLICTION OF
PHYS? OLOGICAL, EMOTIONAL, MENTAL, PHYSICAL AND
PSYCHOLOGICAL DISFRESS

 

523, The conduct of all tha Defendants are intentional, reckless and negligent as well as extreme and
gutrageous,

Physiol agieet
524, The Plaintiff has suffered savera ermotionat, psycholagical, mental and physical distress, as a

result of tha wanton behavior of all Defendants as they heaped upon Plaintiff violation upon violation.

naa. They exacerbated Plaintiff's stress and frustration, resulting from the severe hostile work

environment and GFT abandonment, as the chilling viclations incessantly repeats at her heme, to date.

26, As a result, Plaintiff cannot find peace and solituda at her home as she fs inundated night and
day, for two (2) years and three (3) months with unlimited vielations which destroyed her career, health and
finances ... in essence her life! In moder America, this is inhumane, how the Defendants can perform such
wanton acts, and face no consequences, for the "living kell" they deliberately and recklessly conspired for

Plaintiffs and their families.

hee. Thay reckiessly disregard Plaintitf’s dactors and psychologist who warned Defentants Plaintiff's

condition is “serisus and iife threatening."

528. The Defendants act like scavengers taking delight in destroying her pension, TOA, benefits,

compensation, and all her finances which rightfully belong to her.

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529. As a rasult, of the wanton conduct of the Defendants as their pattern of racketeering continues,
Plaintiffs have suffered and will continue to suffer ee and irregarable damages. Plaintiffs have

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suffered severe and demonstrable emotional, physical, On psychological harm caused by Defendant's wanton

conduct, past and present, which is ongoing to present.

SEVENTH CAUSE OF ACTION
BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING

536. UFT, DOE, NYSUT and all individual Befendants of NYSUT, UFT and GOE have @ fiduciary

relationship with the Plaintiff. They breached the duty of good faith and fair dealing owed to Plaintiff.

B31. As a direct and proximate result of UFT, NYSUT, OOE and the individual Defendants of NYSUT,

UFT and DOE breaching the covenant of good faith and fair dealing, Plaintiff has sustained damages and

irreparable harm which is ongoing to date.

EIGHTH CAUSE OF ACTION
DISCRIMINATION (AGE, GENDER, DISABILITY, RETALIATION
SEVERE HOSTILE WORK ENVIRONMENT
B32. DOE and the individual DOE Defendants discriminated against Plaintiff because of her age: ERISA
ABER,
discrimination, gender and disabiltty which occurred February 13, 2004, the day Plaintiff's psychologist forbid

Plaintiff to return back ta school due to the severe hostifa work environment.
532. Leinwand constantly asked Plaintiff if sha reached the magfe age of 50.

5o4, Prasently, Plaintiff has approximately three (3) mora years ta collect full retirement. Leinwand

recklessly and intentionally destroyed Plaintiff's retirement, as she immediately put Plaintiff on an unlawful

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unauthorized eave, after one week of absence,

35. As a result of Leinwand’s unlawful unauthorized leave, Plaintiff is forbidden to teuch her pension
money which is rightfully hers as Plaintiff's pension is unlawfully placed in a dummy account, This unlawful

unauthorized leave has been in effect and fs ongoing to present for two (7) years and three (3) months,

536. Additionally, as a result of the unlawful, unauthorized leave, Plaintiff cannot colfect any

compensation, obtain her medical and welfare benefits, and upon infarmation and belief, her TDA.

B37. Marino reinforces Leinwand’s unlawful unauthorized leave, as she informs Plaintiff she continues

to be on an unauthorized leave, which is ongoing te present.

and ADGA
538. Furthermore, not only fs this age discrimination, but ERISA discrimination as well. Plaintiff was

robbed of all her property rights by the DOE, UFF, NY¥SUT and alf individual Defendants of the DOE, UFT and

NYSUT, which was violated by Leinwand and Marino.

39. The DOE and UFT are well aware that Plaintiff is not on a true unauthorized leave. As
accarding to the OOF, a teacher who is absent for 20 days without notice may be deemed to have resigned.
Plaintiff never resigned. To date, Plaintiff documents her absence every three months as required by the

DOE.

B40. UFT and all individual Defendants of the UFT ara an accomplice to the discrimination by not

eradicating Leinwand’s unauthorized leave reinforced by Marino.

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541. The UFT and all individual Defendants of the WFT aided and abetted tha DGE, Leinwand and

Marino to carry out this crime; robbing Piaintiff of all her property rights vested in the DOE.

542. All Defendants in this case are vary well aware Plaintiff was awarded Long-Term Social Security
Disability on February 13, 2004, as the severe hostife work anvironment which is ongoing to date, created
debilitating strass for Plaintiff, as DeFazio reported. This fs a prima facie casa as the Federal Government

grants Plaintiff Social Security Disability but tha DOE stripped Plaintiff of ali benefits and income.

543. DOE, and tha individual OOE Defendants discriminated against Plaintiff on the basis of her gender

as Leinwand wanted ta replace Plaintiff's teaching position with a young, non-tenured male teacher.

544. Plaintiff had property rights in her teaching position as she is a tenured, successful teacher for
nineteen {18} years. Leinwand, with the help of Marino and the DOE, interfered in her proparty rights, once

agai.

545, Plaintiff became disabled as a result of the reckless and deliberate retaliatory, unlawful tacties of
Lavin, Leinwand and Sheehan which culminated into a severe hostila work enviranment as a result of the

UFT and all individual Defendants of the UFT abandoning her,

546. The date of Plaintiff's disability began February 13, 2004, when Plaintiff's psychologist forbid
Plaintiff to return back to school as she was suffering debilitating stress, emotional, physical, psychological
distress, and severe trauma from Lavin and Leinwand, as she could not be subjected to their retaliatory

tactics any longer which were severe and pervasive.

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Bd}, The severe hostite work environment permeated into Piaintiff’s home.

548, As a result, her home is not a place of peace and solitude, Incessant, repeated violations are
continuing at her home by all Defendants for two {2) years and three (3) months. Violations never cease, as

it is ongoing to present.

549, The discriminatory retaliatory and illegal mistreatment of Plaintiff wha is an employes of the
DOE, is ongoing to date thus (a) causing Plaintiff irreparable harm, past and present which is ongoing to

date, and (b) warranting beth declaratory ang injunctive relief.

BAO. UFT, and all individual Oefendants of the UFT, are an accomplice te the discriminatory, retaliatory
and illegal mistreatment of Plaintiff, as to date, they offer absolutaly no relief for Plaintiff; although Plaintiffs
pleaded to the UFT and all individual Defendants of the UFT to fila grievances for two {2) years and three

{3} months.

Al. Plaintiff and har husban¢ wrote approximately 500+ letters to all UFT members and recently had
conversations with many of the Defendants of the UFT, but ta no avail. They continue te grossly violate
and act extramely hostile to Plaintiffs as the UFT made up their mind to aid and abet the DOE and aff

individual Defendants of the DOE to perform their HHegal acts whieh continues incessantly to date.

NINTH CAUSE OF ACTION
CIVIL ANG CRIMINAL CONSPIRACY
Federal Rico Violation - 18 U.S.C. 19624,
Rico Conspiracy
Against All Defendants

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552, DOE, UFT, and all individual Defendants of the UFT, OOF, and NYSUT with Defendant Sandner,

" gongpired to commit the aforementioned fraud and other

torturous, wanton conduct and breaches of duty with Plaintiff which is ongoing to date,

553, In furtherance of the conspiracy, all Defendants engaged in fraudulent acts which were performed
ta, inter alia, deprive the Plaintiffs of benefits and campensation they reasonably expected to receive as a

result of the Collective Bargaining Agreement,

554. Plaintiff's husband is suffering from this as well, as fe was covered under Ptaintiff’s medical

benefits and welfare benefits, and as a result he cannot tend to his health needs as well as Plaintitt.

555. DOE, UFT and all individual Defendants of the DOE and UFT conspired this wanton, torturous
conduct to occur to Plaintiffs. Leinwand extorted and embezzled Plaintiff's salary form her bank account,
thus committing bank fraud. OOF and UFT and all individual Defendants of tha UFF and DOE are

accomplicas to Leinwand's extortian and embezzlement which constitutes bank fraud as they conspired by

allowing these wanton, torturous tactics to be inflicted upon Plaintiff which is ongeing ta date.

D6. DOE, WFT and all individual Defendants of the DOE and UFT, all conspired to allow Leinwand to
place Plaintiff on an unlawful unauthorized leave, as she robbed Plaintiff of her property rights, that is, her

pansion, TDA, medical benefits, welfare benefits, and compensation.

657. DOE and UFT, and all individual Defendants of the UFT and DOE, are accomplices to Leinwand’s
unlawful unauthorized leave. They conspired by allowing this wanton, torturous conduct to be inflicted upon

Plaintiff which is ongoing to data.

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658. DOE, UFF and all individual Defendants of the DOE and UFT, conspired to invade Plaintiff's

privacy by allowing Leinwand to fraudulently investigate Plaintiff's past and present work history when a

schoo! file suffices.

569. They conspired to alfow this wanton, torturous eoaduct to be inflicted upon Plaintiff which is
ongoing to date. DOE, UFT, and all individual Defendants of the DOE and UFT, conspired ta invade Plaintiff's
privacy, by allowing Plaintiff's social security number to be exploited throughout the entire DOE and who

knows where else.

56D. DOE, UFT, and all Defendants of the DOE and UFT, made Plaintiff a prime victim of identity
theft. Plaintiff repeatedly informed all Defendants @ file number suffices to identify Plaintiff, However, they
arrogantly ignared Plaintiff. They conspired by allowing this wanton, torturous tactic to be inflicted upon

Plaintiff which is ongoing to date.

561. OQOE, UFT, and all individual Defendants of the OOF and UFT, conspired to allow medical and
official documents concerning Plaintiff, to be tampered with. They conspired hy allowing this wanton,

torturous conduct to be inflicted upen Plaintiff which is ongoing ta date,

562. DOE, UFT and all individual Defendants of the UFT and DOE, conspired to allow Leinwand ta
suspend Plaintiff's Direct Deposit which constituted bank fraud. They conspired by allowing this wanton,

torturous conduct to he inflicted upon Plaintiff which fs ongoing to date.

56a. DOE, UFT, N¥SUT and alf individual Defendants of the UFT, DOE, and NYSUT conspired to

grossly violate State Education Laws, Federal Laws, State Laws, and the Collective Bargaining Agreement.

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They conspired by allowing this wanton, torturous conduct to be inflicted upon Plaintiff which is ongoing ta

date.

564. COE, UFT and all individual Defendants of UFT and DOE conspired to recklessly and deliberately
ignore all Plaintiff's doctors and psychologist, as well as the Federal Government, as Plaintiff was awarded
Long Tarm Social Security Disability. They conspired by allowing this wanton, torturous conduct to be

inflicted upon Plaintiff which is ongoing to date.

565. DOE, UFT, and alt individual Defendants of the UFT and SOE, conspired to allow DOE employeas
to take on the role of another GOE employee, and ta state on some documents the false title of that

employee, They conspired by allowing this wanton, torturous conduct to be inflicted upon Plaintiff which is

ongoing to date.

566. DOE, UFT, and all individual Defendants of tha OOE and UFT, conspired 10 allow Plaintiff's
husband ta be falsely arrested by Leinwand and, upon information and belief, Leinwand wrote a repart about
Plaintiff, Susan Tropeana, ta the School Safety Police. They conspired by allowing this wanton, torturous

conduct te be inflicted upoa Plaintiffs.

5, DOE, UFT, and all individual Defendants of the DOE and UFT, conspirad to conceal Leinwand’s
ten year history with the UFT, as she made other teachers’ lives miserable, as reported to Plaintiff hy
Cooper. They conspired by allowing Leinwand’s wanton, torturous conduct ta ba inflicted upon Plaintiff

which is ongoing ta date.

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6B. All Defendants conspired to mock and brazenly ignore Plaintiff's doctors and the Federal

governments’ long term Social Security disability granted to Plaintiff.

56S. DCE, UFT and individual Defendants of the UFT and DOE, conspired to pressure Plaintiff, to take a
leava without pay which would ruin Plaintiffs plight for justice. They conspired by allowing this wanton,

torturous conduct to be inflicted upon Plaintiff.

570. This conspiracy occurred as early as January 2002, as all Defendants conspired te deny Plaintiff

her excessing seniority.

afl. DOE, VET and individual Defendants of the UFT and DOE, censpired to allow incessant, repeated
violations to be heaped upon Plaintiff. They conspired by allowing this wantan, torturous conduct to be

inflicted upon Plaintiff which is anguing to date.

hiz. Their goa! is to make Plaintiff so sick of the overwhelming violations heaped upon her that she will
resign; or be so distressed from their numerous wanton acts that she will not be able to proceed with a

lawsuit.

ofa, As a direct and proximate result of the engagement in a civil and criminal conspiracy, of all
Defendants, Plaintiffs have sustained damages and irreparable harm, and will in the future continue to sustain

harm aad irreparable harm.

74. The extreme and outrageous acts of all Defendants are malicious, willful, and wanton, and justify

an award of punitive damages to Plaintiff .

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75. Beginning in at least in the year 2002 and continuing to present, as Gefendants continue to
canceat, mislead and misrepresent Plaintiff, Defendants conspired with one another to viclate the provisions

of 12 U.S.C. Section 1962, as set forth above,

576, During the relevant times, each Defendant, by words and conduct, knowingly agreed to commit the

aforementioned acts in violation of 18 U.S.C. Section 1962 and in furtherance of a common purpose as set

above.

677. Each Defendant agreed to facilitate the predicate acts set forth above with knowledge that their

acts were in furtherance of their pattern of racketeering activity.

578. As a resuit of the Defendants’ conspiracy to violate 18 U.S.C. Section 1962, Plaintiff was harmed

in her career and denied lack of funds, benefits due her, and property rights; such as her pension and TDA.

579, In furtherance of the conspiracy, Plaintiff's husband was harmed as thay defamed his good name

and reputation and as he suffers lack of consortium due to Plaintiff, Susan Tropeano’s stated injuries.

500. Additionally, Plaintiffs suffer severe lifestyle changes and financial hardships such as they canaot

take care of their medigal needs, as both Platntiffs cannot see doctors: as Plaintiff's husband was covered

under Flaintiff’s medical plan.

5B 1. Furthermore, they have incurred huge legal faes, and costs as aforesaid, As a result, Plaintiffs are
depleted of all funds, and live very precariously day by day. Plaintiff suffered frreparable harm, past and

present, which is angaing to date.

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TENTH CAUSE OF ACTION
INVASION OF PRIVACY
B82. DOE, and individual DOE Defendants, severely violated Plaintiffs as they unjustifiably intrude upon

Plaintiff privacy in many aspects; ane of which is her social security number blatantly circulated throughout

the entire DOE, UFT and who knows where else.
583. As a result, Plaintiff is a prime victim for idantity theft.

584. As mentioned above, this complaint incorporates many other aspects of Plaintiffs’ privacy being
intruded upon, as the DOE, and individual COE Defendants, publicized information and decumented information

that unreasonably places Plaintiffs in @ false light: which continues incessantly to date.

585. UFT, and individual UFT Defendants, ara an accomplice to these wrangfu! facts, as they recklessly
and deliberately ignored Plaintiff's pleadings ta initiate grievances against these wanton acts. As a resutt,

Plaintiffs sutter irreparable harm, past and present. which is ongoing to gate.

686, lt should be noted Plaintiff's husband applied for a joh when Leinwand unlawfully arrested him in
February 2004. Tha eharga was eradicated. However, before the charge was rescinded, Plaintiff could not

be hired as a result of Leinvand's unlawtul arrest charge.

ELEVENTH CAUSE OF ACTION
BANK FRAUD
{Federal Rico Against BOE, Leinwand, UFT
and all Individual Defendants of the UFT - U.S.C. 1344)
bg?, In March 16, 2004, Leinwand committed bank fraud pursuant to the Rico Violation U.S.C. Section
1344 which is a serious criminal offense. A guilty party can be fined up to $1,000,000 or imprisoned for

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not mora than 30 years, or both.

Gg. Leinwand and the DOE committed bank fraud as Leinwand and the DOE obtained unlawful custody
over Plaintiff's salary, by withdrawing Plaintiff's salary, which was originally deposited by the DOE inte

Plaintiff's personal checking accaunt.

589. The DOE took the directives from Leinwand, as Leinwand falsely claimed that Plaintiff exhausted

her sick days, and was not entitled to her salary.

590. Plaintiff had approximately 22 or more sick days left, and as a result, the salary was unlawtully
withdrawn from Plaintiff's account as directed by Leinwand, which was rightfully and lawfully Plaintiff's

money. The salary untawtully withdrawn covered for 10 days of her sick days: with 12 more sick days

remaining.

591. UFT and all individual Defendants aided and abetted the DOE's and Leinwand’s bank fraud as
Plaintiff immediately wrote numerous letter and made phone calls to the UFT, and all the individual
Defendants of the UFT: however they did net respond as the UFT and all individual Defendants of the LUFT,

abandoned Plaintiff.
97, The conduct of the DOE, Lainwand and the UFT, and all individual Defendants of the UFT, knew
and were very well aware of the bank fraud; however they chose to allow it to happen. They refused to

file an immediate serious grievance for Plaintiff as they arrogantly turned their backs on Plaintiff.

593. Leinwand and the DOE further committed hank fraud by unlawfully suspending Plaintiff's Direct

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Deposit as they schemed their best not to allow Plaintiff any more funds due her; as they knew Plaintiff had

remaining sick days, which are worth money, and would be paid in the futura through her Direet Deposit.

594. As a rasult, additional compensation was due Plaintiff by the DOE; howaver Leinwand and DOE
tried their Hest not to allow Plaintiff have ker funds that were rightfully and lawfully hers; by untawtully

suspending Plaintiff’s Direct Deposit. This is in violation of Federal Aico, Section 1344(2).
595, As a result Plaintiffs suffer irreparable harm, past and present, which is ongoing to date,

TWELFTH CAUSE OF ACTION
MA FRAUD
(Federal Rieo Against DOE, Leinwand, UFT
and all Individual Defendants of the UFT - 18 U.S.C. Section 1241)

HOG. All Defendants committed mail fraud. Mail fraud was committed by sending letters to Plaintiff
expasing her to chilling, frightening, unlawful procedures for her to participate in; which violated Federal,

State, Education Laws and the Collective Bargaining Agreement.

597. Many of these letters arrived at Plaintiff's home via certified mail and by official mail, as the

mailman incessantly rang Plaiatiff’s doorbell alarming her with this mail.

598. There are other countless ieiters Plaintiff possesses which constitutes mail fraud. Some of the

latters include:

al In March 2, 2004, Lavin sends a letter to Plaintiff infarming her that she is insubordinate
when she does not show up at a meeting as Plaintiff was absent that day as a result of being ill.

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b} In March 2, 2004, Lavin suspends Plaintiff although she does not have tha authority to do

$0.
c) so In March 12, 2004, Leinwand suspends Plaintiff's Direct Deposit.

d) In March 30, 2004, Leinwand informs the Medical Bureau that Plaintiff spoke to parents.
aimest iden cod
Meopy of this letter was sent by Lavin to Plaintiff. Plaintiff has a right to speak te parents. Lavin violated
the first amendment. Additionally, Lavin has no right to send a letter to the Medical Bureau that Plaintiff

spoke to parents. Speaking to parants is a constitutional right. It has nothing to do with medical.

el In March 30, 2004, Lavin further states and writes to the Medical Bureau that she sent,
"Mrs, Tropeano a summons letter requesting that she meet with me to discuss this matter. She responded
via faxed letter to Mrs. Leinwand that she would not attend this meeting as she is "... compellad by my
doctors not to be subjected ta any more employment induced stress..." Lavin fraudulently ignores Plaintitt's
doctor's orders and the summons letter was not to discuss tatking to parents. It was about continuing the
conversation with Plaintiff withaut UFT representation, regarding Lavin's incessant questions to Plaintiff, as

she questioned, "Are you sick? Are you well? Are you sure you're not sick? Are you sure you're well?”

fi In March 271, 2005, Marino informs Plaintiff in a letter that she is on a continued

unauthorized leave.

Ffeom Lelmuward s
o} In an undated disciplinary fatter mailed to Plaintifé's home, the same day, Plaintiff receives
“

Lavin’s March 30, 2004 letter, Leimwand reprimands Plaintiff, as well, for talking to parents. She states, “l
find your behavior unprofessional in that you contacted the homes of children within a school that you ara no

L1L5

 
longer assigned to work and communicated messages to those families whith were inappropriate ard
inflammatory.” Plaintiff informed parents the facts that occurred as sha was close with the chitdren and

many parents. The parents expressed their sincere sympathy to Plaintiff; and informed Plaintiff they wilt

wiite letters for her if needed. Like Lavin, Leiawand violated Plaintiff's constitutional rights.

h} = As @ result of the above letter, Lainwand informs Plaintiff that “Dr.” Lavin has reassigned
Plaintiff and therefore informs Plaintiff that sha “should not have any reason to utilize any of the personal
information you may possess regarding the students at P.S. 66. Leinwand further states, "l am directing you
to ceasa and desist from any further communication with any of the farnilias of PS. 66. Your

unprofessional behavior will aad to an unsatisfactory rating and further disciplinary charges,”

ij In or about June 2004 the original OP 198's medical documents required by the DOE for
Plaintiff and her psychologist, to fill out and subnit; were returned by mail to Plaintiff with significant white-
outs, Additionally, identical OP 98's ware returned with important information omitted or conflicting facts

on the exact OP 198°.

in ao let rer
i) In October 2004, Roth informs Plaintiff, she fs on an unauthorized leave and a leave without

pay.

7] In March 31, 2005, Judy Nathan, a DOE attornay, writes a letter to Plaintiff stating, "I
have determined that the nature of the charges against you require your immediate suspension. However,
since you are currently on an unauthorized leave of absence, pursuant to Education Law Section 3020-a,
upon your return from said leaya, you will be reassigned to administrative duties.” This latter was in

reference to the "second" unlawful suspension. Plaintiff never returned to school to be suspended again.

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}} Furthermore, a DOE attorney cannot suspend @ teacher; only the Superintendent, who is
Cashin, can suspend a teacher. Additionally, Judy Nathan alarms Plaintiff as shea damoralizes Plaintiff as if

she was a criminal ar a misfit to society. To add insult on top of injury, Judy Nathan's letter exploits

Plaintiff by exposing her social security number.

ms In March 29, 2005, Bey, Community Superintendent, mails charges to Plaintiff exposing
Plaintiff ta an unlawful 3020-a although she never returned or worked in tha school year of 2004-2008.
One of the charges Bey lists for Plaintiff's 3020-a fs excessive absences. Bey very well knows Plaintiff and
ner psychologist religiously submit, to date, all the proper medical documentation required by the OOE plus
her award ietter that Plaintiff is collecting Lang Term Social Security Disability as of February 13, 2004, the
day Plaintiff suffered her Line of Duty Injury. Plaintiff was cleared of all false disciplinary charges in July

2004, and given a preference sheet on May 2004 for the school year 2004-2005, as to what she wants to

teach.

nt so Jn March 2005, Marino sent a letter to Plaintiff as sha informs Plaintiff she is on a
continued unauthorized leave, very well knowing Plaintiff and her psychologist religiously submit, to date, the
all the proper medical documentation, required hy the DOE. Additionally, Plaintiff submitted :-- - =! her

award letter to the DOE and Marino: which shaws she is collecting Long Term Social Security Disability as
of February 13, 2004, the day Plaintiff suffered her Lina of Duty Injury,

o}{In May 2005, Sandner writes Plaintiff a letter violating Section 3020-a Education Law.

p) In August 2005, Mr. Salomon reprimands Plaintiff in a letter, that if she is not cooperative,

he will withdraw the Special Complaint.

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qi) ss Mir. Roth informs Plaintiff in a letter that she is prahibited to come to the UFT office as he

was informed by her past attarnay of this fact.

99.

The list of mail fraud continues incessantly as Plaintiff has at least 75 letters or more, to

enstitute mail fraud.

600.

601,

602.

03.

B04.

Defendants committed mail fraud pursuant to 18 U.S.C, Section 1341

The Defendants participated in a scheme cr artifice to defraud,

The Defendants had a specific intent to defraud.

The Plaintiffs were deceived as a result of the scheme ar artifice to defraud,

The mail was used in furtherance of the scheme to execute ar attempt to defraud and{or to

execute the scheme or artifice to defraud.

605.

THIRTEENTH CAUSE OF AGTION
Wire Fraud
(Federal Rico Against All Defendants}
(Federal Rico Against DOE, Leinwand, UFT and all
individual Defendants of the UFT - 18 U.S.C. Section 1343)

There are countless conversations via telephone which constitute wire fraud. Some of the

conversations are as follows:

a} NYSUT, DOE, UFT and all individual Defendants of the DOE, UFT and NYSUT violate Section

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$020-a Education Laws and Section 2568 Education Laws, via telephone conversations.
hy} The title of Section 2586 Education Law was tampered by the DDE, via fax.

ch In February 2005 - March 2005, Cooper informed Plaintiff, via telephone by leaving two {2}
messages, "We are diligently working on all your grievances. The Grievance Department is putting the
numbers on all your griavences. Susan, | haven't forgotten about you. | will call you when they are ready.”

Fifteen (15) months later, no griavances were made except one unlawful one.

dl} In or about April 2005, Soloman informs Plaintiff, via telephone, to meet with him. He
arrogantly informs Plaintiff that he doas not know if he can help Plaintiff, but he will finalize all issues once
and for all. He further arrogantly stated to Plaintiff that she thinks everyone is against her, that is, the
union and the DOE,

Vii. betephond-

e} In February 2006, Roth infarms Plaintiff,that the DOE will not allow Plaintiff to grieve her
letters. He informs her of this fact, after the new contract was initiated. Plaintiff pleaded with the UFT in
Rumerous letters written ta them, to grieve her letters two years ago, in February - March 2004, He further

stated, "DOE has all the power, if you don't accept disability retirement you may wind up with nothing.”

i} In May 2005 Schainman’s secretary called, via telephone, Plaintiff's home, torturing and
harassing Plaintiff that she must attend the unlawful 3020-a. Scheinman brazenly refused to take no as an
answer from Plaintiff as she informed him by letters and voice mail to stop harassing her at home with the

chilling procedures he is inflicting upon her.

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gi «= In duly 2005, Scheinman faxes a letter to Plaintiff's homa unlayfully cancelling the unlawtul

3020-a until an untawful FIVE HOUR exam which is unawtully ordered by Lavin is completed,

h} in or about February 2006, Cashin informs Plaintiff via telephone she wants to help her.
An appointment was made, but shortly cancelled, never to be made again, as Cashin deserted and deceived

Plaintiff as Plaintiff believed Cashin would help her.

i} In or about February - March 2006, Cooper informs Plaintiff via telephone, once again, that
the UFT is working on her grievances. Cooper informed Plaintiff sha is working an the white-outs of her
medical documents, Sha informed Plaintiff sha will call her shortly, [It is now May 2006. Cooper naver

contacted Plaintiff, as it’s just words. UFT deceives, defrauds and teasas Plaintiff.

i) In May 3, 2008, Procida defrauds Plafatiff, via telephone, that although Plaintiff has been
granted long term Social Security disability, the DOE Medical Bureau does not have to agree with the Federal
government's determination that Plaintiff cannot work. The DOE Medical Bureau can disagree with the

Federal government and make thetr own determination.

k} Upon information and belief, numerous telephone conversations were made between the
Defendants, as many of the Defandants Plaintiffs spoke to, all reported the identical pattern of unlawfulness
to Plaintiffs.

in Mey Dy 209%)

I} Futhermore, Pracida informed Plaintiff, via telephone, "Wa are not planning to give you
leaves with pay. We are trying our best to give you a leava without pay; however, it's very difficult as you
have an outstanding 3020-a." Her statament is outrageous and extreme as tha UFT abandoned Plaintiff and

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never pursued Plaintiff's outstanding 40+ grievances which would eradicate the unlawful 3020-a.
606. The Gafendants participated in a scheme or artifice to defraud.

B07. The Defendants had a specific intent to detraud.

608. The Plaintiffs were deceived as a result of the scheme or artifica ta defraud.

609, The wiawas used in furtherance of tha scheme to execute or attempt to defraud andjor to

execute the scheme or artifice to defraud.
610. As previously mentioned, the telephona conversations consisting of fraud are endless. There are
many faxes as well to constitute wira fraud, one of which is the unlawful medical evaluation, from

Leinwand, faxed te the medical bureau.

611. The predicate acts referred to above were related, in that all Defendants shared the common

purpose, result and victims with regard to scheme ta deprive the Plaintiff her civil and constitutional rights.
612. The Defendants committed wire fraud pursuant to 18 U.S.C. Section 1343.

613. The Defendants participated in the scheme or artifice to defraud.

614, The defendants had a specific intent to defraud.

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615. The Plaintiffs wera deceived as a result of the scheme or artifice to defraud.

616. Tha wires were used in furtherance of the scheme to execute or attempt ta defraud and to

execute the scheme or artifice to defraud.
ely. As a result, Plaintiffs suffered irreparable harm, past and present, which is ongeing to date.

FOURTEENTH CAUSE OF ACTION
Extortian

(Federal Rico Agsinst All Defendants)

618, DOE, WET, NYSUT and all individual Defendants of the DOE, UFT, and NYSUT are guilty of

extortion.

619, In March 2004, Lainvand unlavfully authorized New York City Payroll to withdraw Plaintiff's

salary from her personal hank account. Plaintiff had sick days to sover for her salary.

670, In March 2004, Leinwand placed Plaintiff on an unlawful, unauthorized leave, after one week of

being absent: although Plaintiff called the school daily reporting her illness.

621. Additionally, in February 2004, Plaintiff wrote a letter to Leinwand and Lavin explaining the

reasons for her absence.

622. In February 2004, DeFazio, Plaintiff's psychologist wrats a letter to Leinwand explaining the

reasons for Piaintiff’s absence.

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823. However, to date, Leinwand and the DOE, LUFT and all individual Defendants of the QOE and UFT,

ignore all medical dacumentation and unlawfully placed Plaintiff on an unlawful unauthorized leave which

continues to date,

624, The illegal unauthorized leave robs Plaintiff of all her property rights as she is stripped of all

compensation, health and welfare benefits, pension and TOA, for two {2} years, three {3} months.

625, In March 2004, Leinwand and DOE suspend:. Plaintiff's Direct Deposit. Plaintiff is the only person

who can authorize suspension of her Direct Deposit.

B26. It should be noted, Leinwand and DDE unlawfully suspended Plaintiff's Direct Deposit as they

schemed the best possible way for Plaintiff aot ta receive any more funds due her,

G27. In March 2005, Marino reinforces and continues Leinwand’s unauthorized leave, very well knowing

that all the proper medical decumentation required by the DOE is submitted religiously, ta date.

628. Additionally, Marino is very well aware that Plaintiff was awarded Long Term Social Security

Disability on February 13, 2004, tha day her Line of Duty injury began.

629. In March 2005, Bey reinforces the unauthorized teave by charging Plaintiff with excessive

absences as she is very well aware, as well, that Plaintiff submitted all the proper medical documentation.
630, Additionally, Bey is aware that Plaintiff was awarded Lang Term Social Security disability.

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631. To data, NYSUT, UFF and all the individual Defendants of NYSUT and UFT, are aware of the
above, and offer no reliaf far Plaintiff, but rather subject Plaintiff to chilling, unlawful procedures as UFT,

NYSUT and DOE conspired to severely violata and abuse Plaintiff while simultaneously denying her property

rights under 42 U.S.C. Section 1983.

G32. All Defendants are engaging in extortion “under color of official right," as they are essentially using

the government powers with which they fave been trusted to gain oersonal or flegitimate rewards,

fig. In essence, DOE, UFT, NYSUT and all individual Defendants ara conspiring and scheming not to
only deny Plaintiff her property rights, but alse to place her on heavy fines and debts owed to the DOE as

explained previously in this lavysuit.

Bad. All Defendants are victimizing Flaintifé so that their unlawful, wanton act are never discovered.
Thus they use Plaintiff as their smakescrean; as thay hide behind Plaintiff and exploit her, constantly

throwing darts at her to cover-up for their unlawfulness. As a result, Plaintiffs suffer irreparable harm, past

and present, which is ongoing, ta date.

FIFTEENTH GAUSE OF ACTION
ENBEZ#LEMENTIRACKETEERING
(Federal Rico Against All Defendants)
635. The OOE, and ail individuat Defendants of the DOE, fraudulently robbed Plaintiff of alt her property
rights which include her compensation, health and welfare benetits, TDA and pension. Plaintiff's pension was

placed in an unlawful dummy account, which means she is not allowed to use or touch her pansion as a

result of the unlawful, unauthorized leave, first placed by Leinwand and reinforced by Marino.

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636. Additionally, the DOE refuses to give Plaintiff the proper leaves she is rightfully and lawfully
entitled to; which is @ medical sabbatical, followed by a line of duty injury leave, Both these leaves entitles

a teacher te compensation, full medical and welfare benetits, pension and TDA intact; growing and accruing

interest.

G37. Instead, as stated above, all Defendants recklessly and deliberately schemed to placa Plaintiff on

an illegal unauthorized leave for over twa (2) years, thus leaving Plaintiff robbed of all her property rights.

B38. All Defendants are very well aware Plaintiff fs on Long-Term Socfal Security disability; as a result

of all the unlawfuiness involved and racketeering which is ongoing for two (2) years, three (3) months.

639. This is a prima facie case, as the Federal Government grants Plaintiff compensation,-fiowever tha

DOE, UFT and all individual Defendants rob Plaintiff by refusing to give Plaintiff what she is lawfully entitled

to.
640. As a result, all Plaintiff's monies and benetits are being unlawfully possessed by the DGE.
641, To add insutt to injury, the Defendants deliberately and recklessly forced Plaintiff to taka a Ioan

from the DOE,

642. Additionally, if Plaintiff partisipated in the chilling, uniawéul procedures schemed by the Defendants,

she would be further severely abused by being unlawfully terminated, or in further debt to the DOE by having

heavy fines unlawfully placed upon her.

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643. These patterns of racketeering by the DOE, UFT, NYSUT and all individual Defendants of the GOE,

UFT and NYSUT, caused Plaintiffs itreparable harm, past and present, which is ongoing, to date.

SIXTEENTH CAUSE OF ACTION
Neglinent Retentian

City of New York
644, DOE, Klein, NYSUT, UFT, Weingarten, Chess and Cashin are held responsible for allowing UFT,
NYSUT, and OOE and individual Defendants of DOE, NYSUT and UF7, to conspire ta perform wanton acts

against Plaintifts.
645. Thay recklessly and deliberately disregarded Plaintiff's plight for justice.

646. They racklessly and deliberately violated Federal laws, State laws, State Education laws and the
Collective Bargaining Agreement,

DOE, City of News York,
B47. As a result Klein, NYSUT, UFT, Weingarten and Chess and all individual Detendants were well
aware these outrageous acts were being committed, and permitted it te continue incessantly, to date,

causing irreparable harm to Plaintiffs, past and presant, as it eentinues thus far for two (2) years, three (3)

months.

G46, As a result, the above Oefendants are held responsible for these extreme acts performed upon

Plaintiff as the above employees and entities are held liable for their barbarie acts.

SEVENTEENTH CAUSE OF ACTION
Defamation

649. Alt Defendants committed defamation, as Piaintiffs’ good names and reputations have been severely

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damaged. Plaintiff, Susan Tropeano’s career was unlawfully destroyed, ag all Defendants tried to exposure

her to chilling, unlawful procedures as if sha was a mistit ta society.

G50. UFT, NYSUT and all individual Defendants of UFT and NYSUT, reinforced and promoted defaming
Plaintiffs as they refuse te caasa and control the wanton acts of the DOE, and all individual Defendants of

the DOE, As @ result, Plaintiffs suffered irreparable harm, past and present, which is ongoing, ta data.

FIFTEENTH CAUSE OF ACTION
Embarrassment

651. All Defendants embarrassed Plaintiffs by infiicting upen Plaintiffs demoralizing tactics that only a

misfit or a criminal should be exposed to. Plaintiffs are respected, moral United States citizens.

652, UFT, NYSUT and individual Defendants of the UFT and NYSUT, reinforced and promoted the
embarrassment as they refuse to caase and control the wanton acts ef the DOE, and all individual

Defendants of the OOE. As a result, Plaintiffs suffered irreparable harm, past and present, which is ongoing

fo data.

EIGHTEENTH GAUSE OF ACTION

653. All Defendants committed humiliation as they disgraced Plaintiffs in public. Plaintiff, Susan
Tropeano, was mocked and abused in front of children, parents, school personnel and teachers. Plaintitt,
Joseph Trepeano, was mocked and abused in front of school staff, as well, as Leinwand schemed to destroy
his good name and reputation by falsely arresting him which further humiliated Plaintiff, Susan Tropaano, in

the prasence of her colleagues an¢ school persannel.

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654. UFT and NYSUT reinforsed and promoted the humiliation of Plaintiffs, as they refused ta cease and

control tha wanton acts of the DOE, and all the individual Defendants of the DOE. As a@ result, Plaintiffs

suffered irreparable harm, past and present, which is ongeing to date.

NINETEENTH CAUSE OF ACTION
Civil and Criminal Liahility (Joint Liabilit

 

655, All Defendants are responsible for criminal and civil liability and detfherately and recklessly

performed numerqus wanton acts upon Plaintiffs.

656. UFT and NYSUT, and all individual Defendants of the UFT and NYSUT, reinforced and promoted
the DOE and individual Defendants of the DOE to perform these wanton acts as they refuse to cease and
control the wanton acts performed by the DOE and all the individual Defendants of the DOE. As a result,

Plaintitts suffered irreparable harm, past and present, which is ongoing to date.

TWENTIETH CAUSE OF ACTION
Lihe!

bs, All Defendants committed libel as there are numerous false, unlawful printed material concerning
Plaintiffs as ail Dafandants recklessly and deliberately disregarded Plaintiffs as they intentionally wanted to

hurt the reputation and good name of Plaintiffs.

B58. UFT, NYSUT, and all individual Defendants of the UFT and NYSUT, also contributed to libel, as

they published false, unlawful printed materfal regarding Plaintiff.

658. Additionally, they reintorced and promoted libel to continue by tha DOE: as they refused to cease

and control it, but rather aided and abetted the DOE and DOE Defendants. As a result, Plaintiffs suffered

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irreparable harm, past and present, which is ongoing to date.

TWENTY-FIRST CAUSE OF ACTION
Racklessnoess

660. All Defendants ara held respensible for their reckless conduct as they consciously saverely
disregarded Federal, State, State Education Laws, Civif and Constitutional Rights, and the Collective

Bargaining Agreement, causing Plaintiffs irreparabla farm, past and present which is ongoing, to date,

TWENTY-SECOND CAUSE OF ACTION
Retaliation and Violation of

Canstitetional Rights

661. All Defendants are held responsible for their retaliation and severe violations of Constitutional
Rights inflicted upon Plaintiffs which is engaing to date, Defendants violated the first amendment, fifth

amendment and fourteenth amendment. This caused Plaintiffs irreparable harm, past and present which is

ongoing, to date.

TWENTY-THIRD CAUSE OF ACTION
Infringement of the Right te Complain
About Personnel Action
GB. Plaintiff had an absolute right to complain about her first period preps to Leinwand, as it was pot

fair and equitable. As a result of Plaintiff's complaining about her unfair schedule, Leinwand went on a

rampage to destroy Plaintiff's career, health and finances ... in essence her fife.

BBS. The OOF, UFT, N¥SUT and all individual Defendants of the DOE, NYSUT and UFT, reinforced
Leinwand's violations as they initiated a pattern of racketeering for at least four (4) years against Plaintiffs,

causing Plaintiffs to suffer irreparable harm, past and prasent, which is ongoing to date.

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TWENTY-FOURTH CAUSE OF ACTION
Savera Physical and Physiological Trauma

fb4, Plaintiffs and their families, are constantly under physical and physiological trauma as the pattern

af conspiracy and racketeering against Plaintiffs never ceases, as it is ongoing to date.

665. Plaintiff, Susan Tropeano, developed very high blood pressure, rapid heart beats, cold sweats,
insomnia, nightmares, blurry vision, severe anxiety, tremors, extreme nervousness, nausea, numbness in

axtremities, severe headaches, stomach aches, savere anxiety, nightmares, axhaustion, faintness and breathing

problems.

666. Plaintiff, Joseph Tropeano, experiences many of the same ailments as well. This caused Plaintiffs

irreparable harm, past and present, which is ongoing to date,

TWENTY-FIFTH CAUSE OF ACTION
Savara Psychological Trauma and Distress

tran }
667. Plaintiff, Susan Tropeano, suffered and suffers severe psychological, harm and damages, as a result
of the wanton conduct of the Defendants as their pattern of racketeering continues, which resulted in

Plaintiff receiviag Long Tarm Social Security Disabitity from the Federal Government.

5G8. Plaintiff, Joseph Trapeano, is also affected psychologically, as ne human being living in modern

America should be exposed to such corruption.

TWENTY-SIXTH CAUSE OF ACTION

Severe, Torturous Harassment

665. As a result of the wanton acts of all the Oefendants and thair incessant pattern of racketeering,

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Defendants have inflicted upon Plaintitfs severe, torturous harassment which caused irreparable harm, past

and present, which is ongoing ta date.

TWENTY-SEVENTH GAUSE OF ACTION
Severe Financial Hariship

G70. As a result of tha wanton acts of all the Defendants, and their incessant pattern of racketeering,

Plaintiffs are undergoing severe financial hardship as Plaintiff, Susan Tropeano, was making aver $70,000.00

yearly,

671. It’s extremely difficult to live on one salary, which is not always full-time, and social security

disability which pays a triskla af money.

672. Plaintiffs were covered with full medi¢al and dental benefits under Plaintiff Susan Tropeano’s

medical and dental benefits.

673. With the unlawful loss of Plaintiff's compensation and medical kenefits, Plaintiffs cannot afford to

see doctors to take cara of their health.

G74. Piaintiff needs her health benefits reinstated, as she is suffering from serious physical ailments

brought on by the Defendants’ wanton acts. This caused Plaintiffs irreparabla harm, past and present, which

is ongoing, to date.

G75. Plaintiff needs copmensation and benefits from the DOE as a result of Leinwand and Lavin creating

a severe hostile work environment for Plaintiff making Plaintiff permanently severely ill, Plaintiff needs her

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retirement replenished by the DOE so she can retire with full retirement benefits as she has approximately,

to date, three more years before retirement age.

TWENTY-EIGHTH CAUSE OF ACTION
Severe Lifestyla Changes

676, Due to the unlawful acts of all Defendants ceplating Plaintiff of her salary and all her medical and

dental henafits, Plaintiffs live very precariously day by day, not knowing if they will be able to pay their high

bills.

Bre, 4g a result of Defendants’ wanton acts, Plaintiffs for the first time in their lives ara faced with

debts; for lack of funds, causing Plaintiffs irreparable harm, past and presant, which is angaing to date.

678. Plaintiffs degleted their savings to attorneys that aided and abetted the DOE, UFF and NYSUT, and
all the individual Dafandants of the UFT, DOE, and NYSUT. As a result, thesa attorneys refused te seak
relief for Plaintiff, as Plaintiff is living without relief from the DOE for two (2) years, three (3) months,

causing irreparable harm, past and present, which is ongoing te date.

TWENTY-NINTH CAUSE OF ACFION
Torturaus Interference with Contractual Relations

 

 

avs. Defendants of the DDE and especially Leinwand and Lavin, volawtully interfered with UFT, NYSUT

and all the individual Defandants of the VFT and NYSUT, to deprive Plaintiff of her rights pursuant to the

Collective Bargaining Agreement.

630, As a result, the UFT and NYSUT were protecting the unlawful acts of Lavin and Leinwand, as the
UFT, NYSUT and all individual Defendants of UFT and NYSUT refused to do any grievances for the Plaintiff,

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causing Plaintiff irreparable harm past and present, which is ongoing ta the present.

THIRTIETH GAUSE OF ACTION
Individuel Rights Under City, State
and Federal Law
681. As a result of the numerous everwhelming violations heaped upon Plaintiff, as the pattern of

racketeering continues, Defencant violated and denied Plaintiff her civil and individual rights under City, State

and Federal faws causing Plaintiff irreparable harm, past and present, which is ongoing to present.

THIRTY-FIRST CAUSE OF ACTION
Unfair Labor Practices

682. All defendants are held responsible for unfair labor practices as their pattern of racketeering
continues as they arrogantly refused to use the Collective Bargaining procedures when it concerned Plaintiff,
as the UFT abandoned Plaintiff by blatantly refusing to initiate grievances. The one and only grievance that
was initiated was grossly unlawful and did not follow the procedure, rules or protocols of a grievance as
outlined in the Collective Bargaining Agreement. As a result, UFT, NYSUT, OOF and ail individual Defendants
of UFT, DOE and NYSUT severely breached its contract and agreement with Plaintiff by failing to support,
represent and assist Plaintiff in her continued plight with the DOE and the City of New York concerning,

inter alia, benefits and entitlements lawfully due Plaintiff.

THIRTY-SECGND CAUSE OF ACTION
Violation of State Education Laws

683. As a result of the numerous overwhelming violations of State Education Laws heaped upon Plaintiff
by all Defendants as their pattern of racketeering continues, Plaintiffs suffered irreparable harm, past and

present, which is ongoing to date.

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THIATY-THIAD CAUSE OF ACTION
Doctrine of Respondent Superior
684, Due to the actions of DOE and the individual Defendants of the DOE and the City of New York are

liable and aceountable to the doctrine of respondent superior, causing irreparable harm to Plaintiffs, past and

present, which is ongoing to dete.

THIRTY-FOURTH CAUSE OF ACTION
Stated Injuries
Loss of Consortium Due to Stated Injuries
G85, Plaintiff, Joseph Fropeanc, has had to endure a foss of consortium. He has not been able to
engage in many of the activities and interactions that a husband should be abla to have with his wife due to

the injuries Plaintiff, Susan Tropeano, has encountered herein, causing irreparable harm to doth Plaintiffs, past

and present, which is ongsing to date.

THIATY-FIFTH CAUSE OF ACTION
Sovara Apprehension

596. Plaintiffs have suffered severe stress, severe anxiety and severa apprehension due to the wanton
acts performed by all Dafendants as their pattern of racketeering continues causing ireparable harm, past

and present, which is ongoing to date.

THIRTY-SIXTH CAUSE OF ACTION
Gross Negligence

Boy, All Defendants ara grossly negligent when it concerns Plaintiffs as they continue incessantly their
pattern af rackateering performing numerous wanton acts. As a result, Plaintiffs suffered itreparable harm,

past and present, which is ongoing to date.

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THIATY-SEVENTH CAUSE OF ACTION
Criminal Negligence

688. All Defendants committed criminal negligence as their wanton conduct has caused severe life-

threatening medical conditions not only ta Plaintiffs, hut to Plaintiffs’ families as well.

689, All members of Plaintiffs’ family were in goed health befora Defendants censpired to destroy

Plaintiff, Susan Tropeano’s career, health and finances.

690. Bacause Defendants’ pattern of severe unlawfutness continued incessantly for such a tong period of

time, Plaintiffs and their families are suffering heatth ailments which are life-threatening.

691. Furthermore, all Defendants mock and brazenly igaora Plaintiff's doctors and the Federal

governments long term Social Security disabilty granted to Plaintiff.

892. As a result, Plaintiffs and their families suffar irreparable harm, past and present, which is ongoing

to date.

THIRTY-NEINFH CAUSE OF ACTION
Reckless Endangermant

693. All Dafendants committed reckless endangerment as they recklessly engage in wanton conduct that

created serious physical injuries to Plaintiffs and their families.

694. All members of Plaintiffs’ famiiy were in good health befora Defendants conspired to destroy

Plaintiff, Susan Tropeano’s career, health and finances.

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695, Beeause Defendants’ pattern of savere unlawfulness continued incessantly for such @ long peried of

time, Plaintiffs and their families are suffering very serous health eilments which are {ife-threatening.

596. Additionaly, all Defendants brazenly ignore and mock Plaintiff's doctors and the Federal

gaverament’s long term Social Security disability granted to Platntitt.

6g7, As a result, Plaintiffs and their familias suffered irreparable harm, past and present, which is

ongoing ta date,

FORTIETH GAUSE OF ACTION
Tampering with Eviderce

698. Official documents consisting of seniority documents, medical documents and the title of an
official law were tampered by the DOE and individual defendants of tha DOE; as they deliberately and

racklessly intended ta cause Plaintiff's irreparable harm, past and present which is ongoing to date.

G99. UFT, NYSUT and all individual Defendants of the UFT and NYSUT, are very well aware that these

documents ara tampered with: as Plaintiff incessantly pleaded with the UFT to file a grievance regarding the

serious tampering of these documents.

700. As a result, af the above wanton acts performed by the UFT Defeadaats, abandoning Plaintiff, they
aided and abetted the DOE and the individual Defendants of the DOE, as thay intentionally and recklessly
disregarded Plaintiff‘s pleadings to file grievances on her behalf but rather promoted the tampering to take

place.

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FORTY-FIRST CAUSE OF ACTION
Misuse and Abuse of Designatad Official Roles

701. All Defendants abuse their rola by not adhering to the Collective Bargaining Agreement, Stata

education laws, Federal laws and State laws.

702. Additionally, some DOE Bafendants, misuse thet roles as they take it upon themselves to usurp
their powers by playing the role of a different administrator or to falsely claim to be a certain administrator,

which in actuatity, they are not the administrator they claim ta ba.

. . Heathen,
703. The parties responsible for these wanton acts are Leinwand, Lavin, Cashin and the individual Rita

Guaramita.

704. FT and NYSUT and all individual Gefendants of the UFT and NYSUT are accomplices to the

wanton acts as they refuse to grieve this unlawfutness but rather promoted it to continue.

705. Additionally, UFT, NYSUT and individual Cefencants of UFT and NYSUT misuse and abuse their
roles as they fail to fairly represent Plaintiff pursuant to the Collective Barganinng Agreement. They

recklessly and deliberately conspire with the DOE and all OOF Defendants not to represent Plaintiff on her

behalf as they abandoned Plaintiff.
706. As a result, Plaintiffs suffar irreparable harm, past and present, which is ongoing to date.

FORTY-SECOND CAUSE OF ACTION
Embezzlement from Pension and Welfare Funds

Against all Defendants
Federal Rico 18 U.S.C. Section 654

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707. All Defendants commimitted embezzlement from Ptaintiff’s Pension and Welfare Fund as they da
not allow Plaintiff to touch her pension money. Rather, her pension is placed in a dummy account, as a

result of Leinwand's unlaywfull, unauthorized leave reinforced by Marino which continues incessantly to date,

for two {2} years three (3) months.

708. Furthermore, all Plaintiff's pension contributions hava bean unlawfully terminated due to Leinwand's

unlawful, unauthorized feave which is angong to date, for two (2) years, three (3) months.

709. Additionally, Plaintiff's Welfare Fund was unlavvfully terminated as a results of Leinwand’s

untawful, unauthorized leave, reinforced by Marino which continues incessantly to date, for two {2} years

threa (3) months.

710. All Defendants are very wall aware of their wanton acts as they refuse to stop the embezzlement
of Plaintiff's Pension and Welfare Fund as Plaintiff wrota numerous letters pleading to eradicate Leinwand’s
unauthorized laave se that Plaintiff's pension would be made whole again, As a result, Plaintiff suffered

irreparable harm, past and prasent, which is ongoing to date.

FORTY-THIAD CAUSE OF ACTION

Obstruction of Justice
Federal Rico Against all Defendants - Section 1503

711. All Defendants committed obstruction of justice as they deprive Plaintiff of life, liberty and

property rights without due process of law.

7i2. UFT, DOE and all individual Gefendants of UFT and GOE refuse to fairly represent Plaintiff as they

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do not pursue Plaintiff's outstanding 40+ grievances pursuant to the Collective Bargaining Agreement.

713. Additionally, ali Defendants heap upon Plaintiff overwhelming violations of state laws, federal laws,

state education laws and the Collective Barganining Agreement.

714. Furthermore, all Gefendants heap upon Plaintiff chilling, wolawful procedures which they recklessly
and intentionally scheme incessantly as they are trying to have Plaintiff participate in unlawtul, chilling

procedures whieh continues incessantly to date.

715. Additionally, DOE attarey perjured himself at Perb Court, Plaintiffs reported perjury to the Perb

Judge. He respanded, “Qan't worry about it."

716. All Defendants were vary well aware of their wanton acts. As a result, Plaintiffs suffered

irreparable harm, past and present, which is ongoing to date.

FORTY:-FOURTH CAUSE OF ACTION

Fraud in Connection with Identification Documents

Federal Rieo Against all Defendants
18 U.8.6. Section 1028

li. All Defendants committed fraud pursuant te 18 U.S.C. Section 1028 as certain documents of
Plaintiff's were tampered with. These include excessing seniority, Medical OP 198's, School Profiles; Status

Reports, and an exhibit whereby the title of a law was changed.

718. Additionally, fraud was cited in Article 73 legal documents and Perk legal documents, as well as

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an Affidavit of Service by the DOE.

719. Furthermore, DOE, WFT, NYSUT and all individual Defendants of the UFT, DOE and NYSUT

defrauded the Cellectiva Bargaining Agreement, State education laws, as they cited fraud in letters written to

Plaintiff.
720, In February to March 2094, Lavin and Leinwand sited fraud in numerous letters addressed te
Plaintiff.
7?1. Additionally, Leinwand cited fraud in her document “Medical Evaluation, Susan Tropeano” from

Phyllis Leinwand dated May 2004,

723, UFT and individual Defendants of the UFT cited fraud in many letters addressed to Plaintiff.

723, DOE Medical Bureau cited fraud in many letters addressed ta Plaintiff which is ongoing.

724, la March 7005, Marino cited fraud in a latter addressed to Plaintiff.

725. In May 2005 Sandner cited fraud in letters addressed to Plaintiff.

726, From February to June 2005 Leinand committed fraud on OP 198 medical forms as she wrote fine

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of duty injury is unsubstantiated, Medicat Buccou whiked owt this information

727. Plaintiff possesses countless documents of fraud initiated by Defendants, too lengthy to list all,

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including numerous audio recordings and photographs.

728. All Dafendants are very well aware of their fraud cited in documents as Plaintiff pleaded with the
UFT to initiate grievances in order ta eradicate this fraud. However, they recklessly and deliberately ignored

Plaintiff’s numerous pleadings. As a result, this caused Plaintiffs irreparable harm, past and present, which

is ongoing to date.

CLAIMS FOR RELIEF
Wherefore Plaintiffs demand judgment (relief) against all Gafendants for each cause of action,

consisting of forty-four (44) causes of action.

A, Additionally, Plaintiffs demand for each Rico cause of action (extortion, embezzlement, racketeering,
bank fraud, mail and wire fraud, civil and criminal conspiracy, embezzlement from pension and welfare funds,
obstruction of justice, and fraud in connection with identification dacuments}, compensatory and punitive
damages, treble damages, all previous attorneys’ fees, filing fees, costs and disbursements with interest,
present filing fees, costs and disbursements with interest, provided by statute, and such other relief as the

court may deem fair and equitable resulting from Rico violations.

BE. Plaintiff further damands her pension account to be replenished by the DGE with addittonal service
credit, which was given to all teachers; as per tha new contract, which commenced 2006, and to rectify

monies and interest loss from her pension account as the DOE severely mishandled her pension; with

additional interest returned.

C. Additionally, the DOE and Leinwand placed Plaintiff on an unlawful unauthorized laave; however

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Plaintiff was on active status at the time but due to the mishandling of Plaintiff's status, Plaintiff's pension
account never received active contributions with interast being accrued. Thus, Plaintiff demands her pension
account and TOA be made whole and return her pension and TDA due her with interest, to Plaintiff, as

Leinwand and DOE unlawfully robbed her of her pension and TDA; as TDA, as well, must he made whole;

replenished, past and present, with interest.

D. Moreover, Plaintiff further seeks her pension account te ba replenished by the DOE, as ta dats,
Plaintiff has approximately another three (3) years till retirement. As a result, Plaintiff demands her pension
accaunt to be replenished fully by the DOE, the additional years needed to reach her retirement age, so that

sha may retire now on full retirement; without any interference from Leinwand, Lavin and the DOE.

FE, Plaintiff was caused to sustain severe damages and injuries, which include, but are not limited to
less of salary which includes front and hack pay with interast, one year medical sabbatical with interest, and
line of duty injury, past and future pay with interest, damages and loss of pension, TDA and retirement
savings replenished, loss of health and welfare benefits; retroactive and present; medical debt damages,
severe emotional, physical, physiological trauma and psychological damages, mental and physical distress
damages, severe stress, severa apprehension, severe anxiety damages caused to both Plaintiffs, foss of
consortium damages caused to Plaintiff's husband, retaliation, humiliation, embarrassment, defamation and
civil and criminaf liabitity damages caused to Plaintiffs, invasion of privacy damages, breach of fair
representation and interference of contractual relations damages, reimbursement of all union cues, past and
present, punitive and compansatory damages caused to Plaintiffs, reimbursement of all previous attorneys’
fees, filing costs, disbursements and other costs with interest, reimbursement of loss of personal savings

damages with interest loss.

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r. As a result, Plaintiff demands reinstatement and permanent injunction enjomning Defendants from
any further actions abridging Plaintiffs’ rights and all further relief, equatable or otherwise, to which the

Plaintiffs are entitled andler which the court deems just and proper. Plaintiffs also demand a jury trial.

Respectiully,

Poe Trapens

Pusan Tropeano, Plaintiff

    

Joseph Trogéano, Plaintitf

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